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        Exhibit C
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  16
  17                              UNITED STATES DISTRICT COURT
  18
                                            CENTRAL
  19
                                 CENTRAL DISTRICT OF CALIFORNIA
  20

  21                                        WESTERN
                                      LOS ANGELES DIVISION
  22

  23   LOS ANGELES COUNTY, THE STATE OF            Case No. 2:19-cv-01773-JFW-MAA
       CALIFORNIA and THE UNITED STATES OF
  24   AMERICA ex rel. KAREN GLUCK
                                                   SECONDTHIRD AMENDED
  25               Plaintiffs,                     COMPLAINT
  26                     v.
                                                   JURY TRIAL DEMANDED
  27   THOMAS SHEPOS, FRANK A. VISCO, ET AL.,
       DONALD G. ABBEY, ET AL., ARMAN GABAEE,
  28   ET AL., MARK GABAEE, ET AL., LEON NEMAN,
                                                Assigned to the Hon. John F. Walter,

                                    THIRD AMENDED COMPLAINT
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       ET AL., MORAD NEMAN, ET AL., YOEL          Courtroom 7A, and Magistrate Judge
       NEMAN, ET AL., JOHN NEMAN, ET AL., DAVID Maria A. Audero, Courtroom 880
       SCHAEFFER, ET AL., ALEX MORADI, ET AL.,
       ISAAC MORADI, ET AL., HOMER HARVEY, ET
       AL., WILLIAM TATUM, ET AL., AND DOES 1–12.

       Defendants.
       THE COUNTY OF LOS ANGELES, THE
       STATE OF CALIFORNIA, and THE
       UNITED STATES OF AMERICA ex rel.
       KAREN GLUCK
             Plaintiffs,

                     v.

       THOMAS SHEPOS, ARMAN GABAEE,
       MARK GABAEE, SANCAM, INC., THE
       CHARLES COMPANY, THE CHARLES
       COMPANY, INC., EXCEL PROPERTY
       MANAGEMENT SERVICES, INC.,
       OAKSHIRE, LLC, WILHURST, INC.,
       TOWN INVESTMENTS, LLC, M & A
       GABAEE, A CALIFORNIA LIMITED
       PARTNERSHIP, GREENOAK
       INVESTMENTS, LLC, MAPLE19, LP,
       URBAN GROVE19, LLC, OPPIDAN,
       LLC, LEON NEMAN, YOEL NEMAN,
       JOHN NEMAN, NEMAN BROTHERS &
       ASSOCIATES, INC., VERTIGO REAL
       ESTATE HOLDINGS, LP, LEGEND
       REAL ESTATE MANAGEMENT, INC.,
       DONALD G. ABBEY, NITTANY LION
       LANDSCAPING, INC. (d/b/a NL
       Services, Inc. and NL LANDSCAPING
       SERVICES, Inc.), THE ABBEY
       COMPANIES LLC (d/b/a THE ABBEY
       COMPANY LLC), ABBEY-
       PROPERTIES LLC, DGA-PROPERTIES,
       LLC, AP-PALMDALE LLC, AP-
       PALMDALE PLACE LLC, AP-
       COMMERCE PLAZA LLC, CDCF III
       PACIFIC COMMERCE PLAZA, LLC,
       THE ABBEY MANAGEMENT
       COMPANY, LLC, AP-SIERRA LLC,
       ABBEY-PROPERTIES II LLC, DGA-
       PROPERTIES LLC, DGA-PROPERTIES
       II, LLC, FRANK A. VISCO, VISCO
       FINANCIAL INC., FRABER
       PROPERTIES II, LLC, GREGORY
       HANES, 300 K-6, LLC, and 43917
       DIVISION STREET, LLC.


                           THIRDSECOND AMENDED COMPLAINT
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            Defendants.




                          THIRDSECOND AMENDED COMPLAINT
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                                        INTRODUCTION
             1.     Qui Tam Plaintiff Karen Gluck brings this suit against a group of
       commercial real estate developers, contractors, businesspersons, and a former Los
       Angeles County employee, TomThomas Shepos (“Shepos”), who engaged in a
       decades-long bribery and kickback scheme to defraud Los Angeles County (the
       “County”), the State of California (the “State”), and the federal government through
       hundreds of millions of dollars in commercial real estate leases and other significant
       financial opportunities. This long-running and lucrative scheme would not have been
       discovered had it not been for the original source of all information related to the
       fraudulent scheme—KarenMs. Gluck—who, when asked, cooperated fully with FBI
       investigators, County and State investigators, and the U.S. Attorney’s Office, turning
       over various types of evidence of the bribes received by her now-ex-husband Tom
       Shepos.
             2.     Through the scheme, developers/, contractors, and businesspersons
       provided Shepos with (a) cash and bank deposits on a monthly basis; (b) pre-paid
       credit and gift cards; (c) hundreds of thousands of dollars in free home construction;
       (d) valuable tickets to concerts and sporting events; (e) plane tickets, hotel stays, and
       trips to various destinations; and (f) property management contracts for Shepos’s side
       business CT Management. In exchange, developers, contractors, and businesspersons
       (1) minimized risk by getting assurances of future leases from the County before
       purchasing property to develop; (2) secured above-market leases, often on a no-bid
       basis; (3) avoided paying for repairs for which they were contractually obligated; and
       (4) were paid on fraudulent invoices to the County for inflated utility costs and
       improvements that were never made.
             3.     Ms. Gluck’s efforts to discover the truth and her cooperation, at the
       government’s request, in exposing this scheme have resulted in federal criminal
       proceedings and an extensive County-led investigation. Specifically, the United
       StatesU.S. Attorney’s Office has already indicted four individuals, including
                                             1
                         SECONDTHIRD AMENDED COMPLAINT
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       Defendant Arman Gabaee, a developer with over $60100 million in County leases
       who pleaded guilty to one count of bribery, and Shepos, who pleaded guilty to
       multiple offenses and admitted that Arman Gabaee alone provided him with hundreds
       of thousands of dollars in bribes since 2010 alone. Additionally, the County’s own
       investigation into Shepos’s conduct has revealed that Shepos’s and Arman Gabaee’s
       federal guilty plea waspleas were merely the tip of the iceberg and that: Shepos was
       responsible for hundreds of millions of dollars’ worth of contracts that were tainted
       by fraud, bribery, and corruption. But manyYet, other developers/, contractors in
       addition to Gabaee , and businesspersons—including Defendants here—have thusso
       far avoided accountability.
             4.    Ms. Gluck was married to Mr. Shepos and had a young daughter with
       him when she began to discover some of Shepos’s criminal activity and realized the
       man she thought she had married and theher life she thought shewith him had
       wasbeen a mirage. Shepos tried to convince her that he had a gambling addiction
       which explained his misconduct, but a psychiatrist the couple agreed to see instead
       diagnosed Shepos with Anti-Social Personality Disorderantisocial personality
       disorder (i.e., Shepos was a psychopath). The psychiatrist advised Ms. Gluck to “run,
       not walk” out of her marriage and, in 2011, she tried to do just that by filing for
       divorce.
             5.    During the subsequent years in which Shepos stalled their divorce-
       related proceedings by filing multiple, fraudulent bankruptcies, Ms. Gluck continued
       to find additional information about Shepos’s illegal activity in connection with his
       work at the County and in numerous other respects. What she found frightened her:
       Shepos appeared to have committed acts of tax evasion, money laundering, bribery,
       corruption, embezzlement, forgery, fraud, and more. Shepos’s extensive criminal
       activity not only lasted during the course of herthroughout their marriage and after,
       but beganit had begun much earlier: Ms. Gluck was shocked to discover that Shepos
       had a history of embezzling from prior employers and had committed bigamy with
                                               2
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       two prior wives before he met Ms. Gluck.
               6.   After a chance encounter with an assistant U.S. Attorney who worked
       in major frauds—and who urged Ms. Gluck to “do the right thing”—Ms. Gluck
       shared what she had discovered with the federal government and later with County
       and State investigators at the government’s request. Ms. Gluck did so freely and
       without demanding anything in exchange. She did so, despite her own fears and at
       significant cost to her own peace of mind after years of trauma inflicted by Shepos,
       because she knew it was indeed the right thing to do.
               7.   Ms. Gluck still continues to cooperate and helpwith the County, the
       State, and the federal government—and ultimately, the taxpayers—to recover the
       money fraudulently obtained through Shepos’s and the developers’ illegal scheme,
       which also implicated other employees at the Countyschemes.
                                            PARTIES
               8.   The Plaintiffs consistare the County of Los Angeles County, the State
       of California, and the United States of America, all of which provided funds that paid
       for monthly lease payments and related charges under contracts entered into by Los
       Angeles County that had been procured through various fraudulent acts.
               9.   The following individuals and entities participated in the fraudulent
       acts:
                    a.a)   Thomas Shepos is a resident of California and can be found with
                           the address last listed on court documents as
                                                           .Palmdale, California. From about
                           February 1998 to about August 2017, Shepos was a high-level
                           public official employed by the County’s Chief Executive Office
                           -– Real Estate Division.
                    b.b) Arman Gabaee (also known as “Arman Gabay”) is a resident of
                           California and is currently incarcerated at United States
                           Penitentiarythe Federal Correctional Complex, Lompoc, located
                                                 3
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                         at 3901 Klein Blvd.,3705 West Farm Road, Lompoc, CA 93436.
                  c.c)   Mark Gabaee (also known as “Mark Gabay”) is a resident of
                         California and can be found at                             Beverly Hills,
                         CA                 California. Mark Gabaee is Arman Gabaee’s
                         older brother.
                  d.d) Corsair, LLCSancam, Inc. (“Sancam”) is a limited liability
                         company organized under the laws of California corporation with
                         its principal place of business at 9034 W. Sunset Blvd.,Boulevard,
                         West Hollywood, CA 90069. Mark Gabaee is its Director, Chief
                         Executive Officer, and President. Sancam was identified as DOE
                         4 in the Original Complaint.
                         The Charles Company is a California general partnership with its principal

                         place of business at 9034 W. Sunset Blvd., West Hollywood, CA

                         90069.organized under the laws Mark and Arman Gabaee are the co-

                         managing partners and co-founders of California the Charles Company, a

                         real-estate development firm. The Charles Company also does business as

                         The Charles Company, Inc., a California corporation with its principal place

                         of business at 9034 W. Sunset Blvd., West Hollywood, CA 90069.

                  f.e)   Loma Vista LLC is a limited liability company organized under
                         the laws of California with its principal place of business at 9034
                         W. Sunset Blvd., West Hollywood, CA 90069. The Charles
                         Company, Inc. (to the extent it is distinct from the Charles
                         Company) was identified as a DOE Defendant in previous
                         complaints in this action.
                  g.f)   Excel Property Management Services, Inc. (“Excel Property
                         Management”) is a corporation organized under the laws of
                         California with its principal place of business at 9034 W. Sunset
                         Blvd., West Hollywood, CA 90069. Mark Gabaee is the Director,
                                             4
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                         Chief Executive Officer, Chief Financial Officer, and Secretary
                         of Excel Property Management. John J. Carroll IV (“Carroll”)
                         previously acted as Excel Property Management’s President.
                         Arman Gabaee previously acted as Excel Property Management’s
                         Secretary.
                         Noble Investments, LLC is a limited liability company organized
                         under the laws of California with its principal place of business at
                         9034 W. Sunset Blvd., West Hollywood, CA 90069.
                         Endure, LLC is a limited liability company organized under the
                         laws of California with its principal place of business at 9034 W.
                         Sunset Blvd., West Hollywood, CA 90069.
                  g)     Oakshire, LLC (“Oakshire”) was a Delaware corporation with its
                         principal place of business at 9034 W. Sunset Boulevard, West
                         Hollywood, CA 90069. Oakshire was identified as DOE 1 in the
                         Original Complaint.
                  j.h)   Wilhurst, Inc. (“Wilhurst”) (formerly WDO, Inc.) is a Delaware
                         corporation with its principal place of business at 9034 W. Sunset
                         Boulevard, West Hollywood, CA 90069. Wilhurst was
                         Oakshire’s managing member and is Oakshire’s successor-in-
                         interest. Mark Gabaee is Wilhurst’s Chief Executive Officer,
                         Chief Financial Officer, and President. Arman Gabaee is
                         Wilhurst’s   Vice     President.   Oakshire    replaces   DOE     1
                         fromWilhurst was identified as DOE 2 in the Original Complaint.
                         Wilhurst, Inc. (“Wilhurst”) is a Delaware corporation with its

                         principal place of business at 11726 San Vicente Boulevard, Suite
                         235, Los Angeles, CA 90049. Wilhurst is Oakshire's managing
                         member and, on information and belief, Oakshire's successor-in-
                         interest. Mark Gabaee is Wilhurst’s Chief Executive Officer and
                                              5
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                      President. Arman Gabaee is Wilhurst’s Vice President. Wilhurst
                      replaces DOE 2 from the Original Complaint.
                      Town Investments, LLC (“Town Investments”) is a California limited

                      liability company with its principal place of business at 9034 W. Sunset

                      Boulevard, West Hollywood, CA 90069. Town Investments replaces

                      DOE 3 from the Original Complaint.
               m.i) Sancam Inc. (“Sancam”) is a California corporation with its
                      principal place of business at 9034 W. Sunset Boulevard, West
                      Hollywood, CA 90069. Sancam is Town Investments’ managing
                      member., and Mark Gabaee is its Chief Executive Officer.
                      Sancam replacesa member. Town Investments was identified as
                      DOE 4 from3 in the Original Complaint.
               n.j)   M & A Gabaee, LPa California Limited Partnership (“M&A
                      Gabaee”) is a limited partnership organized under the laws of
                      California with its principal place of business at 9034 W. Sunset
                      Blvd., West Hollywood, CA 90069. Sancam is M & &A
                      Gabaee’s general partner.
               o.k) Greenoak Investments, LLC (“Greenoak”) is a California limited
                      liability corporation with its principal place of business at 9034
                      W. Sunset Boulevard, West Hollywood, CA 90069. Greenoak’s
                      managing member is Sancam. Greenoak replaces DOE 5 from,
                      and its President is Mark Gabaee. Previously, Greenoak’s
                      managing member was Coland, Inc., of which Mark Gabaee was
                      President. Greenoak was identified as DOE 5 in the Original
                      Complaint.
               p.l)   Maple19, LP (“Maple19”) is a limited partnership organized
                      under the laws of Delaware, with its principal place of business
                      at 9034 W. Sunset Boulevard, West Hollywood, CA 90069.
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                      Maple19 replaceswas identified as DOE 6 fromin the Original
                      Complaint.
               q.m) Urban Grove19, LLC (“Urban Grovel 9Grove19”) is a Delaware
                      limited liability corporation with its principal place of business at
                      9034 W. Sunset Boulevard, West Hollywood, CA 90069. Urban
                      Grovel 9Grove19 is the general partner of Maple19. Mark Gabaee
                      is itsUrban Grove19’s manager. Urban Grovel9 replaceswas
                      identified as DOE 7 fromin the Original Complaint.
               r.n)   Oppidan, LLC (“Oppidan”) was a California limited liability
                      corporation with its principal place of business at 9034 W. Sunset
                      Boulevard, West Hollywood, CA 90069. Its managing member
                      was Sancam., and Mark and Arman Gabaee were its members.
                      Oppidan replaceswas identified as DOE 8 fromin the Original
                      Complaint.
               s.o)   Defendants Corsair, LLCMark Gabaee, Arman Gabaee, The
                      Charles Company, Loma Vista LLC, The Charles Company, Inc.,
                      Excel Property Management Services, Inc., , M & &A Gabae, LP,
                      Noble Investments, LLC, Endure, LLCGabaee, Oakshire, LLC,
                      Wilhurst, Inc., Town Investments, LLC, Sancam Inc.,, Greenoak
                      Investments, LLC, Maple19, LP, Urban Grove19, LLC, and
                      Oppidan, LLC are hereinaftercollectively referred to as the
                      “Gabaee Defendants.”
               t.p)   Leon Neman is a resident of California and can be found at
                                   , Beverly Hills, CA              California.
                      Morad Neman is an individual residing at
                      Beverly Hills, CA               .
               v.q) Yoel Neman is a resident of Beverly Hills, California and can be
                      found at                   , Beverly Hills, CA               .
                                             7
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               w.r) John Neman is a resident of Beverly Hills, California and can be
                      found at                     Beverly Hills, CA         .. John Neman
                      replaceswas identified as DOE 9 formin the Original Complaint.
               x.s)   Neman Brothers & Associates, Inc. (“Neman Brothers”) is a
                      corporation organized under the laws of California with its
                      principal place of business at 1525 S. Broadway St., Los Angeles,
                      CA 90015. Leon, Yoel, and John Neman are the Directors of
                      Neman Brothers. Yoel Neman is its Chief Executive Officer,
                      Chief Financial Officer, and Secretary.
               y.t)   Vertigo Real Estate Holdings, LP (“Vertigo”) is a limited
                      partnership organized under the laws of California with its
                      principal place of business at 1525 S. Broadway St., Los Angeles,
                      CA 90015.
               z.u)   Legend Real Estate Management, Inc. (“Legend”) is a
                      corporation organized under the laws of California with its
                      principal place of business at 1525 S. Broadway St., Los Angeles,
                      CA 90015. Legend Real Estate is the general partner of Vertigo.
                      Leon, Yoel, and John Neman are Legend’s Directors. Leon
                      Neman is also Legend’s Chief Executive Officer and Chief
                      Financial Officer. Yoel Neman is Legend’s Secretary.
               aa.v) Defendants Leon Neman, Yoel Neman, John Neman, Neman
                      Brothers & Associates, Inc.,, Vertigo Real Estate Holdings,
                      LP, and Legend Real Estate Management, Inc. are hereinafter
                      referred to as the “Neman Defendants.”
               bb.w) Donald G. Abbey is an individual residing at                       ,a
                      resident of La Quinta, CA                California.
               cc.x) Nittany Lion Landscaping, Inc. (“Nittany Lion”) is a corporation
                      organized under the laws of California with its principal place of
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                     business at 12447 Lewis Street, Suite 203, Garden Grove, CA
                     92840. Abbey owns Nittany Lion, which also does business as
                     NL Services, Inc. or NL Landscaping Services, Inc. (“NL
                     Services”).
                     AP-Palmdale LLC is a limited liability company organized under
                     the laws of California with its principal place of business at 12447
                     Lewis Street, Suite 03, Garden Grove, CA 92840. Abbey is its
                     Chief Executive Officer.
                     AP-Commerce Plaza LLC is a limited liability company
                     organized under the laws of Delaware with its principal place of
                     business in 14770 E Firestone Blvd Suite 206, La Mirada, CA
                     90638.
               ff.y) The Abbey Management Company, LLCThe Abbey Companies
                     LLC (operating under the alternate name “The Abbey Company
                     LLC” in California) (“The Abbey Company”) is a limited liability
                     company organized under the laws of Delaware with its principal
                     place of business at 12447 Lewis Street, Suite 203, Garden Grove,
                     CA 92840. Abbey is the managing member of the Abbey
                     Company. The Abbey Company was identified as DOE 39 in the
                     Original Complaint.
               z)    AP-Sierra LLCAbbey-Properties LLC (“Abbey-Properties”) is a
                     limited liability company organized under the laws of Delaware
                     with its principal place of business at 12447 Lewis Street, Suite
                     203, Garden Grove, CA 92840. Its managing member is The
                     Abbey Company.
               aa)   DGA-Properties LLC (“DGA-Properties”) is a Delaware limited
                     liability company with its principal place of business at 12447
                     Lewis Street, Suite 203, Garden Grove, CA 92840. Abbey is the
                                           9
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                     Chief Executive Officer of DGA-Properties, and its managing
                     member is Abbey-Properties LLC. DGA-Properties was
                     identified as DOE 11 in the Original Complaint.
               gg.bb)        AP-Palmdale LLC (“AP-Palmdale”) is a limited liability
                     company organized under the laws of California with its principal
                     place of business at 12447 Lewis Street, Suite 203, Garden Grove,
                     CA 92840. Abbey is its AP-Palmdale’s Chief Executive Officer.,
                     and its managing member is DGA-Properties.
               cc)   AP-Palmdale Place LLC (“AP-Palmdale Place’) is a Delaware
                     limited liability company with its principal place of business at
                     12447 Lewis Street, Suite 203, Garden Grove, CA 92840. Abbey
                     is AP-Palmdale Place’s Chief Executive Officer, and its
                     managing member is DGA-Properties. AP-Palmdale Place is the
                     successor-in-interest to AP-Palmdale. AP-Palmdale Place was
                     identified as DOE 40 in the Original Complaint.
               dd)   AP-Commerce Plaza LLC (“AP-Commerce Plaza”) was a limited
                     liability company organized under the laws of Delaware with its
                     principal place of business in 14770 E Firestone Blvd., Suite 206,
                     La Mirada, CA 90638. Abbey was AP-Commerce Plaza’s Chief
                     Executive Officer, and its managing member was Abbey-
                     Properties.
               ee)   CDCF III Pacific Commerce Plaza, LLC (“CDCF III”) was a
                     Delaware limited liability company with its principal place of
                     business at 515 S. Flower Street, 44th Floor, Los Angeles, CA
                     90071. DA Properties LLCCDCF III is a successor-in-interest to
                     AP-Commerce Plaza. CDCF III was identified as DOE 13 in the
                     Original Complaint.
               ff)   The Abbey Management Company LLC (“The Abbey
                                   10
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                     Management Company”) is a limited liability company organized
                     under the laws of Delaware with its principal place of business at
                     12447 Lewis Street, Suite 203, Garden Grove, CA 92840. The
                     Abbey Company is the Abbey Management Company’s
                     managing member.
               hh.gg)        AP-Sierra LLC (“AP-Sierra”) is a limited liability
                     company organized under the laws of Delaware with its principal
                     place of business at 310 Golden Shore Suite 300, Long Beach,
                     CA 90802.12447 Lewis Street, Suite 203, Garden Grove, CA
                     92840. Abbey is AP-Sierra’s Chief Executive Officer, and its
                     managing member is DGA-Properties.
                     Abbey-Properties II LLC (“Abbey-Properties II”) is a limited liability

                     company organized under the laws of Delaware on or around December 21,

                     2021 and registered in California on January 10, 2022 with its principal place

                     of business at 12447 Lewis Street, Suite 203, Garden Grove, CA 92840.

               jj.hh) Abbey-Properties II LLC (“Abbey-Properties II”) was a
                     California limited liability company and, as of January 10, 2022,
                     is a Delaware limited liability company with its principal place of
                     business at 12447 Lewis Street, Suite 203, Garden Grove, CA
                     92840. Abbey-Properties II’s managing member is The Abbey
                     Company. Abbey-Properties II replaces DOE 10 fromis the
                     successor-in-interest of two identically named entities. The first
                     “Abbey-Properties II LLC” was organized under the laws of
                     California in or around December 2005 and terminated on or
                     around January 16, 2018. Abbey was both the managing member
                     and Chief Executive Officer of that first predecessor-in-interest.
                     The second “Abbey-Properties II LLC” was organized under the
                     law of Delaware in or around June 2017 and terminated on or
                                         11
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                     around January 7, 2022. Abbey was the Chief Executive Officer
                     of that second predecessor-in-interest, and its managing member
                     was the Abbey Company. Abbey-Properties II was identified as
                     DOE 10 in the Original Complaint.
                     DGA-Properties II, LLC (“DGA-Properties”) is II”) was a Delaware limited

                     liability company with its principal place of business at 12447 Lewis

                     Street,14770 E. Firestone Blvd., Suite 203, Garden Grove206, La
                     Mirada, CA 92840.90638. Abbey was DGA-Properties is AP-Sierra’s

                     and AP-Palmdale’s managing member. DGA-Properties replaces
                     DOE 11 from the Original Complaint.
               ll.ii) DGA-Properties II, LLC (“DGA-Properties II”) is a Delaware
                     limited liability company withII’s Chief Executive Officer, and
                     its principal place of business at 12447 Lewis Street, Suite 203,
                     Garden Grove, CA 92840.managing member was Abbey-
                     Properties. DGA-Properties II replaces was identified as DOE 12
                     fromin the Original Complaint.
                     CDCF III Pacific Commerce Plaza, LLC (“CDCF III”) is a
                     Delaware limited liability company with its principal place of business at

                     515 S. Flower Street, 44th Floor, Los Angeles, CA 90071. CDCF III
                     replaces DOE 13 from the Original Complaint.
               nn.jj) Defendants AP-Sierra LLCAbbey, Nittany Lion Landscaping,
                     Inc.,, The Abbey Company, Abbey-Properties, DGA-Properties,
                     AP-Palmdale LLC, AP-Palmdale Place, AP-Commerce Plaza
                     LLC,(to which CDCF III is a successor-in-interest), The Abbey
                     Management Co, LLCCompany, AP-Sierra LLC, DA Properties
                     LLC, Abbey-Properties LLC, Abbey-Properties II, and DGA-
                     Properties, DGA-Properties II, and CDCF III Pacific Commerce
                     Plaza, LLC II are hereinafter referred to as the “Abbey
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                     Defendants.”
               oo.kk)        Frank A. Visco is an individual residing at
                         ,a resident of Thousand Oaks, CA                  California.
               pp.ll) Visco Financial Inc. (“Visco Financial”) is a California
                     corporation with its principal place of business at 44824 Cedar
                     Avenue, Lancaster, CA 93534. Visco is its Director and Chief
                     Executive Officer. Visco Financial replaceswas identified as
                     DOE 14 fromin the Original Complaint.
               qq.mm)        Fraber Properties II, LLC (“(also doing business as Fraber
                     PropertiesII, LLC) (“Fraber II”) is a California limited liability
                     company with its principal place of business at 44824 Cedar
                     Avenue, Lancaster, CA 93534. Visco is its manager. Fraber
                     Properties II replaceswas identified as DOE 15 fromin the
                     Original Complaint.
               rr.nn) Defendants Visco, Visco Financial and Fraber Properties II, LLC
                     are hereinafter referred to as the “Visco Defendants.”
                     David Schaeffer is an individual residing at                        ,
                     Dimmitt, Texas                .
                     FCG Properties, LLC is a limited liability company organized
                     under the laws of Texas with its principal place of business in
                     Dimmitt, Texas.
                     Castaic FCG Properties, LLC is a limited liability company
                     organized under the laws of Texas with its principal place of
                     business at 16150 Parish Hall Dr., Spring, Texas 77379-6630.
                     Schaeffer is its managing member.
                     Defendants Castaic FCG Properties, LLC and FCG Properties,
                     LLC are hereinafter referred to as the “Schaeffer Defendants.”


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                     Alex Moradi is a resident of California and can be found at
                                 , Beverly Hills, CA         .
                     Isaac Moradi is a resident of California and can be found at
                                 , Beverly Hills, CA         .
                     Imperial Hawthorne Limited Partnership is a limited partnership
                     organized under the laws of California with its principal place of
                     business in 9301 Wilshire Blvd., Suite 315, Beverly Hills, CA
                     90210.
                     ICO Investment Group, Inc. is a corporation organized under the
                     laws of California with its principal place of business in 9301
                     Wilshire Blvd., Suite 315, Beverly Hills, CA 90210-6132. Isaac
                     Moradi is its Chief Executive Officer. ICO is the general partner
                     of Imperial Hawthorne Limited Partnership.
                     ICO Vermont, LLC (“ICO Vermont”) is a California limited
                     liability company with its principal place of business at 888 W.
                     6th Street, 12th Floor, Los Angeles, CA 90017. ICO Vermont
                     replaces DOE 16 from the Original Complaint.
                     ICO Development, LLC (“ICO Development”) is a California
                     limited liability company with its principal place of business at
                     888 W. 6th Street, 12th Floor, Los Angeles, CA 90017. ICO
                     Development replaces DOE 17 from the Original Complaint.
                     Gage Plaza Associates (“Gage Plaza”) is a California general
                     partnership with its principal place of business within the state of
                     California. On information and belief, its principal place of
                     business is in the County, and the Moradis are its general partners.
                     Gage Plaza replaces DOE 18 from the Original Complaint.
                     Defendants Imperial Hawthorne Limited Partnership, ICO
                     Investment Group, Inc., ICO Vermont, LLC, ICO Development,
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                     LLC, and Gage Plaza Associates are hereinafter referred to as the
                     “Moradi Defendants.”
               eee.oo)       Gregory Hanes (“Hanes”) is a resident of California and
                     can be found at 43903 Division Street, Lancaster, CA 93535.
                     Hanes is a landlord for certain properties leased by the County
                     and a construction contractor who has done business with the
                     County. Hanes assisted Shepos in carrying out his bribery
                     scheme. Hanes replaceswas identified as DOE 19 fromin the
                     Original Complaint.
               fff.pp)       300 K-6, LLC (“300 K-6”) is a limited liability company
                     organized under the laws of California with its principal place of
                     business at 43903 Division Street, Lancaster, CA 93535. Hanes
                     is its managing member. 300 K-6 replaceswas identified as DOE
                     20 fromin the Original Complaint.
               ggg.qq)       43917 Division Street, LLC (“43917 Division”) is a limited
                     liability company organized under the laws of California with its
                     principal place of business at 43903 Division Street, Lancaster,
                     CA 93535. Hanes is its managing member. 43917 replaceswas
                     identified as DOE 21 fromin the Original Complaint.
               hhh.rr) Defendants Hanes, 300 K-6, and 43917 Division are hereinafter

                     referred to as the “Hanes Defendants.”
                     Homer Harvey is a resident of California and can be found at
                                                  , Los Angeles, Ca 90024. Harvey
                     replaces DOE 35 from the Original Complaint.
                     William Tatum is a resident of California and can be found at
                                                      , Los Angeles, CA 90067. Tatum
                     replaces DOE 36 from the Original Complaint.


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                        Harvey Capital Corp. (“Harvey Capital”) is a California
                        corporation with its principal place of business at 2333 Cotner
                        Avenue, Los Angeles, CA 90064. Harvey Capital replaces DOE
                        37 from the Original Complaint.
                        Ball & East, Ltd. (“Ball & East”) is a limited partnership
                        organized under the laws of California with its principal place of
                        business at 11835 West Olympic Boulevard, Suite 300, Los
                        Angeles, CA 90064. Harvey, Tatum, and Harvey Capital are Ball
                        & East’s general partners. Ball & East replaces DOE 38 from the
                        Original Complaint.
                       Defendants Harvey Capital and Ball & East are hereinafter
                       referred to as the “Harvey/Tatum Defendants.”
                        Plaintiffs are ignorant of the true names and capacities of the
                        defendants sued herein as Does 1-12 and therefore sue these
                        Defendants by such fictitious names. On information and belief,
                        Does 1-12 includes additional business entities tied to Defendants
                        and used to advance fraudulent acts. Plaintiffs will amend this
                        complaint to allege the true names and capacities of these
                        Defendants when they are ascertained. Plaintiffs are informed and
                        believe that each fictitiously named Defendant is legally liable as
                        alleged herein.
                              JURISDICTION AND VENUE
          10.    Under 31 U.S.C. § 3732(a),) and 28 U.S.C. § 1331, this Court has
    subject matter jurisdiction over all alleged violations of 31 U.S.C. § 3730, the federal
    False Claims Act (“FCA”). Under 31 U.S.C. § 3732(b),) and 28 U.S.C. § 1332, this
    Court also has jurisdiction over all alleged violations of Cal. Gov’t Code § 12651,



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    the California False Claims Act (“CFCA”).1
           11.   Venue is proper in this Court under 28 U.S.C. §§ 1391(b)(1), (2), and/or
    (3).
                                             FACTS
    I.     Ms. Gluck Begins to Uncover Shepos’s Misconduct.
           A.    Ms. Gluck’s Background.
           11.12. Ms. Gluck was born in New York and raised in Los Angeles by her
    parents, two working-class immigrants from Europe who owned a small bakery.
    Throughout her life, Ms. Gluck’s parents taught her the importance of hard work,
    integrity, telling the truth, and doing the right thing.
           12.13. Ms. Gluck studied at California State University in Northridge, where
    she earned a B.A. in Radio and Television with a minor in Journalism.
           13.14. After graduating from college, Ms. Gluck embarked on a successful
    career in the entertainment industry. In the late 1970s, Ms. Gluck worked at the
    KTTV Channel 11 television station as a research analyst supporting the sales
    department. Ms. Gluck then accepted an opportunity to work as an assistant associate
    producer for the 1979 Academy Awards. In the 1980s, Ms. Gluck continued her
    entertainment career working with well-known manager Marty Litke, who managed
    notable film and television writers and actors, including Valerie Bertinelli and Cate
    Capeshaw.Kate Capshaw. Ms. Gluck also helped launch HITS Magazine, a music
    industry publication. By the late 1980s, Ms. Gluck worked in sales for IDB
    Communications, a company producing international and domestic live satellite
    shows focused on news and entertainment. Over the course of her career, Ms. Gluck

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      By virtue of the County’s intervention in this case, the County’s Amended
    Complaint in Intervention is the operative complaint with respect to Qui Tam
    Plaintiff’s claims, first alleged in the Original Complaint, under the CFCA on behalf
    of the County and the State. Qui Tam Plaintiff has “the right to continue as a party”
    to those CFCA claims, and she elects to do so. Cal. Gov’t Code § 12652(b)(3). The
    County’s Amended Complaint in Intervention is incorporated by reference herein.
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    also pitched film projects to major studios, produced a seven-site album release event
    for Bon Jovi, and produced other work in live audio and video projects.
          14.15. By the 1990s, Ms. Gluck became the CEO of her own successful
    syndication company focused on television specials, including Cirque du Soleil and
    Black History Month specials. Ms. Gluck was a successful, independent professional
    who, through years of hard work and perseverance, owned her own entertainment
    business and a condominium in Santa Monica.
          B.     Ms. Gluck Marries Shepos and Becomes the Primary Caregiver for
                 their Daughter and for Ms. Gluck’s Ailing Parents.
          15.16. Ms. Gluck then met Shepos in 1993 at the airport after attending an
    event for volunteers for the City of Hope, a cancer treatment center. Shepos was
    charming and charismatic—they hit it off, exchanged information, and began dating.
          16.17. At that time, Shepos seemed to have very little to his name. Shepos’s
    occupation at the time was running a small property management company called CT
    Management, which managed a couple of strip mall properties for their owners.
    Shepos drove an old, beat-up car, claimed to own no real estate, and told Ms. Gluck
    that he was paying child and spousal support from a prior marriage (though his
    children from that marriage would not speak to him at the time).
          17.18. Ms. Gluck did not care about Shepos’s apparent lack of material
    success—she fell in love with him, and that was all that mattered to her.
          18.19. In 1993, Shepos moved into Ms. Gluck’s condominium in Santa
    Monica, and in 1996, he and Ms. Gluck were married.
          C.     Shepos Begins Working for the County.
          19.20. Only two years after they were married, in 1998, a friend of Ms. Gluck’s
    told Shepos about a job opening in the Real Estate and Leasing Division of the Los
    Angeles County Chief Executive Office.
          20.21. Ms. Gluck thought the position would be a good fit for Shepos because
    of his background as a property manager and encouraged him to apply. Shepos
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    applied and was hired by the County. Even while working for the County, however,
    Shepos continued to maintain his property management company CT Management
    on the side and, to the best of Ms. Gluck’s knowledge, continued to manage multiple
    strip- malls that housed restaurants and other businesses.
           21.22. Shepos’s role with the County gave him the authority to bind the County
    to real estate transactions, influence County real estate decisions, and manage
    ongoing commercial relationships relating to real estate. Often, these leases were on
    behalf of government departments seeking space, such as property for a school or a
    health clinic. However, Shepos also purchased land on behalf of the County for
    environmental restoration efforts and other green space initiatives, and he was privy
    to non-public information as to the County’s future development plans. In theory,
    Shepos should have acted on behalf of the County and its taxpayers and sought public
    and transparent bids in order to ensure the County paid a fair market rate. In practice,
    Shepos solicited and accepted bribes in order to actexchange for his acts on behalf of
    billion-dollar commercial real estate companies,—including funneling hundreds of
    transactions to them on a no-bid basis so that they could bilk taxpayers for above
    market rents, phantom improvement charges, and inflated management costs and
    utilities.
           D.    Ms. Gluck Steps Back from Work to Become the Primary Caregiver
                 for Her Daughter and Her Ailing Parents at Shepos’s Insistence.
           22.23. At around the same time that Mr.Within a few years after Shepos began
    working for the County, life circumstances forced Ms. Gluck to leave her
    professional career in order to become a caretaker for her parents and, a couple of
    years later, her daughter.
           23.24. Between 1997 and 1998, Ms. Gluck’s mother became seriously ill and
    was hospitalized for seven months. During that time, Ms. Gluck cared for her mother
    daily until she passed away.
           24.25. Then in 2000, Shepos and Ms. Gluck had their only child, a daughter.
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    At Shepos’s urging, Ms. Gluck then left her successful career at age 43 to become a
    stay-at-home mother to Hannah.
           25.26. While she was raising their daughter, Ms. Gluck was also taking care of
    her father, who moved into Ms. Gluck’s building in 2000 to be closer to her. Ms.
    Gluck’s father became increasingly reliant on Ms. Gluck to drive, cook, and care for
    his escalating medical needs.
           26.27. From 2004 to 2008, Ms. Gluck’s father was in and out of the hospital
    with cancer, and Ms. Gluck became his round-the-clock caregiver.
           27.28. While she was caring for her daughter and father, Ms. Gluck was also
    managing her own long-standing, auto-immune disease that doctors at the time
    diagnosed as Lupus.
           28.29. Under these circumstances, and at Shepos’s repeated insistence, Ms.
    Gluck focused on caring for herself and her family, stepping back from her career
    while Shepos became fully responsible fortook over the family’s finances.
           29.30. Ms. Gluck had no reason at that time to distrust Shepos. She believed
    him to be a family man who, by this point and with Ms. Gluck’s help, had repaired
    his relationship with his now-adult children from his prior marriage and was thrilled
    to be a father again to their daughter later in life.
           30.31. And Ms. Gluck thought, despite hardships with her health and her father,
    that she and Shepos had made a beautiful and perfectly happy family together. She
    believed they had a fairy-tale love story that was the envy of their friends and
    acquaintances. Her happiness shone through in family photos from the early-to-mid
    2000s:




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           E.      Shepos Convinces Ms. Gluck to Purchase the Bel Air Property,
                   whichWhich (Unbeknownst to Ms. Gluck at the Time) Was a
                   Vehicle for Him to Receive Bribes.
           31.32. In 2003, while the real estate market was booming, Shepos convinced
    Ms. Gluck to purchase a property in Bel Air on Roscomare Road, renovate it, and
    later sell it for a profit.
           32.33. The property was a “fixer upper” which cost around $800,000 to
    purchase. Shepos convinced Ms. Gluck to take out equity in her Santa Monica
    condominium, which had appreciated substantially since she purchased it in the early
    1990s, to pay the approximately $160,000 down payment. Ms. Gluck agreed.2
           33.34. Shepos told Ms. Gluck that he would take out a construction loan to
    renovate the Roscomare Road property and that, through his work as a property
    manager with CT Management, he knew various contractors and vendors who could
    provide discounted services to renovate the property.
           34.35. Ms. Gluck believed Shepos because this statement was consistent with

    2
     Shepos had also previously convinced Ms. Gluck that she should add Shepos to the
    grant deed for her condominium, even though it was her separate property from
    before their marriage. Shepos told her that given her auto-immune disorder, he should
    be listed as an owner of the condominium to make sure that he could take care of
    their daughter should Ms. Gluck’s health unexpectedly deteriorate.
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    others he had made since their marriage: he had previously opened a separate P.O.
    box for his CT Management side business, claiming that he would receive an
    overwhelming amount of vendor solicitation mail from roofers, painters, and other
    construction workers and did not want it to clog their home mailbox.
          35.36. Once the renovations began, Ms. Gluck visited the Bel Air property on
    a near-daily basis and spoke to various workers and contractors who were on site,
    believing them to be acquaintances of Shepos’s through CT Management. (It was not
    until years later that she would learn otherwise. As detailed in Parts I.G and I.I below,
    she only later learned that many of the workers she met at the property were
    associated with County vendors who were, in fact, bribing Shepos).
          36.37. Ms. Gluck was primarily involved with landscaping, interior design
    features, and working with the architect, but she had little-to-no insight into the
    finances underlying the property. That is because (1) Shepos kept a separate bank
    account for CT Management (which sheMs. Gluck would only later learn he used to
    funnel bribes related to the Roscomare Road property)); and (2) sheMs. Gluck had
    deferred to Shepos on overseeing their finances in order to focus on her health issues,
    raiseraising her daughter, and carecaring for her father.
          F.     Ms. Gluck Begins to Notice Shepos’s Suspicious Behavior.
          37.38. While working on renovatingDuring the renovations on the Bel Air
    property, Ms. Gluck began to notice that Shepos was becoming increasingly stressed
    and was taking out his frustration by verbally berating their daughter. Ms. Gluck then
    began to notice other signs that something was amiss. And those signs led her to
    recall other things that had struck her as odd over the course of their marriage.
          38.39. For example, Shepos seemed to spend an inordinate amount of time with
    a man named Frank Visco whomwho Shepos referred to as one of his “County
    clients.” Visco would frequently call Shepos on weekends (sometimes asking if
    Shepos wanted to “go for a ride in his Maybach”), and Shepos would travel to
    Lancaster every Wednesday to meet with Visco and others. Shepos never told Ms.
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    Gluck why he needed to be in Lancaster during a workday or why he met with Visco
    so frequently. On one occasion, heShepos borrowed Ms. Gluck’s car, which was
    larger than his, saying that he needed to drive Frank Visco and others to look at some
    real estate in Tehachapi.
          39.40. Additionally, when Shepos and Ms. Gluck would take occasional
    weekend trips to Las Vegas, Visco frequently happened to be in Vegas as well, and
    Shepos would insist on having dinner with Visco or otherwise meeting with him.
    Visco would pick up the tab for these expensive meals, and Ms. Gluck also noticed
    Shepos gambling with Visco in a high -limit room at a Las Vegas casino on one
    occasion. Around 2008, Ms. Gluck also observed Visco visiting the Bel Air property
    that she and Shepos were renovating.
          40.41. Shepos would also frequently make disturbing comments about Visco
    being “connected.” On one occasion, he showed Ms. Gluck a news article that called
    Visco the “godfather.” Shepos loved the article and told Ms. Gluck that he showed it
    to Visco and kneeled down to kiss Visco’s ring. Ms. Gluck found that Shepos even
    kept a copy of this article in an envelope with other important documents like the
    titles to their cars and her father’s eulogy, having hand-written a label on the envelope
    that read, in part, “Visco — newspaper godfather.”
          41.42. While Shepos also regularly referred to Visco as his “County client,” in
    reality, Visco was a developer and a vendor who serviced thewith County contracts.
    This foreshadowed Shepos’s gross distortion of his role and his failure to respect that
    his client was the County and its taxpayers, not the vendors and developers leasing
    property to the County.
                 G.     Ms. Gluck Discovers Evidence of Shepos’s Inappropriate
                 RelationshipRelationships with Developers.
          42.43. Then, in March 2010, while Ms. Gluck was cleaning and organizing her
    condominium, she discovered multiple alarming documents in a box under Shepos’s
    bedside table: (1) a tax document from the Palm Springs Hotel and Casino with
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    Shepos’s social security number transposed; and (2) credit card statements appearing
    to show that Shepos had taken out a cash advance of over $48,000 in separate
    transactions.
            43.44. Ms. Gluck was shocked. She did not know that Shepos had been to the
    Palm Springs Hotel and Casino, nor could she think of any reason why he would
    have (1) transposed his social security number or (2) taken out such a large cash
    advance. Ms. Gluck called a close friend, a lawyer, over to the condominium to show
    her what she had found.
            44.45. Ms. Gluck was scared that perhaps someone had stolen Shepos’s credit
    cards or identity. At her friend’s urging, and while her friend was present, Ms. Gluck
    called Shepos frantically asking what had happened and whether his credit card had
    been stolen. Shepos seemed strangely calm over the phone, told her his cards had not
    been stolen, and told her he would explain what happened when he got home from
    work.
            45.46. Ms. Gluck confronted Shepos with the documents when he arrived
    home and again asked what had happened. Shepos seemed off-kilter and began
    saying things he had never told Ms. Gluck before. Shepos told Ms. Gluck that he and
    Visco had been gambling in Palm Springs and that Shepos had “loaned” the cash
    advance of approximately $48,000 to Visco. This made no sense to Ms. Gluck
    because Visco was a wealthy developer and Shepos was merely a government
    employee on a public servant’s salary.
            46.47. Ms. Gluck asked that Shepos write down every time he had gambled
    with a “County client,” as Shepos referred to them. Shepos began writing a note titled
    “Backwards” which listed, in reverse chronological order, the times he claimed to
    have gambled with Visco.
            47.48. Shepos also listed all the times he claimed to have gambled with another
    individual: Arman Gabaee. Ms. Gluck recalled that name because she had met Arman
    Gabaee several times earlier.
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          48.49. First, on October 13, 2000, the day after Ms. Gluck gave birth to their
    daughter, Shepos brought Arman Gabaee into the hospital room to meet Ms. Gluck
    and her newborn baby (and Arman Gabaee presented Ms. Gluck with a large basket
    filled to the brim with clothes for her baby). Ms. Gluck thought it was very strange
    for Shepos to bring a “County client” to her hospital room so shortly after she gave
    birth, but she chalked it up to Shepos’s excitement at being a father again.
          49.50. Second, and as discussed further below, Ms. Gluck and Shepos also
    socialized with Arman Gabaee and his cousins, Isaac and Alex Moradi (also Shepos’s
    “County clients”), visiting, attending the House of Blues together on occasion.
          50.51. Third, Ms. Gluck and Shepos had on occasion been invited to personal
    Gabaee family events, including a family funeral and Arman Gabaee’s daughter’s
    bat mitzvah.
          51.52. Ms. Gluck was shocked to see the note that Shepos had written. This
    was the final straw for her with respect to Shepos’s inappropriate relationship with
    Visco. She immediately told Shepos that she did not like the influence Visco had on
    their lives, and told him: “You need to choose. It’s me and our daughter and your
    family, or it’s Frank.”
          52.53. Ms. Gluck told Shepos to call Visco and his boss at the County, Carlos
    Marquez, in front of her to request that he no longer work on Visco’s projects for the
    County.
          53.54. In response, Shepos cried in front of Ms. Gluck for the first time ever,
    begging and pleading with her to be allowed to continue working with Visco until
    “September or October” because there was a “big deal” they were working on
    together. Ms. Gluck insisted that Shepos call Visco, and Shepos appeared afraid to
    do so, sobbing while repeatedly saying “you know who he knows!” Ms. Gluck
    assumed this was yet another of Shepos’s references to Visco being “the godfather”
    or “connected.”
          54.55. Shepos finally called Visco in front of Ms. Gluck, still sobbing, telling
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    Visco, “Frank, she knows! She knows! Frank, I just wanted to be like you!” Ms.
    Gluck was shocked, because she thought she knew nothing at all and had no idea
    what Shepos was talking about. Ms. Gluck did not say so, however, because she
    hoped that if Shepos believed she knew more than she did, he would begin telling her
    the truth about his bizarre relationship with Visco.
          55.56. Shepos then ended the call with Visco to call his boss at Ms. Gluck’s
    insistence, and for the next 15 minutes Visco appeared to be frantically trying to call
    Shepos back, repeatedly calling his mobile and home phone numbers.
          56.57. Shepos, however, was on the line with his boss at the County, Carlos
    Marquez. Shepos told Marquez that Ms. Gluck demanded that he no longer work on
    projects with Visco. While Marquez was on the phone, Shepos again began begging
    Ms. Gluck to be able to work with Visco just a few more months to complete his
    “really big project” in September or October.
          57.58. Ms. Gluck was in disbelief that Shepos seemed to be choosing Visco,
    who should merely have been one of many County vendors with whom Shepos did
    business, over her family. Clearly, there was something more to Visco’s relationship
    with Shepos. But that “something” was unknown to Ms. Gluck did not, at the time,
    understand what that "something" was.
          H.     Shepos WasIs Diagnosed as a SociopathPsychopath, and Gluck
                 FiledFiles for Divorce After Discovering Evidence that Shepos
                 Received Bribes.
          58.59. After the incident in March 2010, Shepos claimed he wasblamed a
    purported gambling addict and that his addiction was the reasonproblem for his
    verbal abuse towards Hannahhis and Ms. Gluck’s daughter and his frequent gambling
    with Visco and Gabaee. Shepos begged Ms. Gluck to give him another chance and
    to stay in the marriage.
          59.60. Unbeknownst to Ms. Gluck at the time, Shepos used the notion of
    having a “gambling addiction” as cover for his illegal bribery schemes; indeed, years
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    later, as discussed below, he would lie to the FBI by claiming that bribe proceeds
    were gambling proceeds.
          60.61. Ms. Gluck was, however, extremely suspicious that Shepos’s claim to
    be an addict of any kind was a lie. Shepos rarely drank, never did drugs, and exhibited
    no signs of an addictive personality to Ms. Gluck’s knowledge. So the notion that he
    was a gambling addict was almost laughablemade no sense to her.
          61.62. In truth, Shepos’s supposed “gambling” and other “addictions”—of
    which Ms. Gluck saw no evidence during their marriage—were merely a pretext to
    (1) cover for large sums of money he received; (2) meet people who were actually
    struggling with addiction and whom he could manipulate into helping with his illicit
    schemes; and (3) manipulate the courts and others into sympathizing with him and
    believing he could be “reformed.”
          62.63. Indeed, years later when going through papers she found (discussed
    further below), Ms. Gluck found Shepos’s hand-written notes to himself, apparently
    from the morning after she confronted him in March 2010. The notes in Shepos’s
    handwriting are shown below and reveal his cool calculation, noting:
           I’m overwhelmed. I’m scared. I must rationally take steps slow to
           resolve issues which are coming to bear. . . . . . Relax and don’t get
           overwhelmed – make a list – set priorities – slow – think . . . . . . . All
           Right. This is what I have to work with. It’s not the best in the world but
           I will do what I can with what I have!




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    Mr.




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          63.64. Shepos’s claim to have a gambling addiction was his apparent solution,
    a way he could explain away his behavior and relationship with Visco without
    revealing the full truth to Ms. Gluck: that he was involved in a bribery scheme
    involving multiple developers to give them favorable contracts, inside information,
    and other benefits from the County.
          64.65. And Shepos’s plan worked, at least for a time. Because Shepos claimed
    to have an addiction —and for the sake of their young daughter, —Ms. Gluck insisted
    that they see a psychiatrist together, hoping that Shepos would seek treatment and
    finally come clean with whatever the truth actually was.
          65.66. Ms. Gluck and Shepos began seeing a psychiatrist named Dr. Richard

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    Brightman. Shortly thereafter, Dr. Brightman diagnosed Shepos with Anti-Social
    Personality Disorderantisocial personality disorder (“ASPD”). Ms. Gluck had no idea
    what that meant and initially reacted by saying, “no, that can’t be true,; Tom is a very
    social person with lots of friends.”
          66.67. Dr. Brightman explained that the ASPD diagnosis actually meant that
    Shepos was a sociopathpsychopath and that, in his view, Ms. Gluck should “run, not
    walk” out of the marriage. At the very least, Dr. Brightman recommended that Ms.
    Gluck protect herself financially and lock away any valuables, keepsakes, or items
    of sentimental value from Shepos.
          67.68. Once again, Ms. Gluck later found Shepos’s hand-written notes to
    himself confirming his diagnosis from “Richard,” stating, “I read @ least 6 different
    articles on ASD and it scares me – I shudder at what I read”:




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          68.69. Ms. Gluck shuddered at what she read as well. She quickly began
    researching what ASPD meant and discovered that people with ASPD have limited
    capacity for empathy, self-reflection, remorse, or improvement, and that famous
    examples of people with ASPD include financial criminals like Bernie Madoff
    (among others)..
          69.70. She also learned that the Diagnostic and Statistical Manual (“DSM”)
    defines the disorder as a pervasive pattern of and disregard for and violation of the
    rights of others, including three or more of the following: (i) engaging in unlawful
    behaviors; (ii) deceitfulness, such as lying, using aliases, or conning others for
    personal profit or pleasure; (iii) impulsivity; (iv) irritability and aggressiveness; (v)
    reckless disregard for safety of self or others; (vi) consistent irresponsibility, such as
    repeated failure to sustain consistent work behavior or honor financial obligations;
    and (vii) lack of remorse, such as being indifferent to or rationalizing having hurt,
    mistreated, or stolen from others. Dr. Brightman told Ms. Gluck that Shepos
    exhibited all of the criteria for ASPD (though a subset would have been enough for
    the diagnosis).
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          70.71. Ms.    Gluck,     in    short,    began   coming     to   the   stunning
    realizationrealizations that she was married to a miragean imposter and a monster,
    that her seemingly “perfect” life had been a lie, and that in fact she had no idea who
    her husband truly was.
          71.72. In the months that followed—as Ms. Gluck struggled to cope with
    trauma from these discoveries while remaining strong for the sake of her young
    daughter—Ms. Gluck started uncovering numerous financial improprieties by
    Shepos.
          72.73. She discovered evidence that Shepos had taken money out of their joint
    accounts and had fraudulently misappropriated her inheritance from her father, who
    by that point had passed away. Shepos had not only done so alone, but he had also
    enlisted the help of Ms. Gluck’s own sister. Shepos did so by askingfalsifying escrow
    instructions for the inheritance: after Ms. Gluck to signsigned those escrow
    instructions for the inheritance to be split 50/50 between Ms. Gluck and her sister,
    only to subsequently whiteaccording to the will, Shepos then whited out the numbers
    and replacereplaced them with 100% going to Ms. Gluck’s sister and 0% going to
    Ms. Gluck.
          73.74. This was confirmed in a post-nuptial agreement that Shepos and Ms.
    Gluck signed in June 2010, in which Shepos “acknowledge[d] that Karen received
    or was to receive inherited funds during their marriage, and that he borrowed funds
    from Karen’s father, some of which were wrongfully used by him without Karen’s
    knowledge or consent or as a result of misrepresentations by [Shepos] as to the
    parties’ financial circumstances.”
          74.75. Ms. Gluck began going through mail that arrived at their house more
    carefully. Ms. Gluck remembered that Shepos had a P.O. box purportedly because
    the mailbox at their home was too small and he received a lot of vendor mail for CT
    Management. When she remembered Shepos’s P.O. box, Ms. Gluck demanded a key.
    Shepos reluctantly gave Ms. Gluck the key.
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          75.76. When Ms. Gluck visited Shepos’s P.O. box, the staff was sorting mail
    and had left the cover down. The names assigned to each mail slot were visible, and
    Ms. Gluck saw that Shepos’s P.O. box listed in both his name and Arman Gabaee’s
    name. Ms. Gluck could think of no legitimate reason why Shepos and Arman Gabaee,
    —one of Shepos’s “County clients” as he called them, —would share a P.O. box.
          76.77. Later in 2010, Ms. Gluck was putting away laundry and discovered a
    wad of $5,000 in cash and an expensive gold watch estimated to be worth over
    $20,000 in Shepos’s sock drawer. Ms. Gluck confronted Shepos about the P.O. box,
    the money, and the watch.
          77.78. Shepos admitted that, for years, Arman Gabaee had been giving him
    $5,000 a month. Shepos claimed that the watch was a “birthday gift” from Arman
    Gabaee; Ms. Gluck thought this made no sense because, if that were true, it meant
    Shepos had been hiding the watch from her for at least 10 months since his birthday.
    Why would he hide something if it was truly innocuous?
          78.79. Ms. Gluck began to understand that she knew little to nothing about
    what Shepos had been up to financially and decided she would never file joint tax
    returns with Shepos again as a result. Ms. Gluck retained an attorney and a CPA to
    help her prepare to file separate tax returns for the first time since their marriage.
          79.80. In March 2011, Ms. Gluck learned that Shepos had cashed in an $85,000
    insurance policy without her consent. She did not know what he did with the money.
          80.81. Additionally, although by now Ms. Gluck and Shepos had sold the Bel
    Air property for a profit in 2009, Shepos never told her where he deposited the
    proceeds of the sale. Then, in mid-2011, Ms. Gluck received a letter from the IRS
    identifying Shepos’s unreported income, including gambling proceeds and over $1
    million in profits from the sale of the Bel Air property.
          81.82. This was the final straw. Ms. Gluck knew she could no longer remain
    married to Shepos, however much she had hoped to keep her family together for their
    daughter’s sake.
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          82.83. Shortly thereafter, on June 16, 2011, Ms. Gluck separated from Shepos,
    and the following month, Ms. Gluck filed for divorce.
          I.     During Divorce Proceedings, Ms. Gluck Begins Piecing Together a
                 Trove of Evidence Revealing Some of Shepos'sShepos’s Fraud and
                 Corruption.
          83.84. During her divorce proceedings, Ms. Gluck obtained some discovery of
    Shepos’s bank accounts and credit cards. Ms. Gluck went to each of the banks at
    which she and Shepos had maintained joint bank accounts and asked whether Shepos
    maintained any other separate accounts. Ms. Gluck found several bank accounts and
    dozens of credit cards she was not aware of during her marriage. The bank statements
    revealed monthly direct deposits and numerous cash deposits ranging from $4,000 to
    $8,000. The bank statements also revealed that Shepos had written checks in the
    amount of $25,000 payable to one of Arman Gabaee’s employees, Sarah Withers.
    Over time, Ms. Gluck learned that Shepos had millions of dollars flowing through
    bank accounts that Ms. Gluck was not aware of because the accounts belonged to
    Shepos’s separate business, CT Management, and because Ms. Gluck deferred to
    Shepos on financial matters after her daughter was born.
          84.85. Ms. Gluck wondered: how could a County employee who managed a
    few strip malls through a side business have millions of dollars flowing in and out of
    his bank accounts? And where had the money gone—the money from Ms. Gluck’s
    inheritance from her father and the proceeds from the sale of the Roscomare house?
    Ms. Gluck was determined to find out so that, after years as a stay-at-home mom, she
    could support her daughter and now that she and Shepos were separated, she could
    support her daughter.
          85.86. Then, in December 2012, a friend told Ms. Gluck that she needed a table,
    and Ms. Gluck remembered that she had a table in a storage unit that she and Shepos
    had shared during their marriage. Ms. Gluck did not have a key to the storage unit,
    so she asked Shepos to meet her and her friend at the unit. Shepos agreed.
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          86.87. When Shepos arrived and opened the unit, Ms. Gluck looked up and
    noticed that, on shelves at the top of the unit, there were boxes and tubs that appeared
    to be filled with documents and checks. Ms. Gluck suspected that the documents
    were from the time of their marriage, and Ms. Gluck was hopingshe hoped to find
    more financial documents indicating where Shepos had moved money to which Ms.
    Gluck was entitled (including her inheritance and the proceeds of the sale of the Bel
    Air home).
          87.88. Thinking quickly on her feet, Ms. Gluck told Shepos that it would be
    too difficult for her to get outremove the table and move it herself given how from
    the packed the storage unit and move it herself. Ms. was andGluck demanded that
    heShepos give her the key so that she could come back with movers. Shepos appeared
    reluctant to part with the key but could not articulate a good reason not to give it to
    Ms. Gluck in front of her friend (and, as Ms. Gluck now knew, people with ASPD
    care deeply about maintaining a charming “mask” in front of friends and
    acquaintances to hide their true inner nature). Mr. Shepos handed over the key.
          88.89. The next day, Ms. Gluck returned with movers to take the table, and she
    also took the boxes and tubs of documents and, which she began to review them
    carefully at home. Ms. Gluck painstakingly pieced together seemingly small or
    insignificant clues that began to point to what Ms. Gluck suspected to be corruption
    on a massive scale.
          89.90. Ms. Gluck’s review uncovered a startling amount of evidence indicating
    that Shepos’s “County clients,” as he called them, had been funneling cash, sporting
    event tickets, concert tickets, House of Blues memberships, airline tickets, hotel
    rooms, expensive dinners, and other benefits as bribes for over a decadenearly two
    decades, including for example:
                 a.a)     Several 1099s issued to Shepos from the “Neman Brothers” and
                          their business Vertigo. Ms. Gluck knew that Neman Brothers
                          were a “County client” of Shepos. Much like the social security
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                       number on the tax document from the Palm Springs Hotel and
                       Casino, the 1099s from the Neman Brothers had Shepos’s social
                       security number transposed.
                b.b) Evidence that Arman Gabaee had been paying for the renovations
                       to theShepos’s Bel Air property, including documents indicating
                       that Arman Gabaee’s company, M & &A Gabaee, paid for
                       materials from Nichol’s Hardware, and that one of Arman
                       Gabaee’s employees, Kang Lee, had done structural engineering
                       work for the house.
                c.c)   Evidence that Shepos submitted false vouchers to a construction
                       lender indicating that he had paid for materials and services when,
                       in fact, a “County client” associated with Donald Abbey had paid
                       for those materials and services.
                d.d) Documents indicating that Shepos and Arman Gabaee shared an
                       account with Southwest Airlines and had been traveling to Las
                       Vegas together since 1999, with Shepos holding himself out as an
                       employee of M & A Gabaeethe Charles Company and attending
                       conferences paid for by Arman Gabaee.
                e.e)   Additional documents regarding Visco, including documents
                       which revealed that Visco had seemingly paid thousands of
                       dollars in connection with a trip to Bacarra Resort that Shepos
                       and Ms. Gluck took to celebrate Shepos’s 60th birthday.
          90.91. Once Ms. Gluck discovered these additional documents, she also began
    reviewing old emails that had been sent to a shared email account that she and Shepos
    jointly used during their marriage, TJS2291@aol.com. Ms. Gluck was a technology
    neophyte, having left her professional career in the early 2000s (when AOL dial-up
    was the dominant mode of Internetinternet access,), and had rarely checked the email
    address herself during the course of her marriage. But when she went back to look
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    through the emails years later, Ms. Gluck discovered additional evidence of bribery
    and corruption:
                a.a)   Documents suggesting that an associate of Arman Gabaee was
                       funneling bribes to Shepos through Jeff Kurtz, an acquaintance
                       Shepos met in the “Gambler’s Anonymous” meetings he attended
                       to keep up the ruse of an addiction and who later became Shepos’s
                       roommate.
                b.b) Documents suggesting that Shepos caused County checks to be
                       issued to Visco in connection with repair work completed by
                       Wade Sawyer., who owned Sawyer Construction & Associates.
                       Ms. Gluck recalled that Sawyer was another contractor who had
                       done extensiveperformed work on the Bel Air property.
                c.c)   Documents suggesting that Arman Gabaee and his cousins Alex
                       and Isaac Moradi were jointly payingpaid for Shepos’s
                       membership at the House of Blues. This reminded Ms. Gluck that,
                       years earlier, Moradi had sent Shepos an expensive and ornate,
                       gold-trimmed vase as a Christmas gift. club.
          91.92. Ms. Gluck also discovered that, in addition to the family email address
    “TJS2291@aol.com,” Shepos had created the nearly identical email address,
    “TJS2292@aol.com,” and attributed it to Ms. Gluck’s sister.
          92.93. And on an old phone that belonged to Shepos, Ms. Gluck found some
    developers’ numbers listed under fake names, such as “Dad.” Ms. Gluck discovered
    this by painstakingly researching every number in Shepos’Shepos’s phone to
    determine who it truly belonged to.
          J.    Shepos Fraudulently Files for Bankruptcy to Stall Divorce
                Proceedings, and Ms. Gluck Uncovers More of Shepos’s
                Misconduct.
          93.94. In 2012, around the time that Ms. Gluck began to uncover more
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    evidence of Shepos’s corruption and criminality from the boxes in the storage unit,
    Shepos filed a fraudulent bankruptcy in order to stall the approaching divorce trial.
    Ms. Gluck had to hire a bankruptcy lawyer to challenge Shepos’s claim to be
    bankrupt. This initial bankruptcy petition was rejected, and the divorce proceedings
    resumed.
          94.95. Ms. Gluck continued to piece together the clues she was finding in the
    boxes of documents, inviting friends over to help her sort through the documents,
    examine them one- by- one, and attempt to figure out what Shepos had been doing.
          95.96. Given the evidence she had by now uncovered in the emails, checks,
    insurance policies, and other documents from the boxes, Ms. Gluck was concerned
    that Shepos appeared to have engaged in extensive, criminal misconduct before and
    during their marriage—what appeared to be acts of wire fraud, bank fraud, insurance
    fraud, money laundering, bribery, and much more.
          96.97. Ms. Gluck was frightened about what she now knew, but was even more
    frightened by what she still did not know. She asked that the boxes of documents be
    kept at her divorce attorneys’ office rather than at her home. And she also consulted
    with a criminal lawyer and later hired a retired IRS agent.
          97.98. Ms. Gluck asked the former IRS agent to help determine what Shepos
    had done with the money that he had misappropriatedstolen from her, and to prove
    that Shepos’s bankruptcies were fraudulent.
          98.99. The investigative efforts of Ms. Gluck and the former IRS agent
    continued to uncover additional, disturbing evidence of Shepos’s criminality,
    including a history of bigamy and embezzlement before Shepos met Ms. Gluck,; his
    embezzling of over $100,000 from a longstanding CT Management client Dr. George
    Boris during his marriage to Ms. Gluck,; and even deliberately misappropriating the
    money Ms. Gluck and Shepos had set aside for their daughter’s education, leaving
    her unable to afford tuition at a four-year university. Shepos took these actions at the
    very same time he was receiving hundreds of thousands of dollars in illicit bribes
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    from developers who did business with the County.
          99.100.      As Ms. Gluck’s investigation continued, a stunning picture
    continued to emerge: Shepos was indeed a sociopathpsychopath whose entire life had
    been permeated by fraud, corruption, and criminality.
    II.   Ms. Gluck Becomes the Original Source of the County, State, and Federal
          Government’s Investigations into Shepos’s Far-Reaching Corruption.
          A.     Ms. Gluck Unexpectedly Meets Assistant United StatesU.S.
                 Attorney Ranee Katzenstein, Who Encourages Ms. Gluck to “Do
                 the Right Thing.”
          100.101.     In or around April 2014, Ms. Gluck attended a cyber security
    panel hosted by Loyola Law School.
          101.102.     Ms. Gluck attended the Loyola conference because she had been
    trying to re-startrestart her entertainment career and had been working with a team
    of producers developing a project with famous comic creator Stan Lee. Ms. Gluck
    and the other producers believed they were the victims of intellectual property theft
    by someone they had pitched the project to and who later posted similar material
    online. Ms. Gluck heard about the Loyola Law School cybercrime panel and hoped
    she might learn something that would help her in deciding what next steps to take
    regarding the stolen project.
          102.103.     One of the panelists turned out to be Ranee Katzenstein, an
    Assistant United States Attorney at the Department of Justice. Ms. Katzenstein had
    a history of working on major frauds, including bankruptcy fraud.
          103.104.     After the panel discussion concluded, Ms. Gluck approached Ms.
    Katzenstein and introduced herself. Ms. Gluck told Ms. Katzenstein that she
    recognized Ms. Katzenstein’s name because a criminal attorney she had consulted
    had mentioned Ms. Katzenstein as someone Ms. Gluck may wish to speak to
    regarding Shepos’s misconduct.
          104.105.     Ms. Gluck had not done so at that time, as her only goals were to
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    (1) finalize her divorce-related proceedings from Mr. Shepos, and (2) identify her
    funds that Shepos had misappropriated, and which should rightfully be used for their
    daughter’s care and education. However, Ms. Gluck now found herself faced with
    Ms. Katzenstein by chance and in person.
          105.106.     Ms. Katzenstein asked Ms. Gluck how she knew the criminal
    attorney she had consulted. Ms. Gluck explained that her ex-husband was a County
    employee who had engaged in misconduct that ultimately led her to consult with a
    criminal attorney. Ms. Katzenstein then reached for the program that Ms. Gluck was
    holding for the panel, opened it to the page with Ms. Katzenstein’s photograph, and
    wrote down her phone number. Ms. Katzenstein handed the program back to Ms.
    Gluck, told Ms. Gluck to please call her, imploring her “do the right thing” and saying
    “bring it to me” while gesturing toward herself with her hands.
          106.107.     Over the next several months, Ms. Gluck hesitated to call Ms.
    Katzenstein. Ms. Gluck’s life had been turned upside down by Shepos’s fraud and
    criminality, and she was focused on finding the money that Shepos had
    misappropriated and moving forward with her life parenting their daughter. She had
    no personal desire at that time to turn the father of her child in to law enforcement,
    which she feared could only lead to further trauma for their daughter and herself.
          107.108.     But Ms. Gluck also recalled the lessons she had learned from her
    father, who had taught her the importance of speaking truth and doing the right
    thing—the very same thing Ms. Katzenstein said to her, —words that rang in her
    ears. The more Ms. Gluck reflected on Ms. Katzenstein urging her to “do the right
    thing,” the more certain she became that her parents would have wanted her to tell
    the truth about what she had found.
          108.109.     Ms. Gluck called Ms. Katzenstein later in 2014, and they spoke
    on the phone several times. Eventually, Ms. Katzenstein put Ms. Gluck sufficiently
    at ease that she agreed for Ms. Katzenstein and her colleagues Lawrence Middleton
    and Michael Chai to meet at Ms. Gluck’s divorce attorneys’ office to look at some of
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    the documents Ms. Gluck had found.
            109.110.   At the meeting, Ms. Katzenstein and her colleagues reviewed
    some of the documents that Ms. Gluck had uncovered and expressed interest in taking
    copies of the papers. But Ms. Gluck hesitated to have her name attached to a report
    to the government, and Ms. Gluck’s divorce lawyers indicated that they would have
    to document the names of the individuals to whom they released any documents.
            110.111.   Ms. Gluck decided that she would take the boxes of documents
    home so that the government could collect them directly while listing Ms. Gluck as
    a “Confidential Informant.”
            111.112.   After several months went by without contact from the
    government, Ms. Gluck called Ms. Katzenstein again to ask if anyone was going to
    pick up the documents or else Ms. Gluck would no longer keep them at her home.
    Ms. Katzenstein seemed surprised that no one had picked up the documents, and she
    said she would send some people over to pick them up.
            112.113.   Ms. Gluck assumed that Ms. Katzenstein would send couriers or
    file clerks. Instead, in March 2015, two FBI agents, Brian Adkins and Lucas Bauers,
    came to Ms. Gluck’s home and took boxes of documents and electronic devices.
    Adkins and Bowers gave Ms. Gluck a receipt documenting the items they took.
            113.114.   Just over one month later in April 2015, Shepos yet again
    fraudulently filed for bankruptcy in order to disrupt his divorce-related proceedings
    with Ms. Gluck.
            B.   Ms. Gluck Continues to Cooperate with the FBI and Provides a
                 Critical Piece of Evidence Triggering Multiple Indictments.
            114.115.   After the FBI came to her condominium in March 2015, Ms.
    Gluck subsequently met, spoke, and texted with FBI agent Adkins several times over
    the next year and a half to assist the FBI in its investigation. The FBI would
    sometimes reach out to Ms. Gluck with questions, and she did her best to answer
    them.
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          115.116.     In addition, Ms. Gluck continued to communicate with other
    personnel from the United States Attorneys’ Office. During one of Ms. Gluck’s
    phone calls with Ms. Katzenstein, Ms. Katzenstein put Brandon Fox on the phone.
    Mr. Fox was an Assistant United States Attorney and the head of the Los Angeles
    office’s criminal division. Mr. Fox asked Ms. Gluck several questions, and Ms. Gluck
    mentioned that she had hired a retired IRS agent (now investigator) to assist her in
    gathering evidence concerning Shepos’s finances given the second fraudulent
    bankruptcy he had filed. Mr. Fox asked to meet with Ms. Gluck and the former IRS
    agent and asked if the former IRS agent would prepare materials summarizing what
    he had found.
          116.117.     At Mr. Fox’s request, in or around April 2015, Ms. Gluck and the
    retired IRS agent visited Mr. Fox’s office, met with Mr. Fox and FBI agent Brian
    Adkins, and provided them with a copy of the report the IRS agent had prepared at
    Mr. Fox’s request. That report was dated April 15, 2015, listed the “subject” as
    “Thomas Joseph Shepos,” and was labeled “In Re: Public Corruption.” The report
    outlined “possible public corruption within the Los Angeles County, Real Estate
    Division” stemming from an improper “relationship between Thomas Shepos, Lead
    Acquisition Manager, Real Estate Division and two major real estate developers in
    the Los Angeles County area”—namely, “Arman Gabay (sic) and Frank Visco.”
          117.118.     With respect to Arman Gabaee, the report indicated that (1)
    Arman Gabaee had made payments to Shepos of “$5,000 per month,” and (2) an
    associate of Arman Gabaee named John Carroll had also been serving as a “conduit
    for funds to get to Shepos from Gabay,” funneling bribe money to an acquaintance
    of Shepos’s named “Jeff Kurtz.”
          118.119.     With respect to Visco, the report indicated that “Visco and Shepos
    have a personal relationship” which Ms. Gluck believed was “inappropriate because
    Visco and the Real Estate Division have a very active business relationship.” The
    report also indicated that “Shepos has loaned $50,000 in the past to Visco for
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    gambling purposes,” which is the explanation Shepos provided Ms. Gluck when she
    confronted him in March 2010 with documents showing a $48,000 cash advance.
            119.120.   In addition, the report stated that Shepos’s 2012 tax returns falsely
    claimed a significantly lower amount of gross receipts and therefore income from CT
    Management than was reflected in Shepos’s banking records. And the report stated
    that Shepos had claimed yet a different income figure for CT Management in filings
    with the United States Bankruptcy Court in 2012.
            120.121.   The report concluded by indicating that “[t]he information
    reflected above are examples of the potential criminal acts perpetrated by Shepos
    during the recent past.” And, indeedIndeed, these were merely two prominent
    examples: Ms. Gluck provided FBI Agent BryanBrian Adkins with extensive
    documents and communications indicating that Mr. Shepos’s bribery schemeand
    kickback schemes involved other developers as well (discussed further below).
            121.122.   Ms. Gluck continued to meet with, have phone calls with, and
    exchange text messages with FBI agentAgent Adkins through 2016, providing him
    and his colleagues with information about Shepos’s bank accounts and transactions,
    among other things, as requested. Ms. Gluck also allowed the FBI to make a copy of
    her entire computer hard drive, as she had shared an email address with Shepos.
            122.123.   Then, in September 2016, Ms. Gluck and Shepos decided to buy
    a used car for their daughter for her sixteenth birthday. Ms. Gluck identified the car
    that their daughter wanted, a six-year-old, used Range Rover and asked Shepos for a
    check for $25,000 to pay for it. Shepos said he would give Ms. Gluck a cashier’s
    check issued to the owner of the vehicle. Below is a copy of the check Ms. Gluck
    took:




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          123.124.     When Shepos gave Ms. Gluck the cashier’s check, she
    immediately became suspicious for several reasons. First, the check was issued from
    US Bank and, to Ms. Gluck’s knowledge at that time, Shepos had no banking
    relationship with US Bank. Further raising Ms. Gluck’s suspicion was that the branch
    that issued the cashier’s check was in Lancaster, where Visco’s businesses were
    based and where Shepos would meet with Visco every Wednesday for years. Based
    on these suspicious circumstances, and the other extensive evidence of bribery
    Ms. Gluck had already found, Ms. Gluck believed that the check represented bribe
    proceeds.
          124.125.     Before giving the check to the owner of the vehicle, Ms. Gluck
    took a picture of the check and texted it to FBI agentAgent Adkins on September 12,
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    2016, at 1:40 p.m., explaining some of the reasons why she found the check to be
    suspicious. On the same day at 4:41 p.m., FBI agentAgent Adkins responded: “Thank
    you, Karen. This is helpful”:




          125.126.     Unbeknownst to Ms. Gluck at that time, her tip to FBI Agent
    Adkins brought Shepos’s house of cards tumbling down. As indicated in Shepos’s
    plea agreement (attached as Exhibit A and incorporated by reference herein), the FBI

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    brought Shepos in for questioning because of the check. Shepos initially lied and said
    the check represented gambling proceeds—the same excuse he had given Ms. Gluck
    when confronted years earlier—but later told the FBI that the check (purportedly)
    represented bribebribery proceeds from an electrical contractor, and that he had kept
    the bribebribery proceeds in an account belonging to “Individual A.”
          126.127.     With assistance from Ms. Gluck, the County later learned that
    “Individual A” was yet another developer named Gregory Hanes—one who also, on
    information and belief, is an associate of Frank Visco’s.
          127.128.     Based on Shepos’s lie about the check that Ms. Gluck shared with
    the FBI, the FBI was able to convince Shepos to cooperate (in part), wear a wire, and
    implicate Arman Gabaee while Shepos was still working for the County.
          128.129.     But Shepos’s “cooperation” was a farce: as explained below and
    established by contemporaneous documents, he continued to lie to the FBI about the
    nature and scope of his relationship with Arman Gabaee and other developers, and
    parroted those lies in his plea agreement submitted to this federal court.
           C.    Ms. Gluck Begins Working with County and State Investigators.
          129.130.     In June 2017, two strangers showed up at Ms. Gluck’s home and
    knocked on her door. The strangers informed Ms. Gluck through her door that they
    were investigators working for the County.
          130.131.     Ms. Gluck called FBI Agent Adkins to ask him if she should
    speak with the County'sCounty’s investigators. Adkins told Ms. Gluck that it was her
    choice whether to speak with the County investigators.
          131.132.     Shortly thereafter, Ms. Gluck agreed to meet with the County’s
    investigators who had shown up at her home with questions about Shepos. The
    investigator from the County was named Bryan Bell, and he was joined by a
    colleague Robert Campbell. Ms. Gluck agreed to meet them at a café near her
    condominium.
          132.133.     During that meeting, Ms. Gluck asked Bell how he had found her.
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    Bell told Ms. Gluck that someone had flagged a suspicious lease for his review and
    that Shepos was involved in the lease. When Bell looked up Shepos’s divorce
    records, he noted that Ms. Gluck had filed several documents in the divorce case
    alleging that Shepos had engaged in corruption while employed at the County. Bell
    and Campbell then showed Ms. Gluck several photographs and asked her to identify
    anyone she knew, which she did. One was a photograph of Shepos and Visco’s long-
    time assistant Michele Lantz on a boat together (Shepos and Lantz now live together).
          133.134.     Ms. Gluck then agreed to let Bell and Campbell come with her to
    her condominium to look at some of her documents. Ms. Gluck began showing Bell
    some of the documents she had found showing evidence ofevidencing bribery. Bell
    appeared to be stunned.
          134.135.     Bell and Ms. Gluck stayed in touch after that initial meeting and
    Ms. Gluck continued to provide Bell with additional information and documents.
          135.136.     In or around September 2017, Bell returned to Ms. Gluck’s
    condominium with a colleague named Amanda Andrews, as well as two investigators
    from the State of California’s Department of Insurance named Pollie Pent and Randy
    Hudson.
          136.137.     Ms. Gluck told Pent and Hudson about Shepos’s bribery scheme.
    Pent and Hudson also seemed particularly interested in documents showing that
    Shepos had taken out numerous life insurance policies, that he had ties to multiple
    casinos in Las Vegas, and that he appeared to be engaged in business of some
    unknown sort with a large number of dentists. Ms. Gluck continued to communicate
    with Ms. Pent into 2018.
          137.138.     Ms. Gluck also continued cooperating and communicating with
    County investigator Bell into 2018. Ms. Gluck came to trust Mr. Bell and endeavored
    to provide him with the same information she had thought it important enough to
    provide FBI agentAgent Adkins.
          138.139.     However, Bell’s communication with Ms. Gluck ended abruptly
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    after he told Ms. Gluck that he had been offered a pay increase at work to accept a
    reassignment to another division.
          D.      Shepos Continues to Lie About the Scope and Timing of His
                  Bribery Scheme in an Attempt, Attempting to Avoid Responsibility
                  and Deflect Blame ononto Ms. Gluck.
          139.140.      In September 2018, Shepos pleaded guilty to federal criminal
    charges of making a false statement to a government agent and subscribing to a false
    tax return.
          140.141.      Ms. Gluck was struck by Shepos’s plea agreement because,
    despite agreeing to cooperate with the government, Shepos was continuing to
    blatantly lie about the scope of his corruption.
          141.142.      Most notably, Shepos falsely claimed in his plea agreement that
    while Arman Gabaee “began to seek improper assistance” from Shepos sometime
    “between 2000 and 2005,” Arman Gabaee “did not compensate [Shepos] for
    assistance and non-public County information at this time” and only “began giving
    cash payments” to Shepos in “approximately 2010 or 2011.”
          142.143.      But Ms. Gluck had found documents making clear that Arman
    Gabaee’s improper bribes of Shepos had begun at least as early as 1999 and continued
    for years until 2011 when Ms. Gluck filed for divorce.
          143.144.      Ms. Gluck found evidence that Arman Gabaee and Shepos shared
    an account with Southwest Airlines and would travel to Las Vegas together as far
    back as 1999.
          144.145.      First, Ms. Gluck found the below Southwest cardAirlines rewards
    card dated November 1999 belonging to Arman Gabaee (or “Gabay”) in Shepos’s
    boxes of documents:




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          145.146.    Second, Ms. Gluck found a credit card statement indicating that
    Shepos and Arman Gabaee had traveled to Las Vegas together inon January 7, 1999,
    excerpts of which are shown below with Ms. Gluck’s contemporaneous highlights
    from the time that she found the document:




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            146.147.     Third, Ms. Gluck found evidence that Shepos attended a shopping
      center convention in Las Vegas in May 1999, which Arman Gabaee paid for. Shepos
  A   kept a copy of his registration form, in which he held himself out as an executive of
      “Charles Company,” one of Arman Gabaee’s businesses. And Shepos also kept a
      copy of the credit card receipt payingshowing that Arman Gabaee paid $400 for
      hisShepos’s attendance—and which was billed to Armnan Gabaee’s credit card.
      Excerpts from both sets of documents are shown below:




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          147.148.     Ms. Gluck also found extensive evidence that Arman Gabaee
    funneled bribes to Shepos through the Roscomare Road properlyproperty during the
    years in which Shepos falsely claimed in his plea agreement he was not receiving any
    such elicit payments.
          148.149.     When Shepos and Ms. Gluck and Mr. Shepos renovated the Bel
    Air property, they overhauled the back yardbackyard and did extensive work to two
    stone stairways leading to an upper level, as shown in the photograph below from an
    October 20, 2008 appraisal report on the property:




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          149.150.    In the boxes of documents, Ms. Gluck found contracts with a
    contractor named Center Line construction to perform the work on Shepos’s Bel Air
    property, directed to Arman Gabaee’s company Excel Property management, signed
    by Shepos, and falsely indicating that instead the work was being done on the
    Hawthorne Mall (a building that Arman Gabaee leased to the County). The document
    wasThese documents were dated in or around July 8, 2003—a time when Shepos
    falsely claimed in his federal plea agreement he was not yet being bribed by Arman
    Gabaee.
          150.151.    Below are excerpts showing the language in just one of many
    such Center Line Construction contracts, —describing work performed on the
    Roscomare Road property—along with Shepos’s signature and handwriting:




                                On information and belief,




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          151.152.     Arman Gabaee’s company Excel Property Management
    performed construction work on Shepos’s personal property at no charge to Shepos.
    Then, Arman Gabaee and/or Shepos Shepos (together with Arman Gabaee’s brother,
    Mark Gabaee) sought to have this bribe reimbursed by the County byreimburse the
    Gabaees for that construction by submitting fraudulent invoices to the County falsely
    claiming itthat work performed on Shepos’s personal property was for work
    doneimprovements on the Hawthorne mallMall property, which the Gabaees were
    then leasing to the County.
          152.153.     In addition, Gluckbetween 2004 and 2007, Shepos hired a
    stonemason named Cirilo Rubalcava to perform construction work on the Roscomare
    houseRoad property.
          153.154.     Years later, after Ms. Gluck found the boxes of documents in
    storage, Ms. Gluck Found hand-writtenhandwritten invoices that Mr. Rubalcava
    submitted to Shepos. In those invoices, Rubalcava would list his time and fees,
    explain what portion had already been paid by Gabaee’sthe Gabaees’ company Excel
    Property Management, and advise Shepos what balance was owed, if any. Rubalcava
    also provided Shepos with copies of the checks he had already received from Excel,
    Gabaee’s company, Property Management for work performed on the house.
          154.155.     For instance, in the below invoice, Mr. Rubalcava explained that

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    his total bill was for $5,730, that he had received two checks from Excel Property on
    January 22, 2007 for $3,000 and $500, that he had also received a check from Shepos
    for $2,500, and that he therefore “owe[d] money balance to Tom” of $270:




      Mrs

            155.156.   Ms. Gluck found enclosed with this invoice copies of the two
    checks from Excel Property Management Services, Inc. dated January 22, 2007, to
    Mr. Rubalcava in the amount of $3,000 and $500. The checks also had a remark that
    stated “HawsthorneHawthorne,” apparently indicating (on informationthat Arman
    and belief) thatMark Gabaee intended to seek reimbursement from the County itself
    by falsely claiming that this work was performed on the County'sCounty’s leased
    Hawthorne mall buildingMall property when in fact it was performed on Shepos’s
    Roscomare Road property.
            156.157.   Ms. Gluck found similar a similar check from Excel Property
    Management Services, Inc. to Cirilo Rubalcava from 2004 in the amount of $5,000-
    —squarely during the period in which Shepos falsely claimed in his federal plea
    agreement that he was not yet being bribed by Arman Gabaee. Copies of all three
    checks are shown below:
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          157.158.    As the above examples show, Shepos received bribes from
    Arman Gabaee beginning in 1999, almost as early as he began working for the
    County in 1999. Those bribes continued throughout Ms. Gluck’s marriage to Mr.
    Shepos and for years after.—until around August 2017. Shepos’s false claimstory
    that Arman Gabaee only began bribing him in or around 2010 or 2011—the precise
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    time when Ms. Gluck first discovered some of Mr. Shepos’s misconduct and began
    taking steps to divorce him—appears to have been a calculated effort on his part to
    gain sympathy by deflecting blame onto Ms. Gluck.
           158.159.      Indeed, when news of his guilty plea came out, Shepos sent his
    lawyer out to smear Ms. Gluck publicly, making a false statement to the LA Times
    that Shepos only began accepting bribes after “a contentious divorce that left him
    trapped in debt . . . .”
           159.160.      Shepos’s “blame the victim” approach is flatly contradicted by
    the documentary evidence of Gabaee’s bribes. Ms. Gluck’s discovery of Shepos’s
    criminality, including with Gabaee, is what caused her to file for divorce in the first
    place—not the other way around. And far from being in “debt,” Shepos filed for
    fraudulent bankruptcy at a time when he was secretly receiving hundreds of
    thousands of dollars in bribes from developers and contractors doing business with
    the County.
           E.     Since Shepos’s Plea, More Evidence Has Come to Light Confirming
                  that Shepos’s Fraud and Corruption Was Far-Reaching and
                  Tainted Hundreds of Millions of Dollars ofin County Contracts.
           160.161.      Due to Ms. Gluck’s contributionscooperation, the federal
    government has indicted numerous other individuals beyond Shepos.
           161.162.      For instance, on April 26, 2019, Arman Gabaee entered into a
    Plea Agreement and pledpleaded guilty to federal program bribery in violation of 18
    U.S.C. § 666(a)(2). A true and correct copy of Arman Gabaee’s Plea Agreementplea
    agreement is attached hereto as Exhibit B and incorporated by reference herein.
           162.163.      After pleading guilty to one count of bribery, Arman Gabaee was
    sentenced to four years in prison. When Gabaee was sentencedAt sentencing, the
    County submitted a sentencing letter indicating that Shepos’s and Arman Gabaee’s
    guilty pleas were only the tip of the iceberg. The County has conducted a wide-
    ranging investigation, and the County now believes that hundreds of millions of
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    dollars of contracts for which Shepos was responsible were tainted by fraud,
    bribery, and corruption. That wide-ranging investigation was possible only because
    of Ms. Gluck’s efforts to “do the right thing” and share the results of her investigation
    with the FBI, the State, and the County.
     III. Shepos’ SchemeShepos’s Schemes Involved Numerous, Significant Real
          Estate Developers and Hundreds of Millions of Dollars’ Worth of Leases
          and Agreements.
          163.164.      As detailed further below, Ms. Gluck’s records indicaterevealed
    how the developers were able to profitprofited from leases obtained through the
    fraudulent schemeschemes with Shepos:
                 a.a)   Above-Market Leases Worth Hundreds of Millions of Dollars:
                        County leases range between a few hundred thousand dollars per-
                        year to a few million dollars per- year, with 5- and 10-year terms
                        being most common. DevelopersShepos helped developers
                        obtained these substantial leases at above-market rates, and often
                        on a no-bid basis.
                 b.b) Fraudulent      Reimbursements:       The      leases   also   included
                        “improvement reimbursements” under which the developers were
                        able to submit for reimbursement expenses they incurred in
                        maintaining the building. Shepos received invoices from
                        developers and simply had the County send reimbursement
                        checks, without any further proof that the work had actually been
                        performed (and in at least some cases, it had not). Developers
                        obtained substantial reimbursements for improvements that were
                        never made.
                 c.c)   Maintenance Fees and Utility Costs: The leases also established
                        that the developerdevelopers could charge maintenance fees and
                        pass on utility costs to the County. On information and belief,
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                       theSome developers obtained additional County money to which
                       they were not entitled by passing on inflated maintenance and
                       utility costs to the County.
          165.   On behalf of numerous developers over decades, Shepos routinely
    defrauded the County in exchange for bribes of various kinds, as detailed below. And
    Shepos went great lengths to conceal his schemes from the County (as well as the
    federal and State governments, which were also victims of Shepos’s fraud). For
    example, Shepos often funneled bribe proceeds with strawmen, including his
    roommate Jeff Kurtz and Gregory Hanes.
          164.166.     Ms. Gluck’s documents and other evidence also identify specific
    entities and individuals as being most involved in the fraudulent scheme:, including:
    (A) Mark and Arman Gabaee and their entities (the Gabaee Defendants); (B) Donald
    Abbey and his entities (the Abbey Defendants); (C) Frank Visco and his entities (the
    Visco Defendants); (D) Leon, Yoel, and John Neman and their entities (the Neman
    Defendants); and (E) Gregory Hanes and his entities (the Hanes Defendants):
          A.     Mark Gabaee and Arman Gabaee .
          165.167.      Founded by Mark and Arman Gabaee in 1979, the Charles
    Company owns 5 million square feet of commercial real estate in Southern California
    and Nevada. The Charles Company—and together with other entities owned and
    controlled by the Gabaees—has done over $100 million in transactions with the
    County as part of the Gabaees’ fraudulent scheme with Shepos. Evidence of the
    fraudulentthat scheme includes:is detailed below.
          a.168. Based on the evidence provided to the FBI by Ms. Gluck, Arman
    Gabaee has beenwas indicted by the federal government. Arman Gabaee was
    recorded offering Shepos a $1.1 million residential property as a bribe for a no-bid
    contract. In September 2018, Shepos pleadedadmitted in his guilty plea to receiving
    bribes from Arman Gabaee, and, in exchange, “us[ing] his County position to provide
    assistance to Gabaee and financially benefit Gabaee’s businesses.” See Ex. A. And
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    in April 2022, Arman Gabaee pleaded guilty to bribing Shepos. See Ex. B. On
    December 15, 2022, Arman Gabaee began serving his four-year sentence. (And to
    date, he remains in federal prison.) On January 23, 2023, Shepos received a sentence
    of 24 months of probation for tax fraud and lying to the FBI about his misconduct.
                        Plane tickets for Shepos and Both Arman Gabaee to Las Vegas.
                        Email to Shepos seeking W-9 information for Shepos’s roommate
                        Jeff Kurtz in order to hide bribes.
                        A P.O. Box jointly held by Shepos and Arman Gabaee.
                        Email from and Mark Gabaee to Shepos’s personal email account
                        intended to reduce Gabaee’s fmancial risk by asking for Shepos’s
                        “thoughts” on a property before Gabaee committed to purchasing
                        it.
                        Charles Company employee emailed Shepos’s family email
                        address to notify himunderstood that Shepos and Arman’s House of
                        Blues membership cards had arrived.
                        Shepos used a Southwest Airlines account registered under
                        Arman Gabaee’s name.
          h.169. An invoice for construction material used on Shepos and Gluck’s home
    that was paid by a high-ranking County official with the ability to bind the County to
    significant real estate contracts and influence the County’s real estate decisions. That
    is why Arman and Mark Gabaee’s company, M & A Gabaee. Gabaee bribed him:
    they intended to corrupt Shepos’s influence over the CountyMs. Gluck has no record
    of Shepos repaying the Gabaees for the work done for their home construction (the
    same is true for other developers below).own benefit. And for almost two decades,
    their scheme succeeded.
                        An engineering report for Shepos and Ms. Gluck’s home prepared
                        and submitted by Gabaee’s construction engineer.


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                       A Las Vegas convention registration form listing Shepos as an
                       employee of the Charles Company. The registration form was
                       attached to a receipt from Arman Gabaee showing Shepos’s
                       registration fee had been paid by Gabaee.
          170. Between 1999 and 2017, Arman Gabaee directly paid Shepos hundreds
    of thousands of dollars’ worth of bribes in various forms in exchange for improper,
    official favors benefitting himself, his brother Mark Gabaee, and the entities they
    owned and managed—including the Charles Company (doing business as The
    Charles Company, Inc.), M&A Gabaee, Excel Property Management, Oakshire,
    Wilhurst, Town Investments, Sancam, Greenoak, Maple19, Urban Grove19, and
    Oppidan.
          171. While Arman Gabaee took the lead on paying many of the bribes to
    Shepos—including those bribes described in their guilty pleas—Mark Gabaee held
    the purse strings for the Gabaees’ entities. Mark Gabaee was primarily responsible
    for the Gabaee Defendants’ finances and expenses. Thus, Mark Gabaee was not only
    aware of Arman Gabaee’s improper arrangement with Shepos, but he also directly
    participated in it. Together, as owners, managers, and executives of the entity Gabaee
    Defendants, Mark and Arman Gabaee controlled and directed the actions of those
    entities. Mark and Arman Gabaee also funneled bribes to Shepos through their
    entities, including at least the Charles Company, Excel Property Management, and
    M&A Gabaee.
          172. Indeed, Shepos’s fraudulent schemes with the Gabaees and their
    associates ran deep: for example, Shepos’s guilty plea admits that in approximately
    2013, he “arranged with a[n] associate of Gabaee’s to receive, and did receive, a real
    estate commission kickback of $35,000, through a third party, for the County’s lease
    of a property on Missouri Avenue.” That “associate of Gabaee’s” was John Carroll—
    who has acted as the President of Excel Property Management and another of the
    Gabaees’ real-estate entities, Noble Investment, LP (formerly Noble Investments,
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    LLC), and as a managing member of the Gabaees’ entity (nonparty) Corsair, LLC.
    And the “third party” named in Shepos’s guilty plea was his roommate, Kurtz.
          173. Specifically, around 2013, Shepos, Carroll, and Kurtz concocted a
    scheme through which Carroll would funnel a real estate commission from one of the
    County’s landlords to Shepos through Kurtz. Shepos recruited Carroll, a licensed real
    estate broker, to hold himself out as the County’s broker in its negotiations of a lease
    on Missouri Avenue in Los Angeles, California. Shepos then arranged for the
    County’s landlord to pay Carroll a real-estate commission of $77,823.92. After the
    lease agreement was fully executed, specifically, on May 6, 2014, Carroll emailed
    the landlord’s broker attaching an invoice requesting payment of that commission to
    Carroll’s company Giltner Realty Advisors. The landlord paid Carroll by check dated
    May 20, 2014 in the amount of $77,823.92.
          174. Shepos and Carroll left an (electronic) paper trail of their scheme with
    Kurtz: nine months later, on February 25, 2015—Carroll emailed Shepos on his
    personal email address regarding “W-9,” stating: “Need the info for Kurst [sic] as
    soon as possible.” Shepos replied that day, providing Carroll with Kurtz’s name,
    address, and social security number. Carroll then kicked back $35,000 to Shepos
    through Kurtz—deliberately disguising the kickback to Shepos as Form W-9 income
    to Kurtz from Giltner Realty Advisors. Neither Carroll nor Shepos ever had any
    legitimate business dealings with Kurtz.
          175. Rather, Shepos’s scheme with Carroll and Kurtz reflects Shepos’s
    fraudulent modus operandi of arranging and receiving bribes and kickbacks covertly
    funneled through strawmen and shell entities. The scheme also reflects the corruption
    that ran through every level of the Gabaees’ business dealings. In other words, it
    speaks volumes that when Shepos needed a real estate broker to participate in a
    kickback scheme involving a County real estate transaction, Shepos knew to look no
    further than the Gabaees’ inner circle—specifically, to the Gabaees’ longtime
    associate, John Carroll. Yet, the kickback scheme with Shepos, Carroll, and Kurtz
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    hardly scratches the surface of Shepos’s and the Gabaees’ pattern of corrupt dealings.
                 1.    The Gabaee Defendants’ Bribes to Shepos.
          176. From at least 1999 until at least 2017, Arman Gabaee, on behalf of Mark
    Gabaee and the other Gabaee Defendants, gave Shepos cash, gifts, travel, and other
    things of value in exchange for Shepos’s improper assistance with the Gabaee
    Defendants’ real-estate dealings with the County. The Gabaees’ entities, including at
    least the Charles Company, M&A Gabaee, and Excel Property Management, and
    their respective employees, acted as intermediaries through which Arman and Mark
    Gabaee bribed Shepos.
                      i.      Expensive Trips, Meals, and Gifts.
          177. Beginning in at least 1999, and continuing through 2017, Shepos shared
    and benefitted from Arman Gabaee’s Southwest Airlines account. Not only did
    Shepos have a Southwest Airlines “Rapids Rewards” card, dated November 1999,
    with Arman Gabaee’s name on it, but from at least 2011 through 2017, Shepos also
    received hundreds of emails from Southwest Airlines, addressed to “Arman Gabay,”
    and bearing the same “Rapid Rewards” number as the membership card—including,
    for example, on May 26, 2011 and Arman Gabaee and Shepos regularly traveled
    together to Las Vegas, where they looked at properties, ate expensive meals, and
    received spa treatments at Caesars’ Palace—all on Arman Gabaee’s dime. In May
    1999, Arman Gabaee paid Shepos’s $400 attendance fee for a shopping center
    convention in Las Vegas. At that convention, Shepos held himself out as an employee
    of the Charles Company (despite being a County public official).
          178. In or around January 2006, the Charles Company reimbursed Shepos
    approximately $15,000 for Los Angeles Dodgers tickets that Shepos had purchased.
          179. In or around April 2006 and April 2008, Arman Gabaee (together with
    his cousins) jointly paid for Shepos’s membership to the House of Blues club. After
    Arman Gabaee paid for Shepos’s membership, on May 22, 2008, a representative of
    the House of Blues Clubs emailed Shepos saying, “I have Arman Gabay’s and your
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    new membership cards in,” and asking where to send them. Shepos replied the next
    day, requesting that his and Arman Gabaee’s membership cards be mailed to
    Shepos’s home address.
          180. On or around December 23, 2008, Arman Gabaee, at Shepos’s request,
    paid for a catered lunch for Shepos and his entire department (around 50 County
    employees) as a holiday gift to Shepos. On December 11, 2008, the Charles Company
    employee Millie Grape wrote to Shepos’s personal email address, regarding “List for
    the Holidays”: “Just wanted to check in with you regarding the list for the holiday
    shopping. . . . I will be able to deliver everything before the holiday break.” That day,
    Shepos replied:
                sorry I forgot here is the list:

                 Thomas Shepos
                 Thomas Shepos
                 Thomas Shepos

                 Not really . . . .
          181. After some back and forth, Shepos wrote to Grape later in the day: “I
    need to talk with arman I believe a gift such as lunch sent in for all staff may be more
    beneficial . . . I will call him Friday and discuss.” On December 15, 2008, Grape
    replied to Shepos: “Arman is in agreement with you regarding the lunch being sent
    to your office. Let me know what food is preferred and I will order and have it
    delivered to your office.” Through subsequent emails, Grape confirmed that she
    would arrange for a catered lunch on December 23, 2008 for 50 County employees
    courtesy of Arman Gabaee—including, at Shepos’s insistence, drinks and “delicious
    desserts.”
          182. Around January 2010, Arman Gabaee gave Shepos a gold watch valued
    at over $20,000. Well aware that this was far from an appropriate gift for a County
    employee to receive from the County’s landlord, Shepos tucked this expensive watch
    away in his sock drawer next to a wad of $5,000 in cash—attempting to hide it from
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    his then-wife, Ms. Gluck.
          183. Arman Gabaee and Shepos also shared a P.O. box—as Ms. Gluck
    learned in 2010—underscoring Shepos’s improper relationship with the Gabaees.
                     ii.        Construction on Shepos’s Bel Air Home.
          184. Between around 2003 and 2007, Arman and Mark Gabaee, through
    Excel Property Management and M&A Gabaee, paid for construction materials and
    renovations on Shepos’s personal property on Roscomare Road in Bel Air.
          185. Around July 2003, Shepos entered several contracts with Center Line
    Construction for construction work on the Roscomare Road property—contracts
    which falsely indicated that the work would be performed on the Hawthorne Mall, a
    property that the Gabaees’ entity M&A Gabaee was then leasing to the County. Per
    its contracts with Shepos, Center Line Construction directed invoices for its work to
    Excel Property Management. At Mark and Arman Gabaee’s direction, Excel
    Property Management paid those invoices for work performed on Shepos’s personal
    property. Then, Mark and Arman Gabaee conspired with Shepos to seek
    reimbursement from the County for the work performed by Center Line Construction
    on the Roscomare Road property. At Mark and Arman Gabaee’s direction, M&A
    Gabaee and Excel Property Management submitted false invoices to the County
    requesting reimbursement for construction work performed on Shepos’s personal
    property—disguised as improvements on the leased Hawthorne Mall property.
          186. Along similar lines, between around 2004 and 2007, Arman and Mark
    Gabaee directed Excel Property Management to pay for stonemasonry work by Cirilo
    Rubalcava on Shepos’s Roscomare Road property. On October 20, 2004, for
    example, Excel Property Management gave Rubalcava a check for $5,000 for work
    performed on Shepos’s property. Again, on January 22, 2007, Excel Property
    Management gave Rubalcava two checks—for $3,000 and $500 respectively—to pay
    for his work on Shepos’s property. An identical notation appeared on all three of
    those checks: “Hawthorne.” That repeating notation indicated that Mark and Arman
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    Gabaee intended to fraudulently seek reimbursement from the County for
    Rubalcava’s work on the Roscomare Road property through M&A Gabaee and Excel
    Property Management by submitting invoices falsely claiming that work was
    performed instead on the Hawthorne Mall property they leased to the County. On
    April 24, 2007, Excel Property Management cut yet another check to Rubalcava for
    work performed on Shepos’s Roscomare Road property.
          187. In April 2006, Arman and Mark Gabaee, through M&A Gabaee,
    purchased $4,053.93 of construction materials for Shepos. The invoice for that
    purchase from Nichols Lumber & Hardware in Baldwin Park, dated April 10, 2006,
    stated: “Customer: M & A Gabaee . . . Job Address: . . . 1330 Roscoemare [sic]
    Rd”—referring to Shepos’s property at 1330 Roscomare Road.
          188. In addition, between around 2003 and at least 2006, an employee of the
    Charles Company, Kang Lee, performed structural engineering work on Shepos’s
    Roscomare Road property at Mark and Arman Gabaees’ direction and at no cost to
    Shepos. Lee’s work for Shepos is evidenced by a report titled “Structural
    Calculations,” originally dated July 6, 2003, and revised on April 7, 2004; May 10,
    2004; and March 27, 2006.
                    iii.     Cash Payments.
          189. Beginning in or around 2010 or 2011 until around April 11, 2017,
    Arman Gabaee made monthly cash payments to Shepos. For around the first six
    months of these regular cash payments, Arman Gabaee gave Shepos $5,000 per
    month. After that, the payments continued at approximately $1,000 per month.
          190. For example, Arman Gabaee paid Shepos: (a) $1,500 on December 20,
    2016; (b) $1,500 on December 3, 2016; (c) $1,000 on January 27, 2017; (d) $1,000
    on March 1, 2017; (e) $900 on March 31, 2017; and (f) $100 on April 11, 2017.
    Those were just the bribes that occurred during meetings recorded as part of the
    federal government’s criminal investigation.
          191. As described in Arman Gabaee’s guilty plea, these cash payments were
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    all bribes and kickbacks to Shepos for the benefit of Arman Gabaee, Mark Gabaee,
    and their entities.
                       iv.      Offer to Buy a $1.1 Million House.
            192. Around 2016, while Arman and Mark Gabaee, through their entities,
    were redeveloping their Hawthorne Mall property in Hawthorne, California, they
    attempted to lease that space to the County. A proposed lease anticipated a 10-year
    term during which the County would have paid the Gabaees (through their entities)
    over $45 million in rent and reimbursable tenant improvements.
            193. In an effort to secure this lease, around December 2016, Arman Gabaee
    offered to bribe Shepos—in addition to the ongoing monthly cash payments—by
    buying Shepos a residential property in Northern California. Arman Gabaee offered
    to buy Shepos a property on Barnes Road in Santa Rosa, California listed at
    $1,199,000. Arman Gabaee also offered to buy Shepos a property on Annadel
    Heights Drive, also in Santa Rosa, listed at $1,199,000. Arman Gabaee made several
    offers on that Annadel Heights Drive property, intending to purchase it for Shepos as
    a bribe. But the FBI intervened, arresting Arman Gabaee before he could close the
    deal.
                  2.      Shepos’s Official Favors to the Gabaee Defendants.
            194. In exchange for the bribes detailed above, Shepos:
                  a)      gave the Gabaee Defendants nonpublic information about the
                          Countys’ leasing needs and development plans;
                  b)      pressured County departments to complete official requests for
                          office space so that Shepos could fast-track formal lease
                          negotiations with the Gabaee Defendants;
                  c)      pretended to engage in the ordinary bidding process for County
                          leases while secretly promising the Gabaee Defendants favorable
                          treatment and ensuring they won lucrative County leases;
                  d)      pressured subordinate County employees into drafting leases for
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                         the Gabaee Defendants;
                e)       used his influence within the County to cover the Gabaee
                         Defendants’ tracks by ensuring that their tainted leases looked
                         legitimate;
                f)       secured favorable, often above-market leases for the Gabaee
                         Defendants; and
                g)       “ran interference” for the Gabaee Defendants on maintenance and
                         other issues relating to their leases and ensured those issues were
                         resolved favorably to the Gabaee Defendants—and to the
                         County’s detriment.
          195. During the period when the Gabaees were bribing Shepos, they often
    called or emailed Shepos to ask him whether the County would lease certain
    properties before the Gabaees purchased them. Shepos obliged. That insider
    information was highly valuable to the Gabaee Defendants because it allowed them
    to reduce or eliminate the typical risks of investing in real estate. Thanks to their
    inside man (Shepos), the Gabaees and their entities could invest in properties they
    knew that the County would be willing to rent for millions of dollars over many
    years—guaranteeing steady income. Conversely, the Gabaees could avoid riskier
    investments in properties that Shepos told them did not fit into the County’s
    (nonpublic) plans.
          k.196. Numerous emails involving Shepos providing County information to
    the Gabaees between Shepos (using his personal email address.) and the Gabaee
    Defendants evidence the Gabaee Defendants seeking, and Shepos improperly
    providing, nonpublic County information, for example:
                a)       On May 7, 2013, Charles Company employee AJ Jaranilla
                         emailed Shepos attaching marketing materials for the Hawthorne
                         Mall.
                b)       On July 24, 2013, Shepos emailed Millie Grape, a Charles
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                      Company employee, stating “please give to Mark,” and attaching
                      a scanned copy of the County’s internal file relating to its lease of
                      a property from Abbey’s entity AP-Commerce Plaza.
                c)    On November 22, 2013, Charles Company employee Jack
                      Kurchian emailed Grape saying, “Please forward this to Tom’s
                      personal email.” Grape did so that day. And on November 25,
                      2013, Shepos replied, promising to review the attachment.
                d)    On September 8, 2014, Mark Gabaee emailed Shepos attaching a
                      listing for an industrial building for sale on Earle Avenue in
                      Rosemead, California—presumably seeking Shepos’s advice
                      about whether the Gabaees (or one of their entities) should
                      purchase that building. The next day, Shepos replied: “scheduled
                      walk thru at Earle location at 3PM Tuesday 9/16”—indicating
                      that Shepos planned to tour the building on the Gabaees’ behalf
                      and let them know whether the County would rent that space.
                e)    On May 8, 2015, Grape emailed Shepos attaching photos of a
                      property, on behalf of “AG,” meaning Arman Gabaee.
                f)    On December 1, 2015, Mark Gabaee emailed Shepos attaching a
                      real estate listing for a truck terminal on East 26th Street in
                      Vernon, California, saying, “I am offered the subject and I would
                      appreciate your thoughts.”
          197. As just one example of Shepos running interference for the Gabaee
    Defendants, in 2011, when significant maintenance issues arose in properties the
    Gabaees were leasing to the County, Shepos covered for them. The County
    departments using those properties had raised concerns about broken elevators,
    leaking roofs, and similar maintenance issues. Shepos helped Arman and Mark
    Gabaee by wrongly deflecting blame away from the Gabaees and onto independent
    contractors—buying time for the Gabaees to resolve the issues. Notably, Mark
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    Gabaee directly participated in these discussions with Arman Gabaee and Shepos
    about the plot for Shepos to run interference with the County on these maintenance
    issues.
                   3.     The Gabaee Defendants’ Tainted County Contracts.
          198. During the period when the Gabaees and their entities were bribing
    Shepos, the County entered into and renewed several lease agreements with the Gabaee
    Defendants in order to house County departments and programs. The County paid for
    these leases using money that originated from a mixture of federal, state, and County
    grant funds.
                         i.    3220 Rosemead Boulevard, Building A, Suite No. 2A.
          199.     On or about November 4, 1997, the County and M&A Gabaee entered
    into a lease agreement for 3220 Rosemead Boulevard, Building A, Suite No. 2A in
    El Monte, California (Lease No. 71124). The County used this space to house the
    District Attorney.
          200. Under the lease agreement, the County agreed to pay monthly rent of
    $5,500—totaling $462,000 over its seven-year term. At all times, the County made
    monthly payments as they were due under the lease, in part with federal funds.
          201. On or about September 7, 1999, the County and M&A Gabaee entered
    into Amendment No. 1 to the lease agreement. The amendment increased the square
    footage of space rented at the property, thereby increasing the monthly rent to
    $11,567—totaling additional payments in excess of $376,154.
          202. This amendment was signed during the period when Arman Gabaee was
    bribing Shepos on behalf of himself, Mark Gabaee, and the other Gabaee Defendants,
    including M&A Gabaee. By this time, at a minimum, Arman Gabaee was paying for
    Shepos’s travel, including trips to Las Vegas. Amendment No. 1 was signed by Mark
    Gabaee on behalf of Sancam as General Partner of M&A Gabaee.
          203. Section 23.S of the lease agreement, which term was renewed by virtue
    of Amendment No. 1, contains an express acknowledgment that County employees
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    are forbidden from soliciting consideration “in any form” from landlords and that the
    lease agreement would be immediately terminable “if it is found that consideration,
    in any form, was offered or given by Lessor, either directly or through an
    intermediary, to any County officer, employee or agent with the intent of securing
    the Agreement or securing favorable treatment with respect to the award, amendment
    or extension of the Agreement or the making of any determinations with respect to
    the Lessor’s performance pursuant to the Agreement.”
          204. Shepos was involved with negotiating and securing approval of
    Amendment No. 1 to the Lease.
          205. The amended lease was in effect from September 7, 1999 to April 19,
    2005. During this period, the County paid monthly rent to M&A Gabaee, using a
    mixture of County, State, and federal funds.
          206. In Lease No. 71125 and its amendment, the Gabaees, M&A Gabaee, and
    Sancam made the false representation that they (and the other Gabaee Defendants)
    had not and would not engage in bribery, and in turn, obtained lucrative government
    contracts based on those misrepresentations.
          207. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. The Gabaees—
    alongEvery invoice submitted by the Gabaee Defendants knowingly included a false
    implied certification that the Gabaee Defendants had complied with Donald Abbey
    and others—paid these legal requirements.
          208. Had the County known Arman Gabaee was paying bribes to Shepos in
    exchange for and executed the construction of Shepos’s help in negotiating and
    securing the lease amendment and other preferential treatment of the Gabaee
    Defendants, the County would never have entered the amendment to the lease or
    made rent payments thereunder.
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                     ii.     3220 Rosemead Boulevard, Building G.
          209. On or about January 15, 2002, the County and Ms. Gluck’sM&A
    Gabaee entered into a lease agreement for 3220 Rosemead Boulevard, Building G in
    El Monte, California (Lease No. L-0793). The County used this space to house the
    District Attorney.
          210. Under the lease agreement, the County agreed to pay a monthly rent of
    $2,485—totaling $89,460 over its three-year term. At all times, the County made
    monthly payments as they were due under the lease, in part with federal funds.
          211. Shepos was involved with negotiating and securing approval of this
    lease, and the lease agreement was signed during the period when Arman Gabaee
    was making bribe payments to Shepos on behalf of himself, Mark Gabaee, and the
    other Gabaee Defendants, including M&A Gabaee. The lease agreement was signed
    by Mark Gabaee on behalf of Sancam as General Partner of M&A Gabaee.
          212. Section 26 of the lease agreement contains an express acknowledgment
    by M&A Gabaee that County employees are forbidden from soliciting consideration
    “in any form” from landlords and that landlords “shall not offer or give, either[]
    directly or through an intermediary, consideration in any form, to a County officer,
    employee or agent for the purpose of securing favorable treatment with respect to the
    award of the Lease.”
          213. On or about April 19, 2005, the County and Town Investments entered
    into a lease agreement for 3220 Rosemead Boulevard in El Monte, California (Lease
    No. 75257). This lease agreement extended the terms of the previous two leases
    (Lease Nos. 71124 and L-0793), merged the two agreements into a single lease
    agreement, and increased the County’s monthly rent by $1,953 per month. The lease
    agreement was signed by Mark Gabaee on behalf of Sancam as Managing Member
    of Town Investments.
          214. Under the new lease agreement (Lease No. 75257), the County agreed
    to pay a monthly rent of $16,611.75—totaling $996,705 over its five-year term.
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          215. On or about July 6, 2010, the County and Town Investments entered
    into Amendment No. 1 to the lease agreement (Lease No. 75257). The amendment
    extended the term of the lease for five years and set a monthly rent at $18,588.92,
    with yearly increases to rent—totaling payments in excess of $1,115,335. The
    amendment was signed by Mark Gabaee on behalf of Town Investments. At all times,
    the County made monthly payments as they were due under the new lease, in part
    with federal funds.
          l.216. These leases and amendment were signed during the period when
    Arman Gabaee was paying bribes—including travel and construction on Shepos’s
    home.—to Shepos on behalf of himself, Mark Gabaee, and the other Gabaee
    Defendants, including M&A Gabaee, Town Investments, and Sancam.
          217. Section 28 of the lease agreement contains an express acknowledgment
    by Town Investments that County employees are forbidden from soliciting
    consideration “in any form” from landlords and that landlords “shall not offer or give,
    either[] directly or through an intermediary, consideration in any form, to a County
    officer, employee or agent for the purpose of securing favorable treatment with
    respect to the award of the lease.”
          218. Shepos was instrumental in negotiating and securing approval of these
    leases and amendments. For example, Shepos authored the Board letter stating “IT
    IS RECOMMENDED THAT YOUR BOARD” take five specific actions: (i)
    “Approve and instruct the Chairman to sign a ten year full service lease with M&A
    Gabaee”; (ii) “Approve and instruct the Chairman to sign Amendment No. 1 to Lease
    No. 71124, with Lessor for office space located at 3220 Rosemead Boulevard, Suite
    B”; “Authorize the Director of the Internal Services Department (ISD) to acquire a
    telephone system for DPSS and relocate the telephone system for the DA”; (iii) “find
    that the project will not have a significant effect on the environment, and find that
    the Negative Declaration reflects the independent judgment of the County and
    approve the Negative Declaration”; and (iv) “Approve the projects and authorize the
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    CAO and ISD to implement the projects.”
             219. Further,   Shepos   authored    a   Board   letter   stating   “IT   IS
    RECOMMENDED THAT YOUR BOARD” take three specific actions:
    (i) “Approve and instruct the Chairman to sign the attached lease with Town
    Investments (Landlord)”; (ii) “Find that the lease renewal is categorically exempt
    from the California Environmental Quality Act (CEQA)”; and (iii) “Approve the
    project and authorize the Chief Administrative Office (CAO) and DA to implement
    the project.”
             220. Shepos also obtained the Board’s approval for Amendment No. 1 to the
    lease, authoring a Board letter with the “recommendation” that the Board find the
    lease exempt from CEQA and “[a]pprove and instruct the Chair to sign the lease
    amendment with Town Investment [sic] LLC (Lessor).”
             221. The lease agreements and amendment were in effect from January 15,
    2002 until July 5, 2015. During this period, the County paid monthly rent to M&A
    Gabaee and/or Town Investments, using a mixture of County, State, and federal
    funds.
             222. Through these County leases and amendments, the Gabaees, M&A
    Gabaee, Town Investments, and Sancam made and renewed the false representation
    that they (and the other Gabaee Defendants) had not and would not engage in bribery,
    and in turn, obtained lucrative government contracts based on those
    misrepresentations.
             223. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
    submitted by the Gabaee Defendants knowingly included a false implied certification
    that the Gabaee Defendants had complied with these legal requirements.
             224. Had the County known that Arman Gabaee was paying bribes to Shepos
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    in exchange for Shepos’s help in negotiating the lease documents, Shepos’s
    recommendations for Board approval and other preferential treatment of the Gabaee
    Defendants, the County would never have entered into these leases or amendments,
    nor would it have made payments thereunder.
                      iii.     3220 Rosemead Boulevard, Building A.
             225. On or about May 5, 1998, the County and M&A Gabaee entered into a
    lease agreement for 3220 Rosemead Boulevard, Building A in El Monte, California
    (Lease No. 71378). The County used this space to house the Department of Public
    Social Services. Mark Gabaee signed this lease on behalf of Sancam as General Partner
    of M&A Gabaee.
             226. Under the lease agreement, the County agreed to pay a monthly rent of
    $20,435—totaling $2,452,200 over its ten-year term. Throughout the term, the
    County made monthly payments as they were due under the lease, in part with federal
    funds.
             227. On or about August 5, 2008, the County, at Shepos’s recommendation,
    exercised an option to renew the lease for a five-year term at a monthly rent of
    $26,418—totaling approximately $1.6 million over its five-year term.
             228. On or about July 30, 2013, the County and Town Investments entered
    into Amendment No. 1 to the lease agreement. The amendment extended the term of
    the lease for five years and set a monthly rent at $28,328, with yearly increases to
    rent—totaling payments in excess of $1,699,680. Mark Gabaee signed Amendment
    No. 1 on behalf of Town Investments.
             229. The 2008 lease renewal option and the 2013 amendment were signed
    during the period when Arman Gabaee was paying bribes—including travel,
    extravagant gifts, construction on Shepos’s home, and monthly cash payments—to
    Shepos on behalf of himself, Mark Gabaee, and the other Gabaee Defendants,
    including M&A Gabaee and Town Investments.
             230. Shepos was instrumental in negotiating and securing approval of this
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    lease. For example, Shepos authored the Board letter recommending approval of the
    lease and that the Board take four specific actions: (i) “Find that the project is exempt
    from the California Environmental Quality Act (CEQA)”; (ii) “Approve a ten-year
    lease with M&A Gabaee”; (iii) “Authorize the Director of Internal Services
    Department (ISD) to acquire a telephone system for the facility”; and (iv) “Approve
    the project and authorize the Chief Administrative Officer to implement the project.”
          231. Shepos also authored the Board letter recommending the exercise of the
    five-year renewal option, recommending that the Board: (i) “Find that the lease
    renewal is categorically exempt from California Environmental Quality Act
    (CEQA)”; and “Exercise the option to renew the lease for a five-year term with Town
    Investment, LLC.” Additionally, Shepos authored the Board Letter recommending
    the adoption of Amendment No. 1, further extending the lease term by five years,
    specifically recommending that the Board: (i) “Approve and instruct the Chairman
    to sign an amendment for a five-year extension of the lease with Town Investments,
    LLC” and (ii) “Authorize the Chief Executive Office and the Director of Public
    Social Services to implement the project upon Board approval.”
          232. Shepos further authored a memorandum directing the Rent/Budget
    Administration to commence rent payments pursuant to the lease, as well as
    payments for the cost of electricity used during the tenancy.
          233. The lease was in effect from May 5, 1998 until August 4, 2018. During
    this period, the County paid monthly rent to Town Investments, using a mixture of
    County, State, and federal funds.
          234. Section 23.S of the lease, which was renewed by virtue of Amendment
    No. 1, prohibits County employees from soliciting consideration “in any form” from
    landlords and notes that the lease agreement would be immediately terminable “if it
    is found that consideration, in any form, was offered or given by Lessor, either
    directly or through an intermediary, to any County officer, employee or agent with
    the intent of securing the Agreement or securing favorable treatment with respect to
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    the award, amendment or extension of the Agreement or the making of any
    determinations with respect to the Lessor’s performance pursuant to the Agreement.”
          235. Through this lease, renewal, and amendment, the Gabaees, M&A
    Gabaee, Town Investments, and Sancam made and renewed the false representation
    that they (and the other Gabaee Defendants) had not and would not engage in bribery,
    and in turn, obtained lucrative government contracts based on those
    misrepresentations.
          236. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
    submitted by the Gabaee Defendants knowingly included a false implied certification
    that the Gabaee Defendants had complied with these legal requirements.
          237. Had the County known that Arman Gabaee was paying bribes to Shepos
    in exchange for Shepos’s help in negotiating the lease documents, Shepos’s
    recommendations for Board approval and other preferential treatment of the Gabaee
    Defendants, the County would never have exercised the 2008 lease renewal option
    or entered the 2013 amendment, nor would it have made payments thereunder.
                    iv.      3216 Rosemead Boulevard.
          238. On or about September 7, 1999, the County and M&A Gabaee entered
    into a lease agreement for 3216 Rosemead Boulevard in El Monte, California (Lease
    No. 72387). The County used this space to house the Department of Public Social
    Services. The lease was signed by Mark Gabaee on behalf of Sancam as General
    Partner of M&A Gabaee.
          239. Under the lease agreement, the County agreed to pay a monthly rent of
    $54,386.80—totaling $6.5 million over its ten-year term. At all times, the County
    made monthly payments as they were due under the lease, in part with federal funds.
          240. On or about July 13, 2010, the County, at Shepos’s recommendation,
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    exercised an option to renew the lease for a five-year term at a monthly rent of
    $70,433—totaling approximately $4.2 million over its five-year term.
          241. On or about November 15, 2016, the County and M&A Gabaee entered
    into Amendment No. 1 to the lease agreement. The amendment extended the term of
    the lease for five years and set a monthly rent at $77,396.60, with yearly increases to
    rent—totaling payments in excess of $4.6 million. Amendment No. 1 was signed by
    Mark Gabaee on behalf of M&A Gabaee.
          242. The lease agreement in 1999, the exercise of the renewal option in 2010,
    and Amendment No. 1 in 2016 were all signed during periods when Arman Gabaee
    was paying bribes to Shepos—including travel, extravagant gifts, construction on
    Shepos’s home, and monthly cash payments—on behalf of himself, Mark Gabaee,
    and the other Gabaee Defendants.
          243. Section 29 of the lease agreement contains an express acknowledgment
    by M&A Gabaee that County employees are forbidden from soliciting consideration
    “in any form” from landlords and that landlords “shall not offer or give, either[]
    directly or through an intermediary, consideration in any form, to a County officer,
    employee or agent for the purpose of securing favorable treatment with respect to the
    award of the lease.”
          244. Shepos was instrumental in negotiating and securing this lease and its
    renewal and amendment. For example, Shepos authored the Board letter setting forth
    his recommendation that the Board exercise the five-year renewal option, stating “IT
    IS RECOMMENDED THAT YOUR BOARD” take two specific actions: (i) “Find
    that the lease renewal is categorically exempt from the California Environmental
    Quality Act”; and (ii) “Exercise the option to renew the lease for a five-year term
    with Town Investment, LLC.”
          245. The lease was in effect from September 7, 1999 until November 30,
    2021. During this period, the County paid monthly rent to M&A Gabaee, using a
    mixture of County, State, and federal funds.
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          246. Through this lease and its renewal and amendment, the Gabaees, M&A
    Gabaee, and Sancam made the false representation that they (and the other Gabaee
    Defendants) had not and would not engage in bribery, and in turn, obtained lucrative
    government contracts based on those misrepresentations.
          247. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
    submitted by the Gabaee Defendants knowingly included a false implied certification
    that the Gabaee Defendants had complied with these legal requirements.
          248. Had the County known that Arman Gabaee was paying bribes to Shepos
    in exchange for Shepos’s help in negotiating the lease documents, Shepos’s
    recommendations for Board approval, and other preferential treatment of the Gabaee
    Defendants, the County would never have entered the lease, exercised the 2010
    renewal option, or entered the 2016 amendment, nor would it have made payments
    thereunder.
                      v.       9107 Wilshire Boulevard.
          249. On or about March 23, 2016, the County and Oakshire entered into a
    lease agreement for 9107 Wilshire Boulevard in Los Angeles, California (Lease No.
    L-1244). The County used this space to house the Department of Mental Health,
    which provides critical mental health services such as assessments, case
    management, crisis intervention, medication support, peer support, and other
    rehabilitative services.
          250. Under this lease, the County agreed to pay a monthly rent of $24,000,
    plus $12,960 per month, for a period of sixty days—totaling payments of $73,920.
    After the initial sixty-day term, the County continued to occupy the premises until
    June 2019 as a holdover tenant. During this period, the County made monthly
    payments as they were due, in part with federal funds.
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          251. This lease agreement was signed during the period when Arman Gabaee
    was paying bribes to Shepos on behalf of himself, Mark Gabaee, and the other
    Gabaee Defendants—travel, extravagant gifts, construction on Shepos’s home, and
    monthly cash payments. The lease was signed by Arman Gabaee on behalf of
    Wilhurst as Managing Member of Oakshire.
          252. Section 32 of the lease agreement contains an express acknowledgment
    by Oakshire that County employees are forbidden from soliciting consideration “in
    any form” from landlords and that landlords “shall not offer or give, either directly
    or through an intermediary, consideration in any form to a County officer, employee
    or agent for the purpose of securing favorable treatment with respect to the award of
    the Lease.”
          253. The lease was in effect from March 23, 2016 to June 9, 2019. During
    this period, the County paid monthly rent to Oakshire, using a mixture of County,
    States, and federal funds.
          254. Through this lease, the Gabaees, Oakshire, and Wilhurst made the false
    representation that they (and the other Gabaee Defendants) had not and would not
    engage in bribery, and in turn, obtained lucrative government contracts based on
    those misrepresentations.
          255. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
    submitted by the Gabaee Defendants knowingly included a false implied certification
    that the Gabaee Defendants had complied with these legal requirements.
          256. Had the County known that Arman Gabaee was paying bribes to Shepos
    in exchange for Shepos’s help in negotiating and securing the lease, and his other
    preferential treatment of the Gabaee Defendants, the County would never have
    entered the lease or made payments thereunder.
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                       vi.       12000 Hawthorne Boulevard.
          257. On or about September 25, 2000, the County and M&A Gabaee entered
    into a lease agreement for 12000 Hawthorne Boulevard in Hawthorne, California
    (Lease No. 73655). The County used this space to house the Department of Public
    Social Services.
          258. Under the lease agreement, the County agreed to pay a monthly rent of
    $On information and belief,232,743—totaling $27.9 million over its ten-year term.
    At all times, the County made monthly payments as they were due under the lease,
    using a mixture of County, State, and federal funds.
          259. The lease also provided the County the option to occupy a secondary
    premises for an additional $35,650 per month.
          260. On or about January 13, 2004, the County and M&A Gabaee entered
    into a Memorandum of Acceptance of Expansion Space, whereby the County took
    possession of the secondary premises (4300 West 12th Street) as of December 1,
    2003, resulting in additional payments of approximately $2.9 million over the
    remainder of the lease term.
          261. On or about July 5, 2011, the County and M&A Gabaee entered into
    Amendment No. 1 to the lease agreement. The amendment extended the term of the
    lease for five years and set a monthly rent at $273,722, with yearly increases—
    totaling payments in excess of $16.4 million.
          262. The lease agreement in 2000, the Memorandum of Acceptance of
    Expansion Space in 2004, and Amendment No. 1 in 2011 were signed during periods
    when Arman Gabaee was paying bribes to Shepos on behalf of himself, Mark
    Gabaee, and the other Gabaee Defendants—travel, extravagant gifts, construction on
    Shepos’s home, and monthly cash payments. The lease agreement, the Memorandum
    of Acceptance of Expansion of Space, and Amendment No. 1 were all signed by
    Mark Gabaee on behalf of Sancam as General Partner of M&A Gabaee.
          263. Section         23.R   of   the
                                           lease agreement contains          an   express
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    acknowledgment by M&A Gabaee that County employees are forbidden from
    soliciting consideration “in any form” from landlords and that the lease agreement
    would be immediately terminable if consideration “was offered or given by Lessor,
    either directly or through an intermediary, to any County officer, employee or agent
    with the intent of securing the Agreement or securing favorable treatment with
    respect to the award, amendment or extension of the Agreement or the making of any
    determinations with respect to the Lessor’s performance pursuant to the Agreement.”
          264. Shepos was instrumental in negotiating and securing approval of the
    lease, its amendment, and the Memorandum of Acceptance of Expansion Space. He
    authored a Board letter stating, “IT IS RECOMMENDED THAT YOUR
    BOARD,” among other things, “Approve and instruct the Mayor, Los Angeles
    County, to sign the attached ten-year lease with M & A Gabaee (Lessor).” He also
    authored a letter stating his “recommendation [] to exercise an option to renew the
    lease term for an additional five-year period . . . .”
          265. The lease was in effect from September 25, 2000 until August 31, 2017.
    During this period, the County paid monthly rent to M&A Gabaee, using a mixture
    of County, State, and federal funds.
          266. In their County lease and amendments, the Gabaees, M&A Gabaee, and
    Sancam made the false representation that they (and the other Gabaee Defendants)
    had not and would not engage in bribery, and in turn, obtained lucrative government
    contracts based on those misrepresentations.
          267. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
    submitted by the Gabaee Defendants knowingly included a false implied certification
    that the Gabaee Defendants had complied with these legal requirements.
          268. Had the County known that Arman Gabaee was paying bribes to Shepos
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    in exchange for Shepos’s help in negotiating and securing the lease, Shepos’s
    recommendations for Board approval, and other preferential treatment of the Gabaee
    Defendants, the County would never have entered the lease, Amendment No. 1, or
    the Memorandum of Acceptance of Expansion Space, nor would it have made
    payments thereunder.
                    vii.      532 East Colorado Boulevard.
          269. On or about May 18, 1999, the County and M&A Gabaee entered into
    a lease agreement for 532 E. Colorado Boulevard in Pasadena, California (Lease No.
    72116). The County used this space to house the Department of Children and Family
    Services.
          270. Under the lease agreement, the County agreed to pay monthly rent of
    $116,631—totaling $14 million over its ten-year term. At all times, the County made
    monthly payments as they were due under the lease.
          271. The lease also provided the County the option to occupy a secondary
    premises for an additional $35,650 per month.
          272. On or about February 16, 2010, the County, at Shepos’s
    recommendation, exercised an option to renew the lease for a five-year term with
    Greenoak as the counterparty, at a monthly rent of $33,418—totaling approximately
    $2 million over its five-year term.
          273. On or about December 8, 2015, the County and M&A Gabaee entered
    into Amendment No. 1 to the lease agreement. The amendment extended the term of
    the lease for five years and set a monthly rent at $176,811.62, with yearly rent
    increases—totaling payments in excess of $10.6 million.
          274. The lease agreement in 1999, the 2010 renewal option, and Amendment
    No. 1 in 2015, were signed during periods when Arman Gabaee was paying bribes
    to Shepos on behalf of himself, Mark Gabaee, and the other Gabaee Defendants—
    travel, extravagant gifts, construction on Shepos’s home, and monthly cash
    payments. The lease agreement and Amendment No. 1 were both signed by Mark
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    Gabaee on behalf of Sancam as the General Partner of M&A Gabaee.
          275. Section    22.R    of   the   lease    agreement       contains   an   express
    acknowledgment by M&A Gabaee that County employees are forbidden from
    soliciting consideration “in any form” from landlords and that the lease agreement
    would be immediately terminable if consideration “was offered or given by Lessor,
    either directly or through an intermediary, to any County officer, employee or agent
    with the intent of securing the Agreement or securing favorable treatment with
    respect to the award, amendment or extension of the Agreement or the making of any
    determinations with respect to the Lessor’s performance pursuant to the Agreement.”
          276. Shepos authored the Board letter recommending approval of the five-
    year lease renewal, stating, “IT IS RECOMMENDED THAT YOUR BOARD”
    take two specific actions: (i) “Find that the lease renewal is categorically exempt
    from the California Environmental Quality Act pursuant to Class 1, of the
    Environmental Document Reporting Procedures and Guidelines”; and (ii) “Exercise
    the option to renew the lease for a five-year term with Greenoak Investments, LLC
    (Lessor).”
          277. Shepos also authored the Board letter recommending approval of
    Amendment 1 in 2015, stating, “IT IS RECOMMENDED THAT THE BOARD”
    take three specific actions: (i) “Find that the proposed lease amendment is
    categorically exempt from the provisions of the California Environmental Quality
    Act”; (ii) “Approve and instruct the Chairwoman to sign the five-year lease
    amendment with M&A Gabaee”; and (iii) “Authorize the Chief Executive Officer
    and the Director of Children and Family Services to implement the lease
    amendment.”
          278. Shepos also authored a memorandum directing commencement of rent
    payments under the original lease, which was adopted at Shepos’s recommendation.
    The lease was in effect from May 18, 1999 until December 31, 2020. During this
    period, the County paid monthly rent to M&A Gabaee, using a mixture of County,
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    State, and federal funds.
          279. Through this lease and its renewal and amendment, the Gabaees, M&A
    Gabaee, Greenoak, and Sancam made and adopted the false representation that they
    (and the other Gabaee Defendants) had not and would not engage in bribery, and in
    turn, obtained lucrative government contracts based on those misrepresentations.
          280. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
    submitted by the Gabaee Defendants knowingly included a false implied certification
    that the Gabaee Defendants had complied with these legal requirements.
          281. Had the County known that Arman Gabaee was paying bribes to Shepos
    in exchange for Shepos’s help in negotiating and securing the lease documents,
    Shepos’s recommendations for Board approval, and other preferential treatment of
    the Gabaee Defendants, the County would never have entered the lease, the renewal
    option or Amendment No. 1, nor would it have made payments thereunder.
                   viii.        15531 Ventura Boulevard.
          282. On or about July 28, 1992, the County and M&A Gabaee entered into a
    lease agreement for 15531 Ventura Boulevard in Sherman Oaks, California (Lease
    No. 66261). The County used this space to house the District Attorney and
    Department of Child Support Services, which enforces child support and medical
    support orders, establishes parentage, and collects and disburses support payments.
          283. Under the lease agreement, the County agreed to pay a monthly rent of
    $80,692—totaling $9.7 million over its ten-year term. At all times, the County made
    monthly payments as they were due under the lease, using a mixture of County, State,
    and federal funds.
          284. On or about October 1, 2002, the County and M&A Gabaee entered into
    Amendment No. 2 to the lease agreement. The amendment extended the term of the
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    lease for five years and set a monthly rent at $94,286.29—totaling payments in excess
    of $5.6 million.
          285. On or about December 18, 2007, the County and M&A Gabaee entered
    into Amendment No. 3 to the lease agreement. The amendment extended the term of
    the lease for five years and set a monthly rent at $111,837.15, providing for annual
    increases in rent—totaling payments in excess of $6.7 million.
          286. On or about April 2, 2013, the County and M&A Gabaee entered into
    Amendment No. 4 to the lease agreement. The amendment extended the term of the
    lease for five years and set a monthly rent at $125,257.59, providing for annual
    increases in rent—totaling payments in excess of $7.5 million.
          287. Amendment No. 2 in 2002, Amendment No. 3 in 2007, and Amendment
    No. 4 in 2013 were signed during periods when Arman Gabaee was paying bribes to
    Shepos on behalf of himself, Mark Gabaee, and the other Gabaee Defendants—
    travel, extravagant gifts, construction on Shepos’s home, and monthly cash
    payments. Amendment No. 2 was signed by Mark and Arman Gabaee on behalf of
    M&A Gabaee. Amendment Nos. 3 and 4 were signed by Mark Gabaee on behalf of
    Sancam as General Partner of M&A Gabaee.
          288. Shepos was directly involved in negotiating and securing the lease
    amendments outlined above. For example, Shepos directed a subordinate to author a
    Board letter recommending approval of Amendment No. 2, and Shepos himself
    authored Board letters recommending approval of Amendment Nos. 3 and 4. In the
    Board letter recommending Amendment No. 3, Shepos stated: “IT IS
    RECOMMENDED THAT YOUR BOARD” take two specific actions: (i)
    “Approve Amendment No. 3 to renew the lease for a five-year term with M&A
    Gabaee, L.P.”; and (ii) “Find that this Amendment No. 3 is exempt from the
    provisions of the California Environmental Quality Act (CEQA).” Shepos made
    nearly identical recommendations with respect to Amendment No. 4.
          289. The lease was in effect from July 28, 1992 until November 7, 2015.
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    During this period, the County paid monthly rent to M&A Gabaee, using a mixture
    of County, State, and federal funds.
          290. In this lease and amendments, the Gabaees, M&A Gabaee, and Sancam
    made the false representation that they (and the other Gabaee Defendants) had not
    and would not engage in bribery, and in turn, obtained lucrative government contracts
    based on those misrepresentations.
          291. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
    submitted by the Gabaee Defendants knowingly included a false implied certification
    that the Gabaee Defendants had complied with these legal requirements.
          292. Had the County known that Arman Gabaee was paying bribes to Shepos
    in exchange for Shepos’s help in negotiating and securing the lease amendments,
    Shepos’s recommendations for Board approval, and other preferential treatment of
    the Gabaee Defendants, the County would not have entered Amendment Nos. 2, 3,
    or 4, nor would it have made payments thereunder.
                     ix.      2910 West Beverly Boulevard.
          293. On or about March 14, 1969, the County entered into a lease agreement
    for 2910 West Beverly Boulevard in Los Angeles, California (Lease No. 14714) with
    non-party the Oswin Company.
          294. Oppidan acquired the subject property at 2910 West Beverly Boulevard
    in or around October 2000.
          295. On or about February 20, 2007, the County and Oppidan entered into
    Amendment No. 4 to the lease agreement. The amendment extended the term of the
    lease for five years and set a monthly rent at $66,815 per month, providing for annual
    increases in rent—totaling payments in excess of $4 million. At all times, the County
    made monthly payments as they were due under the lease, in part with federal funds.
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             296. Shepos authored a Board letter recommending that the Board “Approve
    and instruct the Chairman to sign the attached Amendment No. 4 with OPPIDAN,
    LLC, to extend the term of Lease No. 14714 for a five-year period . . . .”
             297. Amendment No. 4 in 2007 was signed during a period when Arman
    Gabaee was paying bribes to Shepos on behalf of himself, Mark Gabaee, and the
    other Gabaee Defendants—travel, extravagant gifts, and renovations on Shepos’s
    home. Indeed, the County signed Amendment No. 4 approximately one month after
    the Gabaees, through the Charles Company, reimbursed Shepos for nearly $15,000
    in Dodgers tickets. Amendment No. 4 was signed by Mark Gabaee on behalf of
    Sancam as Managing Member of Oppidan.
             298. The lease was in effect until November 30, 2011. From the time the
    County entered Amendment No. 4 in February 2006 until November 30, 2011, the
    County paid monthly rent to Oppidan, using a mixture of County, State, and federal
    funds.
             299. Through this lease and amendments, the Gabaees, Oppidan, and Sancam
    made and adopted the false representation that they (and the other Gabaee
    Defendants) had not and would not engage in bribery, and in turn, obtained lucrative
    government contracts based on those misrepresentations.
             300. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
    submitted by the Gabaee Defendants knowingly included a false implied certification
    that the Gabaee Defendants had complied with these legal requirements.
             301. Had the County known that Arman Gabaee was paying bribes to Shepos
    in exchange for Shepos’s help in negotiating and securing the lease amendment,
    Shepos’s recommendations for Board approval, and other preferential treatment of
    the Gabaee Defendants, the County would not have entered Amendment No. 4, nor
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    would it have made payments thereunder.
                       x.       3303 North Broadway Street.
             302. On or about October 4, 2016, the County and Oppidan entered into a
    lease agreement for 3303 North Broadway Street in Los Angeles, California (Lease
    No. 78530). The County used this space to house the Department of Mental Health.
             303. Under the lease agreement, the County agreed to pay a monthly rent of
    $129,487.93—totaling $23.3 million over its fifteen-year term. At all times, the
    County made monthly payments as they were due under the lease, in part with federal
    funds.
             304. In or about February 2020, Oppidan assigned “all of its right, title and
    interest” in the foregoing lease to Maple19.
             305. Section    32.2     of   the   lease    agreement       contains   an   express
    acknowledgment by Oppidan that landlords “shall not offer or give, either directly or
    through an intermediary, consideration in any form to a County officer, employee or
    agent for the purpose of securing favorable treatment with respect to the award of the
    Lease.”
             306. This lease agreement was signed during a period when Arman Gabaee
    was paying bribes to Shepos on behalf of himself, Mark Gabaee, and the other
    Gabaee Defendants— travel, extravagant gifts, renovations on Shepos’s home, and
    monthly cash payments. The lease was signed by Mark Gabaee on behalf of Sancam
    as Managing Member of Oppidan.
             307. As Oppidan’s successor-in-interest, Maple19 is liable for Oppidan’s
    misconduct and assumed Oppidan’s obligations and representations under the lease.
             308. Shepos was instrumental in negotiating and securing approval of this
    lease. For example, he authored a Board letter stating, “IT IS RECOMMENDED
    THAT THE BOARD,” among other things, “Approve and instruct the Chair to sign
    the lease with OPPIDAN, LLC (Landlord).”
             309. The County entered the lease on October 4, 2016 and had a fifteen-year
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    term. The County paid monthly rent to Oppidan and/or Maple19 when due pursuant
    to the terms of the lease, in part with federal funds.
          310. In their County lease, the Gabaees, Oppidan, Sancam, and Maple19
    made and adopted the false representation that they (and the other Gabaee
    Defendants) had not and would not engage in bribery, and in turn, obtained lucrative
    government contracts based on those misrepresentations.
          311. Moreover, each invoice submitted pursuant to County leases or other
    agreements impliedly certified that the Gabaee Defendants would comply with
    California law, which forbids County employees from receiving bribes or having a
    financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
    submitted by the Gabaee Defendants knowingly included a false implied certification
    that the Gabaee Defendants had complied with these legal requirements.
          312. Had the County known that Arman Gabaee was paying bribes to Shepos
    in exchange for Shepos’s help in negotiating and securing the lease documents,
    Shepos’s recommendations for Board approval, and other preferential treatment of
    the Gabaee Defendants, the County would never have entered this lease, nor would
    it have made payments thereunder.
                 4.     The Gabaees and Shepos Concealed Their Scheme.
          313. Arman Gabaee, Mark Gabaee, and Shepos mutually agreed, and then
    took steps, to conceal their bribery scheme. Specifically, Arman Gabaee and Shepos
    often met in person to discuss their improper arrangement—avoiding reducing their
    bribery scheme to writing. When the Gabaees and their employees did communicate
    with Shepos in writing—for example, to improperly received nonpublic County
    information—they were careful to hide their communications from the County by
    using Shepos’s personal email address. For years, Shepos hid cash and gifts he
    received from Arman Gabaee from his then-wife, Ms. Gluck. Shepos did not report
    any of that cash or those gifts on his Statement of Economic Interest Form 700s (a
    State form requiring State and local government officials to disclose certain financial
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    interests, personal assets, and income that could be materially affected by their own
    official acts). Nor did he otherwise inform the County about the things of value he
    received from the Gabaees. Arman and Mark Gabaee also used their entities and
    employees as intermediaries to funnel bribes to Shepos.
          314. In their leases with the County, the Gabaee Defendants represented—
    and repeatedly reaffirmed—their understanding that County employees like Shepos
    were prohibited from having any financial interest in County contracts and that
    landlords (including the Gabaee Defendants) are prohibited from giving County
    employees any consideration in exchange for favorable treatment. The County relied
    on those representations by the Gabaee Defendants in paying rent under their leases
    with the Gabaee Defendants.
                 5.    The     Gabaee      Defendants’      Agency      and     Alter-Ego
                       Relationships.
          166.315.     As detailed above, the Gabaees acted as executives and managers
    of the entity Gabaee Defendants. Arman and Mark Gabaee bribed Shepos, including
    through at least M&A Gabaee, Excel Property Management, and the Charles
    Company, for the benefit of each of the other Gabaee Defendants. In addition, Mark
    Gabaee signed leases with the County on behalf of the other Gabaee Defendants.
    These facts show that the Gabaees own, control, and/or direct the actions of the other
    Gabaee DefendantsCharles Company (doing business as The Charles Company,
    Inc.), M&A Gabaee, Excel Property Management, Oakshire, Wilhurst, Town
    Investments, Sancam, Greenoak, Maple19, Urban Grove19, and Oppidan, who, in
    doing the acts alleged herein, acted at their direction and/or with their permission,
    knowledge, consent, or ratification.
          167.316.     In the alternative, on information and belief, the Gabaees were alter
    egos of the other Gabaee DefendantsIn the alternative, based on the facts described
    above—including that the Gabaees acted as executives and managers of the entity
    Gabaee Defendants; that Arman and Mark Gabaee bribed Shepos, including through
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    at least M&A Gabaee, Excel Property Management, and the Charles Company, for
    the benefit of each of the other Gabaee Defendants; and Mark Gabaee signed leases
    with the County on behalf of the other Gabaee Defendants—the Gabaees were alter
    egos of the Charles Company (doing business as The Charles Company, Inc.), M&A
    Gabaee, Excel Property Management, Oakshire, Wilhurst, Town Investments,
    Sancam, Greenoak, Maple19, Urban Grove19, and Oppidan; the Gabaees dominated
    and controlled the other Gabaee Defendants; a unity of interest and ownership existed
    between the Gabaees and the other Gabaee Defendants; the other Gabaee Defendants
    were mere shells and conduits for the Gabaees’ affairs; the other Gabaee Defendants
    were inadequately capitalized; the Gabaees and the other Gabaee Defendants failed to
    abide by the formalities of corporate existence; and the Gabaees used the other Gabaee
    Defendants’ assets as their own and, in doing the things alleged herein, acted with
    such a unity of interest that the separate personalities of these corporate entities do not
    in reality exist and honoring their separate identities would bring about an inequitable
    result. The Gabaee Defendants did not respect corporate formalities because they used
    their companies as mere shells to carry out their bribery scheme. As one example,
    M&A Gabaee and Excel Property Management both paid bribes in connection with
    the Roscomare Road property, which (on information and belief) were intended to
    induce Shepos to provide illicit benefits to the Gabaees, and their companies, and their
    relatives/associates. As another example, the Moradis andGabaees directed
    employees of the MoradiCharles Company to participate in their bribery scheme by
    emailing Shepos on his personal email address to request nonpublic County
    information on behalf of the entity Gabaee Defendants.
                 The County entered into several lease agreements with the Gabaee
    Defendants in order to house County departments and programs. While these leases
    were paid for by the County, the money the County used originated from a mixture of
    federal, state, and/or County grant funds.


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                     For example, on or about May 5, 1998, the County and M & A Gabaee
    entered into a lease agreement for 3220 Rosemead Boulevard, Building A in El Monte, California

    (Lease No. 71378). The County used this space to house the Department of Public Social Services.

                     Under the lease agreement, the County agreed to pay a monthly rent of $20,435—

    totaling $2,452,200 over its ten-year term.

           171.1.On or about August 5, 2008, the County, at Shepos’s recommendation,
    exercised an option to renew the lease for a five-year term at a monthly rent of
    $26,418—totaling approximately $1.6 million over its five-year term.
                     On or about July 30, 2013, the County and Town Investments entered into
    Amendment No. 1 to the lease agreement. The amendment extended the term of the lease for five

    years and set a monthly rent at $28,328, with yearly increases to rent—totaling payments in excess

    of $1,699,680.

                     The County made payments to the Gabaees under Lease No. 71378
    using a mixture of federal, state, and County funds.
                     Section 23.S of the lease prohibits County employees from soliciting
    consideration “in any form” from landlords and notes that the lease agreement would
    be immediately terminable “if it is found that consideration, in any form, was offered
    or given by Lessor, either directly or through an intermediary, to any County officer,
    employee or agent with the intent of securing the Agreement or securing favorable
    treatment with respect to the award, amendment or extension of the Agreement or
    the making of any determinations with respect to the Lessor’s performance pursuant
    to the Agreement.”
           B.        Donald G. Abbey.
           175.317.         Donald Abbey runs one of the largest commercial real estate
    development companies in the country. Through the Abbey Company and dozens of
    project-specific LLCs, Donald Abbey has done a large number ofnumerous
    transactions with the County. The evidence of Abbey’s involvement in the bribery
    scheme includes the followingis detailed below.
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          318. DonaldShepos and Abbey— met in or around the early 2000s. They had
    both attended Penn State University and bonded over their shared alma mater. After
    their first meeting, Shepos invited Abbey to do business with the County.
          319. Abbey understood that Shepos was a high-ranking County employee
    with authority to bind the County to significant contracts and influence the County’s
    real estate decisions. Thus, Abbey bribed Shepos intending to corrupt Shepos’s
    influence over the County for Abbey’s own (and his entities’) benefit.
                 1.    The Abbey Defendants’ Bribes.
          176.320.     In exchange for Shepos’s help securing three County leases for
    the Abbey Defendants—in 2004, 2006, and 2007, respectively—Abbey and his
    entities bribed Shepos with free home renovations to his property in Bel Air. Not
    only did Abbey, through his entities (and along with the Gabaees—paid), pay for and
    executedexecute the construction of Shepos'sShepos’s and Ms. Gluck’s home,
    including providingbut Abbey also provided Shepos with a Home Depot credit card.
    billed to, and paid for by, Abbey’s company NL Services. Credit card statements
    dated between May 2005 and December 2005 indicate that during that time period
    alone, Shepos spent up to hundreds of dollars per month on construction materials at
    Home Depot—all of which was billed to and paid for by NL Services (courtesy of
    Abbey).
          321. On August 12, 2005—around one year after Shepos authored a letter to
    the County Board of Supervisors recommending approval of the Abbey Defendants’
    first County lease—Shepos signed a proposal contract with NL Services to perform
    home renovations on his Roscomare Road property in exchange for $476,500. That
    proposal contract indicates that it was submitted by President of NL Services, Sam
    Aldrich. Abbey caused NL Services to enter into the proposal contract—which
    resulted in a massive financial benefit to Shepos in the form of hundreds of thousands
    of dollars’ worth of labor and material—in exchange for his improper help securing
    County leases for the Abbey Defendants.
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            177.322.    Shepos’s records showindicate that Abbey’s construction
     company—NL Services— and landscaping company—Nittany Lion Landscaping—
     issued Shepos invoices for performed approximately $480,000. On information and
     belief, worth of renovations on Shepos’s Roscomare Road property. Shepos received
     that labor and material as a bribe from Donald Abbey and never actually paid any
     invoices.
           178.323.     Abbey’s company NL Landscaping Services, Inc. provided
     Shepos with a check for $25,000, dated November 23, 2005, made out to CME
     Windows & Doors, the company that supplied the windows and doors for
     theShepos’s Roscomare Road houseproperty.
           179.324.     Shepos then gave thethat check to CME Windows & Doors as a
     “deposit check to place window & door order.”
           180.325.     Shepos then submitted a false claim to Indy Mac Bank on his
     home construction loan, indicating that the $25,000 check was one that he had paid
     and asking that he be reimbursed from the construction loan. Indy Mac Bank indeed
     reimbursed Shepos $25,000 even though it had been paid by NL Landscaping
     Services, Inc. rather than by Shepos.
           181.326.     Below are excerpts showing (a) the $25,000 check from NL
     Landscaping Services, Inc.; (b) Shepos’s hand-writinghandwriting on an invoice he
     paid to CME Windows & Doors; (c) Shepos’s letter to IndyMac bank requesting




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     reimbursements, including for the $25,000 window and door order; and (d) a deposit
     to Shepos’s bank account a few days later from IndyMac bank.




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     On information and belief, Abbey owns, controls, and/or directs the actions of the
     other Abbey Defendants




           327. Abbey bribed Shepos through Nittany Lion (doing business as NL
     Services) for the benefit of his other companies, The Abbey Company, Abbey-
     Properties, DGA-Properties, AP-Palmdale, AP-Palmdale Place, AP-Commerce
     Plaza (to which CDCF III is a successor-in-interest), The Abbey Management
     Company, AP-Sierra, Abbey-Properties II, and DGA-Properties II.
                 2.    The Abbey Defendants’ Tainted County Contracts.
           328. During the period when Abbey and Nittany Lion (doing business as NL
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     Services) were bribing Shepos, the County entered into and renewed several lease
     agreements with the Abbey Defendants in order to house County departments and
     programs. The County paid for these leases using money that originated from a mixture
     of federal, state, and County grant funds.
                       i.      39959 Sierra Highway.
           329. On or about May 18, 2004, the County and AP-Sierra entered into a
     lease agreement for 39959 Sierra Highway in Palmdale, California (Lease No.
     74876). The County used this space to house the Department of Children and Family
     Services. Before the County began to occupy the space, the County and Abbey signed
     a work letter, pursuant to which Abbey would provide tenant improvements to the
     property before the County moved in. Per the work letter, the tenant representative
     was Shepos, and the landlord representative was Abbey.
           330. The lease commenced on March 1, 2005 and set a monthly rent of
     $71,775, with bi-annual rent increases over ten years—totaling payments to AP-
     Sierra of approximately $9.1 million (including $2.4 million in County-funded tenant
     improvements). The lease also provided for the County to purchase $1.5 million in
     furniture from AP-Sierra. Abbey-Properties executed the lease on behalf of DGA-
     Properties which, in turn, executed the lease on behalf of AP-Sierra.
           331. Shepos represented the County as the real property agent on this lease.
     Indeed, Shepos was instrumental in negotiating and securing approval of this lease.
     Among other things, he authored the Board letter recommending approval of the
     lease, prepared an Initial Study and Negative Declaration pursuant to CEQA
     determining that the project would not significantly affect the environment, and
     represented the County as the counterparty to Abbey in connection with County
     funded improvements on the property.
           332. Specifically, the Board letter recommended that the Board “[a]pprove
     and instruct the Chairman to sign the attached ten-year lease and addendum with AP-
     Sierra LLC, Landlord, for the occupancy of 49,500 rentable square feet of office
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     space,” and “[a]uthorize the Chief Administrative Office (CAO) to acquire financing
     for furniture systems for DCFS at a cost not to exceed $1,500,000.”
           333. Section 32(b) of the lease contains an express acknowledgement by AP-
     Sierra that County employees are forbidden from soliciting consideration “in any
     form” from landlords and that landlords “shall not offer or give [] consideration in
     any form to a County officer, employee or agent for the purpose of securing favorable
     treatment with respect to the award of the Lease.”
           334. Abbey entered into the lease with the intent to pay Shepos bribes in
     exchange for the business opportunity with the County. The Abbey Defendants
     performed free renovations on Shepos’s home in exchange for Shepos’s help in
     negotiating and securing approval of the lease and any amendments thereto.
           335. On or about February 3, 2015, the County and AP-Sierra entered into an
     amendment to the lease. The amendment extended the term of the lease for a period
     of five years and increased the monthly rent to $79,200 for the first year; $81,180 for
     the second year; $83,160 for the third year; $85,140 for the fourth year and $87,120
     for the fifth year—totaling approximately $5 million over the full term.
           336. At all times, the County made monthly payments as they were due under
     the lease, using a mixture of County, State, and federal funds.
           337. Abbey-Properties executed the amendment on behalf of DGA-
     Properties, which, in turn, executed the lease on behalf of AP-Sierra. Abbey signed
     the amendment.
           338. Through their County lease and amendment, Abbey, AP-Sierra, DGA-
     Properties, and Abbey-Properties made the false representation that they (and the
     other Abbey Defendants) had not and would not engage in bribery, and in turn,
     obtained lucrative government contracts based on those misrepresentations.
           339. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the Abbey Defendants would comply with
     California law, which forbids County employees from receiving bribes or having a
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     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Abbey Defendants knowingly included a false implied certification
     that the Abbey Defendants had complied with these legal requirements.
            340. Had the County known Abbey and the entity Abbey Defendants were
     bribing Shepos in exchange for Shepos’s help in negotiating and securing the lease
     and amendment, Shepos’s recommendations for Board approval, and other
     preferential treatment of the Abbey Defendants, the County would never have
     entered the lease or amendment, nor would it have made payments thereunder.
                      ii.      2323 East Palmdale Boulevard.
            341. On or about October 10, 2006, the County and AP-Palmdale—of which
     Abbey is the Chief Executive Officer—entered into a lease agreement for 2323 East
     Palmdale Boulevard in Palmdale, California (Lease No. 75892). The County used
     this space to house the Department of Mental Health.
            342. Before the County occupied the space, Abbey and the County signed a
     work letter, under which Abbey would provide tenant improvements to the property
     prior to the County’s move-in. Per the work letter, Shepos was the tenant
     representative, and Abbey was the landlord representative.
            343. Under this lease, the County agreed to pay AP-Palmdale: a base monthly
     rent of $14,808 with fixed, periodic rent increases during its term; a one-time
     payment of over $100,000 for tenant improvements; and $350,000 in furniture—
     totaling payments to AP-Palmdale of over $2.3 million over the ten-year term.
            344. The lease was in effect for ten years (until October 2016), during which
     time the County paid AP-Palmdale monthly rent as it was due, along with the
     $100,000 for tenant improvements and $350,000 in furniture costs—all using a
     mixture of County, State, and federal funds. After the initial term, the County
     continued to occupy the property until April 2020 as a holdover tenant, and as of
     February 2018, paid rent to AP-Palmdale Place, AP-Palmdale’s successor-in-
     interest.
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           345. Shepos was instrumental in negotiating and securing approval of this
     lease. Among other things, he authored a Board letter recommending approval of the
     lease, prepared an Initial Study and Negative Declaration pursuant to CEQA
     determining that the project would not significantly affect the environment, and
     represented the County as the counterparty to AP-Palmdale in connection with
     County-funded improvements on the property. Shepos did this because he had
     received, and was continuing to receive, hundreds of thousands of dollars in free
     renovations of his Bel Air residence from Abbey. The Board letter specifically
     recommended that the Board “[a]pprove and instruct the Mayor to sign the attached
     ten-year lease with AP-Palmdale, LLC, Landlord, for the occupancy of 9,255
     rentable square feet of office space…plus a one-time payment of $107,550 for
     additional Tenant Improvements (TI) and $350,000 for furniture.” The Board letter
     attached the Negative Declaration Shepos authored finding that “the project will not
     have a significant effect on the environment.”
           346. The County made payments to the AP-Palmdale for Lease No. 75892
     using a mixture of Federal, State, and County funds.
           347. Section 32(b) of the lease prohibits County employees from soliciting
     consideration “in any form” from landlords and states that landlords “shall not offer
     or give [] consideration in any form to a County officer, employee or agent for the
     purpose of securing favorable treatment with respect to the award of the Lease.”
           348. The lease was signed by the Abbey Defendants at the time Abbey was
     bribing Shepos in exchange for Shepos’s influence on County leases.
           349. In their County lease and renewal, Abbey, AP-Plaza, AP-Palmdale, and
     AP-Palmdale Place (as AP-Palmdale’s successor-in-interest) made and adopted the
     false representation that they (and the other Abbey Defendants) had not and would
     not engage in bribery, and in turn, obtained lucrative government contracts based on
     those misrepresentations.
           350. Moreover, each invoice submitted pursuant to County leases or other
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     agreements impliedly certified that the Abbey Defendants would comply with
     California law, which forbids County employees from receiving bribes or having a
     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Abbey Defendants knowingly included a false implied certification
     that the Abbey Defendants had complied with these legal requirements.
           351. Had the County known Abbey and the entity Abbey Defendants were
     bribing Shepos in exchange for Shepos’s help in negotiating and securing the lease,
     Shepos’s recommendations for Board approval and other preferential treatment of
     the Abbey Defendants, the County would not have entered the lease, nor would it
     have made payments thereunder.
                      iii.      5701 South Eastern Avenue.
           352. On or about August 21, 2007, the County and AP-Commerce (to which
     Defendant CDCF III is the successor-in-interest) entered into a lease agreement for
     5701 South Eastern Avenue in Commerce, California (Lease No. 76324). The
     County used this space to house the Department of Child Support Services.
           353. Abbey-Properties II executed the lease on behalf of AP-Commerce.
     Abbey signed the lease on behalf of Abbey-Properties II.
           354. Under this lease, the County agreed to pay a base rent of $131,430 per
     month for the first year, with annual rent increases over the seven-year term—totaling
     approximately $12 million in rent payments. At all times, the County made monthly
     rent payments under the lease as they were due, using a mixture of County, State, and
     federal funds.
           355. Like the County’s other leases, Section 31(b) of the 5701 South Eastern
     Avenue lease contains an express acknowledgment that County employees are
     forbidden from soliciting consideration “in any form” from landlords and that
     landlords “shall not offer or give [] consideration in any form to a County officer,
     employee or agent for the purpose of securing favorable treatment with respect to the
     award of the Lease.”
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           356. Shepos was instrumental in negotiating and securing approval of the
     lease. Among other things, according to the County’s subsequent investigation,
     stemming from information the County received from Ms. Gluck, Shepos was the
     County point-person with CBRE, the commercial agent, and he oversaw rent
     payment and space adjustments for the property. Shepos did these things in exchange
     for the hundreds of thousands of dollars in home renovations Abbey provided him.
     Abbey signed the lease knowing that it was procured as a result of his bribery.
           357. The original lease was in effect from August 21, 2007 to August 20,
     2014, during which time the County paid monthly rent as it was due, using a mixture
     of County, State, and federal funds.
           358. On or about July 13, 2010, the County and AP-Commerce entered into
     the First Amendment to the lease, reducing the size of the rented premises by 3,111
     square feet and reducing the rent proportionately.
           359. From August 2014 to March 2018, the County leased the property on a
     month-to-month holdover basis, paying over $6 million in rent.
           360. On July 11, 2014, Shepos authored a memorandum to the County
     Section Head, Rent/Budget Administration providing notice that the monthly rental
     payments “will continue on a month-to-month holdover effective August 21, 2014”
     at a monthly rate of $149,108.83.
           361. On or about March 20, 2018, the County and CDCF III entered into a
     Second Amendment to Lease, extending its term by a period of seven years at a
     monthly rent of $54,584.20, with annual rent increases of up to 3%—totaling
     payments to CDCF III in an amount of at least $4.6 million.
           362. In their County lease and amendments, Abbey, AP-Commerce (to which
     Defendant CDCF III is the successor-in-interest), and Abbey-Properties II made the
     false representation that they (and the other Abbey Defendants) had not and would
     not engage in bribery, and in turn, obtained lucrative government contracts based on
     those misrepresentations.
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           363. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the Abbey Defendants would comply with
     California law, which forbids County employees from receiving bribes or having a
     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Abbey Defendants knowingly included a false implied certification
     that the Abbey Defendants had complied with these legal requirements.
           364. Had the County known Abbey and the entity Abbey Defendants were
     bribing Shepos in exchange for Shepos’s help in negotiating and securing the lease
     and other preferential treatment of the Abbey Defendants, the County would not have
     entered the lease or amendments thereto, nor would it have made payments
     thereunder.
                   3.   Abbey and Shepos Concealed Their Scheme.
           365. Shepos and Abbey mutually agreed, and took steps, to conceal their
     bribery scheme. Rather than paying Shepos directly, Abbey indirectly funded
     renovations to Shepos’s home using Abbey’s construction and landscaping company
     Nittany Lion (doing business as NL Services). Abbey caused NL services to enter a
     proposal contract and subsequently invoice Shepos in order to give their arrangement
     the false appearance of legitimacy. But Abbey never intended to collect any payment
     from Shepos for the hundreds of thousands of dollars of labor and materials Abbey
     provided to Shepos through his NL Landscaping and NL Services. Shepos never
     disclosed his home-renovation dealings with Abbey to the County.
           366. In their leases with the County, the Abbey Defendants represented—and
     repeatedly reaffirmed—their understanding that County employees like Shepos were
     prohibited from having any financial interest in County contracts and that landlords
     (including the Abbey Defendants) are prohibited from giving County employees any
     consideration in exchange for favorable treatment. The County relied on those
     representations by the Abbey Defendants in paying rent under their leases with the
     Abbey Defendants.
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                   4.     The Abbey Defendants’ Agency and Alter-Ego Relationships.
            182.367.      Based on Abbey’s ownership and respective management roles
     within each of the other Abbey Defendants, and the actions those companies took at
     Abbey’s direction, all detailed above, Abbey owns, controls, and/or directs the
     actions of Nittany Lion (doing business as NL Services), The Abbey Company,
     Abbey-Properties, DGA-Properties, AP-Palmdale, AP-Palmdale Place, AP-
     Commerce Plaza (to which CDCF III is a successor-in-interest), The Abbey
     Management Company, AP-Sierra, Abbey-Properties II, and DGA-Properties II,
     who, in doing the acts alleged herein, acted at their direction and/or with their
     permission, knowledge, consent or ratification.
            183.368.      In the alternative, on information and belief, —based on Abbey’s
     ownership and respective management roles within each of the other Abbey
     Defendants, and the actions those companies took at Abbey’s direction, detailed
     above—Abbey was the alter ego of the other Abbey Defendants; Abbey dominated
     and controlled the other Abbey Defendants; a unity of interest and ownership existed
     between Abbey and the other Abbey Defendants; the other Abbey Defendants were
     mere shells and conduits for Abbey’s affairs; the other Abbey Defendants were
     inadequately capitalized; Abbey and the other Abbey Defendants failed to abide by
     the formalities of corporate existence; and Abbey used the other Abbey Defendants’
     assets as their own and, in doing the things alleged herein, acted with such a unity of
     interest that the separate personalities of these corporate entities do not in reality exist
     and honoring their separate identities would bring about an inequitable result. The
     Abbey Defendants did not respect corporate formalities because they used their
     companies as mere shells to carry out their bribery scheme. As one example, NL
     Landscaping paid bribes in Services, at Abbey’s direction, gave Shepos labor and
     material in connection with the Roscomare Road property, which (on information
     and belief) were intended to induce Shepos to provide illicit benefits to the any of the
     Abbey Defendants or as bribes in exchange for Shepos’s help securing County leases
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     benefitting Abbey’s other entities associated with Abbey.
                    The County entered into several lease agreements with the Abbey
     Defendants in order to house certain County departments and programs. While these
     leases were paid for by the County, the money the County used originated from a
     mixture of County, federal, and/or state grant dollars.

            185.1.For example, on or about October 10, 2006, the County and AP-
     Palmdale—of which Abbey is the Chief Executive Officer—entered into a lease
     agreement for 2323 East Palmdale Boulevard in Palmdale, California (Lease No.
     75892). The County used this space to house the Department of Mental Health.
                    Under this lease, the County agreed to pay AP-Palmdale: a base monthly rent of

     $14,808 with fixed, periodic rent increases during its term; a one-time payment of over $100,000

     for tenant improvements; and $350,000 in furniture—totaling payments to AP-Palmdale of over

     $2.3 million over the ten-year term.


            187.1.The County made payments to the AP-Palmdale for Lease No. 75892
     using a mixture of Federal, State, and County funds.
                    Section 32(b) of the lease prohibits County employees from soliciting consideration

     “in any form” from landlords and states that landlords “shall not offer or give [] consideration in

     any form to a County officer, employee or agent for the purpose of securing favorable treatment
     with respect to the award of the Lease.”

            C.      Frank A. Visco .
            189.369.       Lancaster, California businessman Frank Visco played a
     significant role in organizing the bribery scheme, including organizing the no-bid
     deals in the Antelope Valley. Shepos met with Visco each Wednesday in Lancaster
     to coordinate their fraudulent conduct. Visco was compensated, in part, by other
     commercial real estate entities and contractors for arranging no-bid deals on their
     behalf.
            370. David Schaeffer is an example of an individual who receivedVisco
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     understood that Shepos was a high-ranking County employee with authority to bind
     the County to significant contracts through Visco and in turn provided compensation
     to Visco. The influence the County’s contractreal estate decisions. Thus, Visco
     bribed Shepos intending to corrupt Shepos’s influence over the County for the
     Castaic Library was awarded to a Texas entity owned by David Schaeffer, yet his
     own benefit.
                    1.    Visco’s Improper Relationship with Shepos.
           371. As described above, Shepos and Visco received County checkshad a
     strange and improper relationship. Visco often called Shepos on weekends,
     sometimes inviting Shepos to go for alleged tenant improvements to a P.O. boxrides
     in his Maybach. At least once, Visco visited Shepos at the Bel Air property during
     the renovations.
           190.372.       Beginning in Lancaster, Californiathe late 1990s or early 2000s,
     Visco paid for Shepos’s trips to various destinations, where they frequented resorts
     and casinos tougher. Shepos and Visco attended a golf tournament together in
     September 2007. They traveled to casinos, resorts, and other destinations, including
     Las Vegas in 2008, Palm Springs in 2009, and Santa Barbara in 2010. And they
     gambled together frequently over the years—including at least four or five times at
     Agua Caliente in Palm Springs.
                    On information and belief, Gregory Hanes is another associate of Visco
     with whom Visco advanced the bribery scheme. Visco and Shepos worked with other
     individuals who, on information and belief, included Hanes, to facilitate illicit
     payments to Shepos and payments from other property developers for obtaining no-
     bid contracts from the County. Hanes and Visco engaged in real estate transactions
     in the Antelope Valley with each other.
                    The evidence of Visco’s involvement in the bribery scheme includes:
           373. Shepos accidentally called Ms. Gluck during a meeting with Visco in
     LancasterOn information and belief, Visco also gave Shepos cash payments—
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     including, for example, payments of $27,500 in or around November 2008, and
     $18,500 in or around November 2009. The basis for this informed belief is a
     handwritten note that Shepos gave to Ms. Gluck, and which he explained to her was
     a list of gambling trips and transactions with both Visco and Arman Gabaee. In
     particular, Shepos’s handwritten note stated: “Nov 09 . . . W/F [Frank] . . . 18500”
     and “Nov 08 PS [Palm Springs] W/F . . . 27,500.” In the same note, Shepos affirmed
     those dates and dollar amounts of Visco’s payments: “11/17/08 . . . Frank $27,500”
     and “Nov 09 . . . 18,500 . . . Frank.”
           374. In January 2010, Shepos celebrated his birthday with Ms. Gluck and
     some friends at a high-end spa resort, which resulted in a substantial invoice. Ms.
     Gluck discovered that invoice years later, which revealed that their room had been
     booked under Frank Visco’s name, and Visco had covered their weekend by
     providing Shepos with a $5,000 gift certificate.
           375. In or around 2012, Visco gave Shepos frequent flyer miles allowing
     Shepos to upgrade his flight to New Orleans.
           376. Shepos also took out a $1 million life insurance policy for his daughter
     from Visco’s company, Visco Financial Insurance Services. Shepos’s name was
     misspelled “Stepos” on that policy. A few years later, Shepos cashed in the policy
     without Ms. Gluck’s knowledge.
           a.377. Rather than representing the County in Visco’s real estate transactions
     with the County—which was Shepos’s job—Shepos instead referred to Visco as a
     “County client.” For years, Shepos traveled to Lancaster to meet with Visco every
     Wednesday. During one of these meetings, Shepos accidentally called Ms. Gluck and
     left a voicemail. Visco can be heard on the recording saying, “no bid.” Visco and
     Shepos also discussed cash payments. and square footage. Shepos suggested
     makingmentioned        “Marissa”—referring         to   the     payments     in    the
     namedaughter of Visco’s secretary’s daughter, employee Michelle Lantz—to which
     Visco replied, “get the family out.”
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                          On behalf of FCG Properties, a company to which he has no
                          known    legal   connection,   Visco   submitted   improvement
                          reimbursement forms with invoices from his construction
                          company. Shepos approved the reimbursement requests and made
                          the reimbursements payable to Frank Visco directly—made to his
                          P.O. box.
                          Visco provided Shepos trips to various destinations where
                          together they frequented resorts and casinos.
           d.378. Shepos Deepening Shepos’s strange and improper ties with Visco,
     Shepos developed a romantic relationship and took frequent trips with Frank an
     employee of Visco’s employeecompany Visco Financial, Michele Lantz.
           379. Lantz has worked with Visco since the late 1990s, around the time when
     Shepos met them both. After Shepos’s and Ms. Gluck’s 2011 separation and her
     subsequent divorce filing, Shepos and Lantz developed a romantic relationship. At
     that time and continuing until around April 2017, Shepos had significant influence
     over Visco’s real estate transactions with the County. Shepos and Lantz have
     remained in a romantic relationship since approximately 2012. During that time, they
     have attended several parties at Visco’s home.
           380. Around July 2014, Shepos and Lantz vacationed at the Ritz-Carlton in
     Saint Thomas. In July 2015, Lantz gave Shepos Dodgers tickets. Shepos and Lantz
     also traveled together to Nashville in April 2016 and Los Cabos, Mexico in May
     2017. And between 2018 and 2019, Shepos and Lantz took many other trips
     throughout the United States and internationally, including to Hawaii, New York,
     Italy, and Berlin.
           381. Shepos leveraged his close ties to Visco—a prominent, wealthy
     developer—to offer favors to other businesspersons in the Lancaster area. For
     example, on October 13, 2008, the owner of Antelope Valley Equipment & Truck
     Parts, emailed Shepos complaining about the company’s problems obtaining
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     approvals from the City of Lancaster relating to its property. The owner asked if
     Shepos could help by getting Visco to talk to Rex Parris, the Mayor of Lancaster, on
     behalf of the Company. Shepos replied: “will contact visco tomorrow.”
           382. In exchange for Visco’s cash payments and gifts, Shepos ensured that
     the Visco Defendants received lucrative County contracts. From 2004 through 2016,
     Shepos authored at least ten letters to the County Board of Supervisors, plus related
     correspondence, recommending Visco for various projects. All told, Shepos authored
     and signed more than 100 memoranda approving and requesting payments to Visco
     totaling over $5 million.
                  2.    The Visco Defendants’ Tainted County Contracts.
           383. During the period when Visco was bribing Shepos, the County entered
     into and renewed several lease agreements involving Visco in order to house certain
     County departments and programs. The County paid for these leases using money
     originating from a mixture of federal, State, and County grant funds.
                       i.        335 & 349 East Avenue K-6.
           384. Since 1987, the County has leased property from Visco, in his personal
     capacity, located at 335 and 349 East Avenue K-6 in Lancaster, California (Lease
     No. 58046). The County used this property to house departments that provide critical
     services to its citizens, including: the Department of Public Social Services, the
     Department of Public Works, the Department of Children and Family Services, the
     Department of Mental Health, and the Antelope Valley Health Center (which
     operates under the Department of Health Services).
           385. In November 1987, the County entered into a Donation Agreement
     whereby Visco would donate the property under Lease No. 58046 to the County 25
     years after the lease commenced, in exchange for a plaque commemorating Visco
     (Donation Agreement No. 58048).
           386. After Shepos and Visco developed an improper relationship, Shepos
     became involved in this lease. Shepos negotiated and oversaw the making of
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     amendments to the lease and Donation Agreement. On or about October 19, 2004,
     the County and Visco entered into Amendment No. 2 to Lease No. 58046.
     Amendment No. 2 to the lease shortened the lease period by several months and
     authorized tenant improvements for DPSS up to $1,530,000, payable by the County
     to Visco as additional rent. Shepos was the County’s work letter representative in
     connection with these tenant improvements.
           387. Shepos authored the Board letter recommending Amendment No. 2 to
     the lease. The Board letter stated, “IT IS RECOMMENDED THAT YOUR
     BOARD: “Approve and instruct the Chairman to sign the Amendment No. 2 with
     Frank A. Visco (Lessor) to shorten the term of Lease No. 58046 and Donation
     Agreement No. 58048,” and “Authorize the CAO and DPSS to reimburse the Lessor
     for Tenant Improvements (TI) in an amount not to exceed $1,530,000.”
           388. On or about October 19, 2004, the County and Visco also entered into
     Amendment No. 1 to the Donation Agreement No. 58048, which moved up the date
     by which Visco would transfer the property to the County to align with the lease
     termination date.
           389. Amendment No. 2 to Lease 58046 and Amendment No. 1 to Donation
     Agreement No. 58048 were signed by Visco during the period where Shepos and
     Visco were participating in the bribery scheme, as alleged in detail above.
           390. The County paid monthly rent to Visco on this lease—in part with
     federal funds—from November 3, 1987 to December 16, 2013, when ownership
     transferred to the County. All of the County’s payments to Visco from October 2004
     to December 2013 were tainted by Shepos’s and Visco’s bribery scheme.
           391. Through Lease No. 58046 and its amendments and renewals, Visco
     made the false representation that he had not and would not engage in bribery, and in
     turn, obtained lucrative government contracts based on those misrepresentations.
           392. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the Visco Defendants would comply with
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     California law, which forbids County employees from receiving bribes or having a
     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Visco Defendants knowingly included a false implied certification
     that the Visco Defendants had complied with these legal requirements.
           393. Had the County known Visco was paying bribes to Shepos in exchange
     for Shepos’s help in negotiating and securing these amendments and other
     preferential treatment of the Visco Defendants, the County would not have entered
     into Amendment No. 2 to Lease 58046 or Amendment No. 1 to the Donation
     Agreement No. 58048, and it would not have made rent payments thereunder.
                      ii.      251 East Avenue K-6.
           394. On or about September 10, 1991, the County and Visco, in his personal
     capacity, entered into a lease for 251 East Avenue K-6 in Lancaster, California (Lease
     No. 65436). The County used the space to house the Office of the Assessor and the
     Department of Mental Health.
           395. On or about April 8, 2008, the County and Visco entered into
     Amendment No. 1 to this lease authorizing payments to Visco of up to $250,000 in
     tenant improvements and basic structural maintenance for the property. Shepos
     controlled this project and participated in the negotiation and making of this
     amendment. He also prepared a recommendation that the Board authorize and
     approve the amendment.
           396. Specifically, Shepos’s Board letter recommended the authorization of
     “$250,000,000 in expenditures” used for TI. Shepos recommended that the Board
     “[f]ind that this Lease Amendment No. 1 is exempt from the provisions of California
     Environmental Quality Act (CEQA), and “[a]pprove and instruct the Chair to sign
     the attached Amendment No. 1 with Frank A. Visco (Lessor).”
           397. Approximately seven months after the County and Visco entered into
     Amendment No. 1, and in exchange for Shepos’s assistance therewith, Visco paid
     Shepos $27,500 in cash.
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           398. The County paid Visco monthly rent under this lease using a mixture of
     County, State, and federal funds until the lease expired in February 2017. The
     County’s payments to Visco from April 2008 to February 2017 were tainted by the
     bribery scheme.
           399. Through Lease No. 65436 and its amendment, Visco made the false
     representation that they had not and would not engage in bribery, and in turn,
     obtained lucrative government contracts based on those misrepresentations.
           400. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the Visco Defendants would comply with
     California law, which forbids County employees from receiving bribes or having a
     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Visco Defendants knowingly included a false implied certification
     that the Visco Defendants had complied with these legal requirements.
           401. Had the County known that Visco was paying bribes to Shepos in
     exchange for Shepos’s help in negotiating and securing the amendment, Shepos’s
     recommendation for Board approval and other preferential treatment of the Visco
     Defendants, the County would not have entered into Amendment No. 1, nor would it
     have made payments thereunder.
                       iii.   335-337 East Avenue K-10.
           402. On or about May 30, 2006, the County and Visco, in his personal
     capacity, entered into a lease agreement for 335-337 East Avenue K-10 in Lancaster,
     California (Lease No. 75678). The County used this space to house the Department
     of Public Social Services, the Department of Agricultural Commissioner/Weights
     and Measures, the Department of Military and Veterans Affairs, and the Housing
     Authority.
           403. Under this lease, the County agreed to pay Visco monthly rent of
     $43,859.60—totaling approximately $8 million over the fifteen-year term. At all
     times, the County made monthly payments as they were due under the lease, using a
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     mixture of County, State, and federal funds.
           404. Section 31(b) of the lease contains an express acknowledgement by
     Visco that County employees are forbidden from soliciting consideration “in any
     form” from landlords and that landlords “shall not offer or give [] consideration in
     any form to a County officer, employee or agent for the purpose of securing favorable
     treatment with respect to the award of the Lease.” Visco signed this during the period
     when he was paying Shepos bribes, as alleged in detail above.
           405. Shepos was instrumental in negotiating and securing approval of this
     lease. Among other things, he: recommended that the Board approve the lease,
     prepared an Initial Study and Negative Declaration pursuant to CEQA determining
     that the project would not significantly affect the environment, and represented the
     County as the counterparty to Visco in connection with $1.5 million in County-
     funded improvements on the property.
           406. Specifically, Shepos authored a Board letter recommending that the
     Board “[a]pprove and instruct the Mayor to sign the attached 15-year lease with
     Frank. A Visco, Landlord” and authorize the Chief Administrative Office “to
     reimburse the landlord and acquire substitute financing for furniture systems for
     DPSS at a cost not to exceed $600,000.”
           407. On or about December 8, 2009, approximately one month after Visco
     paid Shepos $18,500 in cash in exchange for Shepos’s assistance, the County and
     Visco entered into Amendment No. 1 to the lease. This amendment expanded the
     space occupied by the County by 3,126 square feet and increased the County’s rent
     payments by over $1 million.
           408. Shepos was heavily involved in negotiating and securing Amendment
     No. 1. For example, he recommended that the Board “find that the project will not
     have a significant effect on the environment” and “[a]pprove and instruct the Chair
     to sign Amendment No. 1 to Lease No. 75678 with Frank A. Visco (Landlord) for
     the occupancy of 3,126 rentable square feet of office space.”
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           409. From January 1, 2007 to May 29, 2021, the County made monthly rental
     payments pursuant to this lease, using a mixture of County, State, and federal funds.
           410. Through Lease No. 75678 and its amendment, Visco made the false
     representation that they had not and would not engage in bribery, and in turn,
     obtained lucrative government contracts based on those misrepresentations.
           411. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the Visco Defendants would comply with
     California law, which forbids County employees from receiving bribes or having a
     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Visco Defendants knowingly included a false implied certification
     that the Visco Defendants had complied with these legal requirements.
           412. Had the County known that Visco was paying bribes to Shepos in
     exchange for Shepos’s help in negotiating and securing the lease and amendment,
     Shepos’s recommendations for Board approval, and other preferential treatment of
     the Visco Defendants, the County would never have entered the lease or Amendment
     No. 1, nor would it have made payments thereunder.
                      iv.      The Castaic Library.
           413. In or around January 2008, the County entered into a lease agreement
     for 27971 Sloan Canyon Road in Castaic, California with a series of entities as to
     whom the successor-in-interest is nonparty Castaic FCG (Lease No. 76453). This
     property houses the Castaic Library (a branch of the Los Angeles County Library),
     which provides library services to over 3.4 million County residents in a service area
     extending over 3,000 square miles.
           414. Section 31(b) of the lease contains an express acknowledgment that
     County employees are forbidden from soliciting consideration “in any form” from
     landlords and that landlords “shall not offer or give [] consideration in any form to a
     County officer, employee or agent for the purpose of securing favorable treatment
     with respect to the award of the Lease.”
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           415. The County’s lease with Castaic FCG was later amended to provide for
     tenant improvements, payable by the County to Castaic FCG, in an amount of up to
     $1,968,120. The contract authorized an administrative fee of 3% on the tenant
     improvements.
           416. In or around January 2013, Castaic FCG transferred its right to perform
     these tenant improvements, and its concomitant right to payment, to Visco Financial,
     whose CEO was Visco. This assignment required approval by the County and was
     orchestrated by Shepos. Shepos recommended to the Board that Visco Financial be
     awarded the contract for the tenant improvements. In doing so, Shepos circumvented
     a competitive bidding process. Visco Financial was not a licensed contractor and
     subsequently subcontracted the work to Sawyer Construction & Associates. At the
     time Shepos made this recommendation to the Board, he was taking bribes from
     Visco and had been doing so for years.
           417. Shepos was also responsible for approving requests for payment for
     tenant improvements under the contract with Visco Financial. In December 2014,
     Shepos authored at least ten memoranda to the County’s Section Head for
     Rent/Budget Administration, directing the County to “make a lump sum payment” to
     Visco personally for tenant improvements. The amounts Shepos approved repeatedly
     exceeded what was permitted under the contract or what had been authorized by the
     Board. For example, although the contract only permitted tenant improvements of up
     to $1,968,120, Shepos arranged for payments to Visco Financial totaling
     $2,542,449—an excess of over $570,000. Further, although the contract only
     permitted payment for telephone, data, and low-voltage system implementation of up
     to $200,000, Shepos arranged for payments to Visco Financial totaling $448,056—
     more than double what the contract allowed. And although the contract only
     permitted a 3% administrative fee for tenant improvements, Visco Financial
     submitted 12% in fees (over $300,000) for approval. Shepos approved the 12% fee
     when he had no authority to do so. Shepos also approved fees based on services that
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     did not qualify for payment under the contract.
           418. The County paid these fees directly to Visco personally—in part with
     federal funds—sending the payments to his P.O. box in Lancaster.
           419. At the time Visco’s fees were approved by the County, Shepos was
     taking bribes from Visco and had been doing so for years.
           420. Had the County known that Visco was paying bribes to Shepos in
     exchange for Shepos’s help in negotiating and securing the assignment, Shepos’s
     recommendation for Board approval, Shepos’s approval of inflated invoices, and
     other preferential treatment of the Visco Defendants, the County would not have
     approved Visco Financial for the improvement project or made any payments to
     Visco Financial in connection with the assignment.
           421. Each invoice submitted pursuant to County leases or other agreements
     impliedly certified that the Visco Defendants would comply with California law,
     which forbids County employees from receiving bribes or having a financial interest
     in any such contract. See Cal. Gov. Code § 1090. Every invoice submitted by the
     Visco Defendants knowingly included a false implied certification that the Visco
     Defendants had complied with these legal requirements.
                      v.       43423 Division Street.
           422. On or about May 21, 2013, the County entered into a lease agreement
     with Fraber II, a company managed by Visco, for 43423 Division Street in Lancaster,
     California (Lease No. 77946) to house the County’s Probation Department.
           423. The lease has a base monthly rent of $24,150, totaling approximately
     $2.3 million in rent payments to Fraber II over an eight-year term.
           424. Shepos took out numerous life insurance policiesThe lease was in effect
     from May 21, 2013 until May 20, 2021. The County paid Fraber II monthly rent
     through May 20, 2021, using a mixture of County, State, and federal funds.
           425. Section 31(b) of the lease prohibits County employees from soliciting
     consideration “in any form” from landlords and states that landlords “shall not offer
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     or give [] consideration in any form to a County officer, employee or agent for the
     purpose of securing favorable treatment with respect to the award of the Lease.”
           e.426. Visco’s insurance company,Shepos was instrumental in the making of
     this contract and provided Visco Financial Insurance Serviceswith non-public
     County information in order to make it happen. Specifically, he told Visco the County
     needed a space for its Probation Department in Lancaster and asked if Visco knew
     anyone who might be willing to do a deal and work with the City of Lancaster. A few
     weeks later, Visco and Shepos made an arrangement for the County to lease Visco’s
     property. Shepos was the County’s agent with respect to the lease transaction.
                        In January 2010, Ms. Gluck celebrated Shepos’s 60th birthday at
                        a high-end spa resort, which resulted in a substantial invoice.
                        Several years later Ms. Gluck discovered the invoice for the
                        weekend at the spa resort, which revealed a room for Frank Visco
                        and a $5,000 gift certificate provided—on information and
                        belief—by Visco covering the charges on the bill.
                        Contracts indicating that Shepos purchased land on behalf of the
                        County directly from Visco. According to the contract, the land
                        was purchased to ensure a certain portion of the county remained
                        in a natural state.
           427. On information and beliefShepos also authored a Board letter
     recommending approval of the lease with Visco. Specifically, the Board letter
     recommended that the Board “find that the project will not have a significant effect
     on the environment,” and “[a]pprove and instruct the chairman to sign the eight-year
     lease with Fraber II, LLC…for the occupancy of 13,800 rentable square feet of office
     space and 52 parking spaces.” Shepos also authored the Negative Declaration to the
     Board determining that “the project will not have a significant effect on the
     environment.” Shepos recommended the Board approve the lease because he had
     received and was continuing to receive cash and other benefits from Visco.
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           428. Additionally, Shepos served as the County’s representative for the Work
     Letter supplementing the lease that approved tenant improvements in the amount of
     $1,035,000 payable to Fraber II, LLC.
           429. In Lease No. 77946, Visco and Fraber II made the false representation
     that they (and the other Visco Defendants) had not and would not engage in bribery,
     and in turn, obtained lucrative government contracts based on those
     misrepresentations.
           430. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the Visco Defendants would comply with
     California law, which forbids County employees from receiving bribes or having a
     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Visco Defendants knowingly included a false implied certification
     that the Visco Defendants had complied with these legal requirements.
           431. Had the County known that Visco was paying bribes to Shepos in
     exchange for Shepos’s help in negotiating and securing the lease, Shepos’s
     recommendation for Board approval and other preferential treatment of the Visco
     Defendants, the County would not have entered the lease and the tenant improvement
     work contract, nor would it have made payments thereunder.
                  3.    Visco and Shepos Concealed Their Scheme.
           432. Shepos and Visco mutually agreed to take steps (and did take steps) to
     conceal the bribery scheme. They met in person to discuss their scheme, rather than
     putting anything in writing. Shepos hid Visco’s cash bribes from Ms. Gluck. Shepos
     did not report the cash or gifts he received from Visco on his Form 700s, or through
     any other means that could have provided the County with visibility into the scheme.
           433. In their leases with the County, as outlined above, the Visco Defendants
     also represented and affirmed their understanding that County employees like Shepos
     are prohibited from having any financial interest in County leases, and that landlords
     are prohibited from giving County employees like Shepos any consideration in
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     exchange for favorable treatment. The County relied on these representations and
     confirmations from the Visco Defendants.
                  4.      The Visco Defendants’ Agency and Alter-Ego Relationships.
           193.434.       Based on Visco’s ownership and respective management roles
     within each of the other Visco Defendants, and the actions those entities took at
     Visco’s direction, all detailed above, Visco owns, controls, and/or directs the actions
     of the other Visco Defendants who, in doing the acts alleged herein, acted at their
     direction and/or with their permission, knowledge, consent or ratification.
           194.435.       In the alternative, on information and belief, —based on Visco’s
     ownership and respective management roles within each of the other Visco
     Defendants, and the actions those entities took at Visco’s direction, all detailed
     above—Visco was the alter ego of the other Visco Defendants; Visco dominated and
     controlled the other Visco Defendants; a unity of interest and ownership existed
     between Visco and the other Visco Defendants; the other Visco Defendants were
     mere shells and conduits for Visco’s affairs; the other Visco Defendants were
     inadequately capitalized; Visco and the other Visco Defendants failed to abide by the
     formalities of corporate existence; and Visco used the other Visco Defendants’ assets
     as their own and, in doing the things alleged herein, acted with such a unity of interest
     that the separate personalities of these corporate entities do not in reality exist and
     honoring their separate identities would bring about an inequitable result. The Visco
     Defendants did not respect corporate formalities because they used their companies
     as mere shells to carry out their bribery scheme. As one example, Visco provided
     Shepos with various trips and gifts, including a $5,000 gift certificate, which (on
     information and belief) were intended to induce Shepos to provide illicit benefits to
     the any of the Visco Defendants or other entities associated with Visco, such as
     lucrative   County     leases   and   Shepos’s     approvingapproval     of   fraudulent
     reimbursement requests for invoices fromunder Visco’s construction company but
     which were made payable directly to ViscoCounty contracts.
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                  The County entered into several lease agreements involving Visco in
     order to house certain County departments and programs. While these leases were
     paid for by the County, on information and belief, the money the County used
     originated from a mixture of County, federal, and/or state grant funds.
           196.1.For example, on or about May 21, 2013, the County entered into a lease
     agreement with Fraber II (which, on information and belief, is Fraber Properties II,
     LLC), a company managed by Visco, for 43423 Division Street in Lancaster,
     California (Lease No. 77946) to house the County’s Probation Department.
           197.1.The lease has a base monthly rent of $24,150, totaling approximately
     $2.3 million in rent payments to Fraber II over an eight-year term.
           198.1.Section 31(b) of the lease prohibits County employees from soliciting
     consideration “in any form” from landlords and states that landlords “shall not offer
     or give [] consideration in any form to a County officer, employee or agent for the
     purpose of securing favorable treatment with respect to the award of the Lease.”
                        David Schaeffer
                  David Schaeffer, a property developer, participated in the bribery
     scheme by compensating other Defendants who in turn provided government
     officials with bribes to award no-bid contracts to Schaeffer.
                  The evidence against Schaeffer’s efforts to secure above-market leases
     through bribery includes:
                        Schaeffer entered into a lease agreement with the County through
                        his entity FCG Properties. Despite his company having no known
                        legal connection with Frank Visco, Schaeffer’s entity submitted
                        improvement reimbursement forms with invoices from Visco’s
                        construction company. Shepos approved the reimbursement
                        requests and made the reimbursements payable to Frank Visco
                        directly—made to his P.O. box—rather than to Schaeffer or FCG


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                         Properties. Schaeffer repeated a similar scheme through another
                         one of his entities: Castaic FCG Properties, LLC
                         On information and belief, Shepos went to Texas to meet with
                         Schaeffer or his associates. Shepos called Ms. Gluck’s daughter
                         while he was on one such trip and the number from which he
                         called appeared to be from a bank in the town where FCG’s
                         address is located.
                  On information and belief, Schaeffer owns, controls, and/or directs the
     actions of the other Schaeffer Defendants who, in doing the acts alleged herein, acted
     at their direction and/or with their permission, knowledge, consent or ratification.
                  In the alternative, on information and belief, Schaeffer is an alter ego of
     the other Schaeffer Defendants; Schaeffer dominated and controlled the other
     Schaeffer Defendants; a unity of interest and ownership existed between Schaeffer
     and the other Schaeffer Defendants; the other Schaeffer Defendants were mere shells
     and conduits for the affairs of Schaeffer; the other Schaeffer Defendants were
     inadequately capitalized; Schaeffer and the other Schaeffer Defendants failed to
     abide by the formalities of corporate existence; and Schaeffer used the other
     Schaeffer Defendants’ assets as their own and, in doing the things alleged herein,
     acted with such a unity of interest that the separate personalities of these corporate
     entities do not in reality exist and honoring their separate identities would bring about
     an inequitable result. The Schaeffer Defendants did not respect corporate formalities
     because they used their companies as mere shells to carry out their bribery scheme.
     As one example, FCG Properties submitted reimbursement requests, which Shepos
     approved, that were made payable directly to Frank Visco, despite Visco having no
     legal or corporate relationship to Schaeffer or FCG Properties.
                  For example, on or around January 2008, the County entered into a lease
     agreement with a series of entities succeeded-in-interest by Castaic FCG (Lease No.
     76453) for 27971 Sloan Canyon Road in Castaic, California. This property houses
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     the Castaic Library, a branch of the LA County Library. Visco and Shepos conspired
     to obtain the County’s approval for Castaic FCG’s bid.
                  The lease expressly states that County employees are forbidden from
     soliciting consideration “in any form” from landlords and that landlords “shall not
     offer or give [] consideration in any form to a County officer, employee or agent for
     the purpose of securing favorable treatment with respect to the award of the Lease.”
                  The lease was amended to provide for improvements paid for by the
     County to Castaic FCG in an amount of up to $1,968,120 and authorized an
     administrative fee of 3% on the improvements. On or around January 2013, Castaic
     FCG transferred its right to perform these improvements and its right to payment to
     Visco Financial. This assignment required approval by the County, which Shepos
     secured.
                  Schaeffer conspired with Visco to transfer the contract to Visco.
                  Shepos was responsible for approving requests for payment for
     improvements under the contract and repeatedly approved amounts that exceeded the
     limits stated in the contract or approved by the Board. Shepos also authored a letter
     to the Board on October 2013, recommending that the County acquire the Castaic
     Library, which the County purchased for $2.4 million.
                  In total, Shepos authored and signed more than 100 memoranda
     approving and requesting payments to the Visco Defendants of more than $5 million
     in association with the Castaic Library lease. And in return, Shepos received unlawful
     bribes and kickbacks.
                        Alex and Isaac Moradi
                  Founded in 1966, Alex and Isaac Moradi’s ICO Group owns over
     3,000,000 square feet of commercial real estate. The Moradis are also relatives of
     Arman and Mark Gabaee, owners of the Charles Company. Alex and Isaac Moradi
     have done millions of dollars in lease transactions with the County. The evidence of
     the Moradis’ involvement in the bribery scheme includes:
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                        Alex Moradi emailed Shepos’s family email address, “WE can
                        pick up bldg. for good price” and asked whether Shepos would be
                        able to line up a County need before Moradi would decide to
                        move forward with the purchase.
                        Alex Moradi emailed Shepos’s family email address, “Does
                        County have need for space in Santa Clarita? Great opportunity
                        there!” Shepos responded, “Yes contact me.”
                        A May 2008 email from Alex Moradi’s executive assistant at ICO
                        Development, Inc. to Shepos’s personal email address regarding
                        “HOB Membership,” stating, “So I heard the good news, Arman
                        did join the membership after all,” and asking, “am I right to
                        assume we will now work on a credit for Alex like you had
                        mentioned?” On information and belief, this was regarding the
                        HOB membership which the Moradis and the Gabaees paid for.
                        Alex and Isaac Moradi sent an ornate gold vase to Shepos as a
                        holiday gift.
                 As the above shows, the Moradis and the Gabaees were conspiring with
     each other to bribe Shepos through the House of Blues Membership. On information
     and belief, the Moradis and the Gabaees, who are related, along with the Gabaee and
     Moradi Defendants, were conspiring with each other to bribe Shepos and any bribes
     any of them provided Shepos were meant to benefit one another. Thus, on
     information and belief, bribes that Gabaee provided Shepos were meant to and did
     secure illicit benefits from Shepos flowing to both the Gabaee Defendants and the
     Moradi Defendants.
                 On information and belief, the Moradis own, control, and/or direct the
     actions of the other Moradi Defendants who, in doing the acts alleged herein, acted
     at their direction and/or with their permission, knowledge, consent or ratification.


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     Further, the Moradis worked directly with the Gabaees to enrich Shepos and advance
     their scheme.
                  In the alternative, on information and belief, the Moradis were alter egos
     of the other Moradi Defendants; the Moradi dominated and controlled the other
     Moradi Defendants; a unity of interest and ownership existed between the Moradis
     and the other Moradi Defendants; the other Moradi Defendants were mere shells and
     conduits for the Moradis’ affairs; the other Moradi Defendants were inadequately
     capitalized; the Moradis and the other Moradi Defendants failed to abide by the
     formalities of corporate existence; and the Moradis used the other Moradi
     Defendants’ assets as their own and, in doing the things alleged herein, acted with
     such a unity of interest that the separate personalities of these corporate entities do
     not in reality exist and honoring their separate identities would bring about an
     inequitable result. The Moradi Defendants did not respect corporate formalities
     because they used their companies as mere shells to carry out their bribery scheme.
     As one example, Moradi Defendants bribed Shepos through the House of Blues
     Membership, which (on information and belief) were intended to induce Shepos to
     provide illicit benefits to the any of the Moradi Defendants or other entities associated
     with the Moradis.
                  The County entered into several lease agreements with the Moradis to
     house certain County departments and programs. While these leases were paid for by
     the County, the money the County used originated from a mixture of County, federal,
     and/or state grant funds.
           214.1.For example, on or about August 19, 1997, the County and Isaac Moradi
     entered into a lease agreement for 2415 West 6th Street in Los Angeles, California
     (Lease No. 70957). The County used this space to house the Department of Public
     Social Services.
                  Under the lease agreement, the County agreed to pay a monthly rent of

     $39,293.80—totaling over $4.7 million over the ten-year term. This term was
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     extended to 2008, with the County paying Isaac Moradi an additional $3.3 million in
     rent.
                  On or about July 15, 2014, the County and Isaac Moradi entered into
     Amendment No. 2 to the lease agreement. The amendment extended the term of the
     lease for five years and set monthly rent at $78,587.60, with bi-yearly increases to
     rent over ten years—totaling payments to Isaac Moradi of approximately $4.7
     million.
                  The County made payments to Isaac Moradi under Lease No. 70957
     using a mix of Federal, State, and County funds.
             F.D. The Neman Brothers .
             218.436.   The Neman brothers—Leon, Yoel, and John—own Neman
     Brothers & Associates Inc., a wholesale fabric business operating out of New York
     and Los Angeles. The brothersNemans also own commercial real estate through
     holding companies such as Vertigo Real Estate Holdings LP and Legend Real Estate
     Management, Inc. The evidence of the Nemans’ involvement in the bribery scheme
     includes:
                        The Neman brothers did multiple transactions with Los Angeles
                        County.
             437. Shepos The Nemans understood that Shepos was a high-ranking County
     employee with authority to bind the County to significant contracts and influence the
     County’s real estate decisions. For years, the Neman Defendants paid Shepos in cash
     and checks—both directly to Shepos and to his side business CT Management—in
     exchange for nonpublic County information and Shepos’s help securing a lucrative
     County lease in Palmdale, California.
             438. In 1998, for example, Neman Brothers paid Shepos $4,058. In 1999,
     Neman Brothers paid Shepos $4,531.93. In 2001, Neman Brothers paid Shepos
     $2,945. In 2006, Vertigo paid Shepos $5,000 through CT Management. And in 2010,
     Vertigo again paid Shepos $5,000 through CT Management. These payments from
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     the Neman Defendants—all at the Nemans’ direction—are memorialized in
     contemporaneous Form 1099s issued to Shepos.
              b.439. On June 1, 2010, Shepos (using his personal email address) emailed
     Leon Neman with bribe instructions by noting, “instructing him to “make any
     commissions payable to CT Management as has been done in the past.”
              440. On or around September 1, 2010, Shepos deposited a check for $5,000
     from Legend—signed by Leon Neman—and made payable to CT Management, into
     his bank account.
              441. In total, the Nemans, through their entities, have paid Shepos at least
     $26,545 during Shepos’s tenure as a County employee—and without any legitimate
     business purpose. Those payments were bribes, which the Nemans intended to
     influence Shepos to provide nonpublic information about the County’s leasing needs
     and help them secure a lucrative County lease benefitting the Nemans.
              442. On or about October 20, 1999, the County and the Neman brothers, in
     their personal capacities, entered into a lease agreement for 1529 East Palmdale
     Boulevard in Palmdale, California (Lease No. 72555). The County used this space to
     house the Department of Mental Health and the Sheriff’s Department.
              443. Under this lease, the County agreed to pay a monthly rent of $11,848.75
     for a period of ten years—totaling payments of approximately $1.4 million.Multiple
     Form 1099s documenting The lease had two five-year renewal options. Throughout
     the term of the lease—including its subsequent renewals—the County made monthly
     rent payments as they became due, using a mixture of County, State, and federal
     funds.
              444. Shepos was the real property agent associated with the lease. Indeed,
     Shepos was instrumental in negotiating and securing approval of the lease. When the
     County needed a site to house the Department of Mental Health, Shepos steered the
     business to the Nemans, who had been unsuccessful in renting out their Palmdale
     space. Shepos also authored the Board letter recommending approval of the lease.
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     Specifically, the Board letter recommended that the Board “[a]pprove and instruct
     the Chairman to sign the attached ten year lease with John Neman, Yoel Neman and
     Leon Neman (Lessors), for 7,656 rentable square feet of office space,” and “find that
     the project will not have a significant effect on the environment.”
           445. In June 2010, the County renewed the lease for a five-year term. Shepos
     authored the Board letter recommending that the Board “[e]xercise the option to
     renew the lease for a five-year term with John Neman, Leon Neman, and Yoel Neman
     (Lessors) for 9,479 rentable square feet of office space and 28 parking spaces.”
           446. After the initial 10-year term and the first five-year renewal, the County
     exercised its second option to renew the lease for another five years, under the same
     terms and conditions, with the rent adjusted for inflation per the U.S. Bureau of Labor
     Statistics’ Consumer Price Index (“CPI”).
           447. When the second renewal term lapsed, the County continued to occupy
     the premises until September 30, 2023 as a holdover tenant. During this period, the
     County made monthly rental payments as they were due, using a mixture of County,
     State, and federal funds.
           448. In exchange for Shepos’s assistance in securing the Neman Lease, the
     Nemans bribed Shepos and gave him kickbacks in the form of cash payments
     between 1998 and 2010. As set forth above, the Neman Defendants were paying
     Shepos thousands of dollars both during the time when they negotiated the lease with
     the County and for years thereafter.
           449. Section 31(b) of the lease prohibits County employees from soliciting
     consideration “in any form” from landlords and states that landlords “shall not offer
     or give, either [] directly or through an intermediary, consideration, in any form, to a
     County officer, employee or agent for the purpose of securing favorable treatment
     with respect to the award of the lease.”
           450. from variousIn their County lease and renewals, the Nemans made the
     false representation that they (and the other Neman Defendants) had not and would
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     not engage in bribery, and in turn, obtained lucrative government contracts based on
     those misrepresentations.
           451. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the Neman Defendants would comply with
     California law, which forbids County employees from receiving bribes or having a
     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Neman Defendants knowingly included a false implied certification
     that the Neman Defendants had complied with these legal requirements.
           452. Had the County known the Neman Defendants were bribing Shepos and
     paying him kickbacks in exchange for Shepos’s help in negotiating and securing the
     lease, Shepos’s recommendations for Board approval, and other preferential
     treatment of the Neman Defendants, the County would never have entered the Neman
     Lease, nor would it have made payments thereunder.
           c.453. Shepos and the Nemans mutually agreed, and took steps, to conceal their
     bribery scheme. Rather than paying Shepos directly, the Nemans indirectly bribed
     Shepos through their entities, Neman Brothers entities—including the wholesale
     fabric company—to , Vertigo, and Legend. Shepos disguised many of these bribe
     payments by receiving them through his side business, CT Management. Shepos
     never disclosed the payments he received from the Neman’ entities to the County.
           454. On information and belief, the Neman brothersIn their lease with the
     County, the Nemans represented and affirmed their understanding that County
     employees like Shepos were prohibited from having any financial interest in County
     contracts and that landlords (including the Nemans) are prohibited from giving
     County employees any consideration in exchange for favorable treatment. The
     County relied on those representations by the Nemans in paying rent under their
     leases.
           219.455.     Based on the Nemans’ ownership and respective management
     roles within each of the other Neman Defendants, and the actions those entities took
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     at the Nemans’ direction, all detailed above, Leon, Yoel, and John Neman own,
     control, and/or directdirects the actions of the other Neman DefendantsBrothers,
     Vertigo, and Legend, who, in doing the acts alleged herein, acted at their direction
     and/or with their permission, knowledge, consent or ratification.
           220.456.      In the alternative, on information and belief, In the alternative—
     based on the Nemans’ ownership and respective management roles within each of
     the other Neman Defendants, and the actions those companies took at Leon, John,
     and Yoel Nemans’ direction, detailed above—the Neman brothers were alter egos of
     the other Neman Defendants; the Neman brothers dominated and controlled the other
     Neman Defendants; a unity of interest and ownership existed between the Neman
     and the other Neman Defendants; the other Neman Defendants were mere shells and
     conduits for the Neman brothers’ affairs; the other Neman Defendants were
     inadequately capitalized; the Neman and the other Neman Defendants failed to abide
     by the formalities of corporate existence; and the Neman brothers used the other
     Neman Defendants’ assets as their own and, in doing the things alleged herein, acted
     with such a unity of interest that the separate personalities of these corporate entities
     do not in reality exist and honoring their separate identities would bring about an
     inequitable result. The Neman Defendants did not respect corporate formalities
     because they used their companies as mere shells to carry out their bribery scheme.
     As one example, the Neman DefendantsBrothers, Legend, and Vertigo paid bribes to
     Shepos and CT Management, which (on information and belief) were intended to
     induce Shepos to provide illicit benefits tothe Neman Defendants with nonpublic
     information and secure a lucrative County lease for the any of the Neman Defendants
     or other entities associated with the Neman brothersNemans.
                  The County entered into several lease agreements with the Neman
     Defendants to house certain County departments and programs. While these leases
     were paid for by the County, the money the County used originated from a mixture
     of County, federal, and/or state grant funds.
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                   For example, on or about October 20, 1999, the County and the Neman brothers,
     in their personal capacities, entered into a lease agreement for 1529 East Palmdale Boulevard in

     Palmdale, California (Lease No. 72555). The County used this space to house the Department of

     Mental Health.

                   Under this lease, the County agreed to pay a monthly rent of $11,848.75 for a period

     of ten years—totaling payments of approximately $1.4 million.

                   The County made payments to the Neman brothers under Lease No.
     72555 using a mixture of Federal, State, and County funds.
            225.1.Section 31(b) of the lease prohibits County employees from soliciting
     consideration “in any form” from landlords and states that landlords “shall not offer
     or give, either [] directly or through an intermediary, consideration, in any form, to a
     County officer, employee or agent for the purpose of securing favorable treatment
     with respect to the award of the lease.”
            G.E. Gregory Hanes .
            226.457.      Gregory Hanes, a real estate developer in Lancaster, California,
     operates limited liability companies 300 K-6 and 43917 Division. as the managing
     member of both LLCs.
            458. Hanes worked with In or around 2010, after Shepos and, on had helped
     Visco obtain several lucrative County leases, Visco introduced Shepos to his
     longtime associate Hanes, also a wealthy developer in Lancaster.
            459. Shepos and Hanes became fast friends. According to the County’s
     subsequent investigation, stemming from information and belief, other Defendants
     to launder money for their bribery schemes in order to conceal them. The evidence
     ofthe County received from Ms. Gluck, Hanes considered Shepos “a good friend”
     with an “extraordinary personality.”
            460. Around 2013 or 2014, Hanes invited Shepos to vacation with him and
     his son on a cross-country road trip. Shepos accepted and flew to New Orleans, where
     Shepos stayed as a guest in Hanes’s involvementson’s hotel rooms in New Orleans,
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     then in Memphis, and then in theSt. Louis. During this vacation, Hanes paid for
     Shepos’s hotel room and meals.
                  1.    Hanes’s Storage and Laundering of Bribery Proceeds.
           461. Hanes funneled hundreds of thousands of dollars in bribery proceeds to
     Shepos—including bribes from several other Defendants—helping conceal those
     bribes by storing large sums of cash for Shepos. In exchange, Shepos helped Hanes
     obtain lucrative County leases and tenant-improvements projects.
           227.462.     Hanes understood that Shepos was a high-ranking County
     employee with authority to bind the County to significant contracts and influence the
     County’s real estate decisions. Thus, Hanes helped Shepos conceal bribery scheme
     includes:proceeds intending to corrupt Shepos’s influence over the County for
     Hanes’s own (and his entities’) benefit.
                        Hanes is referred to as “Individual A” in Shepos’s Plea
                        Agreement.
           b.463. Shepos provided Hanes hundreds of thousands of dollars representing
     proceeds from his bribery schemes to store in bank accounts under Hanes’s and his
     entities’ names.
           464. Hanes funneledis referred to as “Individual A” in Shepos’s guilty plea,
     which is attached as Exhibit A and incorporated by reference herein. In that plea
     agreement, Shepos admitted to giving Hanes cash to store for him on multiple
     occasions, including approximately $150,000 on one occasion, and on another
     occasion, between $25,000 and $40,000.
           465. On yet another occasion, according to the County’s subsequent
     investigation, stemming from information the County received from Ms. Gluck,
     Shepos gave Hanes $128,000 in cash to store in Hanes’s safe—telling Hanes it was
     a “real estate commission” that he needed to hide from his then-wife, Ms. Gluck. In
     Shepos’s plea agreement, he admitted that he had “arranged to receive improper
     kickbacks from real estate commissions on properties leased by the County.” Ex. A,
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     at 15. According to the County’s subsequent investigation, stemming from
     information the County received from Ms. Gluck, Hanes agreed to store cash from
     Shepos’s real estate commission kickbacks in his office safe in a bank bag with
     Shepos’s name and the amount of money listed on the outside.
           466. According to the County’s subsequent investigation, stemming from
     information the County received from Ms. Gluck, Hanes said he agreed to store cash
     that Shepos received as “real estate commissions” as a “favor.”
           467. Hanes also helped Shepos launder bribe proceeds by funneling bribes to
     Shepos from other developers and business owners, including through the $25,000
     contractors. For example, on multiple occasions after approximately August 2013, at
     Shepos’s direction, Hanes cashed $25,000 checks from an electrical contractor who
     was bribing Shepos in connection with County contracts. According to the County’s
     subsequent investigation, stemming from information the County received from Ms.
     Gluck, the electrical contractor wrote the checks to Hanes or his entities with falsified
     memo lines, and Hanes cashed those checks to store the cash proceeds in Shepos’s
     bank bag in Hanes’s safe.
           c.468. On another occasion, at Shepos’s direction, Hanes deposited a cashier’s
     check discovered by Gluckfrom the electrical contractor for Shepos into Hanes’s own
     bank account, and then used the funds to purchase a cashier’s check for Shepos.
     According to the County’s subsequent investigation, stemming from information the
     County received from Ms. Gluck, Hanes admitted that no one else had access to his
     US Bank account, and he signed the withdrawal slip for that cashier’s check. In
     Shepos’s plea agreement, he admitted to using the cashier’s check—which reflected
     bribe proceeds—to buy his daughter a car.
                  2.     In The Hanes Defendants’ Tainted County Contracts.
           469. During the period when Hanes was storing and laundering bribe
     proceeds for Shepos, the County entered into and renewed several lease agreements
     involving Hanes in order to house certain County departments and programs. The
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     County paid for these leases using money originating from a mixture of federal, State,
     and County grant funds.
           470. Shepos negotiated Hanes’s real estate contracts with the County on the
     County’s behalf, and Shepos recommended that the Board approve those contracts—
     all of which were signed while Shepos and the Hanes Defendants were engaged in
     the scheme described above. Shepos also acted as the County’s agent in overseeing
     and approving millions of dollars in renovations and tenant improvements on the
     properties Hanes leased to the County.
                       i.       300 East Avenue K-6.
           471. Through his company, 300 K-6, Hanes owned a building adjacent to
     Visco’s properties on East Avenue K-6 in Lancaster. Immediately after Visco
     introduced them, Shepos began negotiating directly with Hanes to lease the property
     for the Department of Children and Family Services (“DCFS”).
           472. In or around January 2010, Shepos prepared an Initial Study and
     Negative Declaration pursuant to CEQA determining that the lease project would not
     significantly affect the environment. The Initial Study, which was posted publicly on
     January 15, 2010, states that it was “prepared by Thomas Shepos of the Los Angeles
     County Chief Executive Office, Real Estate Division,” and “completed on January
     14, 2010.” The Negative Declaration, which was also completed on January 14, 2010,
     and posted publicly on January 15, 2010, lists Shepos as the Real Property Agent.
           473. Shepos then authored a Board letter, which was submitted to the Board
     on March 30, 2010, stating “IT IS RECOMMENDED THAT YOUR BOARD”
     take several specific actions, including: (i) find “that there is no substantial evidence
     that the project will have a significant effect on the environment”; (ii) “find that the
     Negative Declaration reflects the independent judgment and analysis of the Board
     and adopt the Negative Declaration”; (iii) “[a]pprove and instruct the Chair to sign
     the lease with Gregory Hanes (Landlord) for 11,000 rentable square feet of office
     space located at 300 East Avenue K-6, Lancaster, for [DCFS] at a maximum annual
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     first year rent of $592,680,” which included annual base rent of $262,680 and
     reimbursement of lump sum payments of $55,000 for tenant improvements and
     $270,000 for furniture expenses; and (iv) authorize the landlord, “at the discretion
     ofthe Chief Executive Officer, to acquire telephone, data and low voltage systems for
     [DCFS] at a cost not to exceed $300,000,” reimbursable by the County in addition to
     other tenant improvements.
           474. On or about March 30, 2010, the Board adopted Shepos’s
     recommendations, and the County entered into a lease agreement with Hanes, in his
     personal capacity, for 300 East Avenue K-6 in Lancaster, California (Lease No.
     77260), under which the County agreed to pay a base monthly rent of $21,890 for a
     period of five years—totaling payments of approximately $1.3 million. At all times,
     the County made monthly rent payments as they were due under the lease, in part
     with federal funds.
           475. As Shepos recommended, the lease also authorized reimbursement of
     up to $55,000 for tenant improvements, and up to $270,000 in furniture expenses.
     300. Shepos was the primary County employee who oversaw all of the tenant
     improvements, and he dealt directly with Hanes. According to the County’s
     subsequent investigation, stemming from information the County received from Ms.
     Gluck, Shepos and Hanes spoke daily, and every Wednesday, Shepos visited the
     property. Shepos often spent the entire day with Hanes, and Visco would meet with
     them for lunch prepared by Hanes’s chef.
           476. During the first year of the lease, the County reimbursed Hanes for
     tenant improvements and furniture expenses pursuant to the terms of the lease that
     Shepos negotiated on its behalf, in addition to hundreds of thousands of dollars in
     additional tenant improvements above those authorized by the lease. These additional
     tenant improvements were reimbursed at Shepos’s direction.
           477. On November 8, 2010, Shepos authored a memorandum directing the
     County’s Rent/Budget Administration Section to “reimburse landlord Gregory Hanes
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     in the amount of $52,946 for the over standard Tenant Improvements for 300 East
     Avenue K-6.”
           478. On June 21, 2011, Shepos authored a memorandum informing the
     County’s Rent/Budget Administration Section that additional “expenses ha[d] been
     reconciled and TI reimbursement payments shall commence.” It further directed that
     “[f]urniture expenses in the amount of $281,234.76 shall be reimbursed over 60
     months at an amortization rate of 8%, resulting in a monthly reimbursement payment
     of $5,702.43” and therefore “[t]he total monthly payment shall increase to
     $27,592.43 by combining the reimbursement payment of $5,702.43 with the monthly
     base rental payment of $21,890.00.” The memorandum further stated that “A LUMP
     SUM PAYMENT MAY BE REQUIRED FOR PAYMENTS IN ARREARS.”
           479. On June 21, 2011, Shepos authored a memorandum directing the
     County’s Rent/Budget Administration Section to “make a lump sum payment to pay
     off Tenant Improvements in the amount of $251,895.56.” The memorandum included
     a note stating “[h]old check for Thomas Shepos, Real Property Agent.”
           480. Shepos subsequently negotiated to amend the lease with Hanes, and he
     authored a letter recommending that the Board approve the amendment. Specifically,
     the letter, which was submitted to the Board on October 30, 2012, stated “IT IS
     RECOMMENDED THAT THE BOARD” take three specific actions, including: (i)
     “[a]pprove and instruct the Chairman to sign the lease amendment with Gregory
     Hanes (Landlord), for [DCFS] to add approximately 35,000 rentable square feet of
     space to the 11,000 rentable square feet square space of existing space located at 300
     East Avenue K-6, Lancaster, at an annual first year base rent of $1,076,400, plus first
     year payment of $1,400,000 reimbursement for additional tenant improvements,
     furniture, and change order allowances via lump sum, or amortized at 332,660
     annually over a five-year period”; (ii) “[f]ind that the lease amendment is
     categorically exempt from the provisions of the California Environmental Quality
     Act”; and (iii) authorize the landlord, “at the discretion of the Chief Executive
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     Officer, to acquire telephone systems for [DCFS] at a cost not to exceed $1,200,000,”
     reimbursable by the County in addition to other tenant improvements.
           481. On or about October 30, 2012, the Board adopted Shepos’s
     recommendations, and the County and Hanes entered into Amendment No. 1 to the
     lease. The amendment expanded the scope of the lease to a secondary premises of
     35,000 additional square feet and extended the lease term through October 14, 2020
     at a monthly rent of $89,700—totaling in excess of $8 million. The amendment also
     authorized reimbursement of $1.4 million in additional tenant improvements, as
     Shepos recommended.
           482. As with the initial lease, Shepos acted as the County’s agent in
     overseeing the tenant improvements on the additional space, and he authored
     numerous memoranda directing the County to make reimbursement payments to
     Hanes.
           483. On April 15, 2013, Shepos authored a memorandum that directed the
     County’s Rent/Budget Administration Section to “make a lump sum payment to pay
     off furniture in the amount of $1,095,140.45,” and again included a note stating
     “[h]old check for Thomas Shepos, Real Property Agent.”
           484. On May 9, 2013, Shepos authored three memoranda to the County’s
     Rent/Budget Administration Section:
                 a)     The first memorandum directed the County’s Rent/Budget
                        Administration Section to “make a lump sum payment to pay off
                        Tenant Improvements . . . in the amount of $307,213.34.” This
                        memorandum also included a note stating “[h]old check for
                        Thomas Shepos, Real Property Agent.”
                 b)     The second memorandum directed the County’s Rent/Budget
                        Administration Section to “make a lump sum payment to pay off
                        CCTV System (Security) . . . in the amount of $39,850.75.”
                        Again, the memorandum included a note stating “[h]old check for
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                         Thomas Shepos, Real Property Agent.”
                  c)     The third memorandum advised the County’s Rent/Budget
                         Administration Section that “Rental Payments shall be increased
                         to $89,700.00 pursuant to the DCFS expansion as approved by
                         the Board of Supervisors on October 30, 2012.” Notably, this
                         expansion and rent increase was approved pursuant to the Board
                         recommendation letter authored by Shepos on October 30, 2012,
                         as alleged in detail above.
           485. On July 11, 2013, Shepos authored yet another a memorandum directing
     the County’s Rent/Budget Administration Section to “make a lump sum payment to
     pay off Tenant Improvements in the amount of $2,500.00.”
           486. Shepos subsequently negotiated to further amend the lease with Hanes,
     and he authored a letter recommending that the Board approve the second
     amendment. Specifically, the letter, which was submitted to the Board on November
     1, 2016, stated “IT IS RECOMMENDED THAT THE BOARD” take three
     specific actions, including: (i) “[a]pprove and instruct the Chairman to sign the lease
     amendment with Gregory Hanes (Landlord), for [DCFS] at 300 East Avenue K-6,
     Lancaster, to extend the normal working hours by one hour to start at 6:00 a.m. and
     allow the County to reimburse the Landlord for after-hours heating ventilation and
     air conditioning at the rate of $45.00 per hour as additional rent”; (ii) “[f]ind that the
     proposed lease amendment is categorically exempt from the provisions of the
     California Environmental Quality Act”; and (iii) “[a]uthorize and direct the Chief
     Executive Officer, or her designee, to execute any other ancillary documentation
     necessary to effectuate the lease amendment, and authorize the Chief Executive
     Officer and the Director of [DCFS] to take actions necessary and appropriate to
     implement the project.”
           487. On or about November 1, 2016, the Board adopted Shepos’s
     recommendations, and the County and 300 K-6 entered into Amendment No. 2 to the
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     lease. The Landlord’s Work Letter attached to Amendment No. 2 authorized
     $1,190,000 in additional tenant improvements and listed Shepos as the County’s
     Work Letter Representative.
           488. On December 22, 2016, Shepos authored a memorandum directing the
     County’s Rent/Budget Administration Section to make a lump sum payment in the
     amount of $23,850.00 to reimburse 300 K-6 “for after-hours HVAC for June through
     October 2016.”
           489. Section 31(b) of the lease agreement contains an express
     acknowledgment by Hanes that County employees are forbidden from soliciting
     consideration “in any form” from a landlord “with the implication, suggestion or
     statement that the landlord’s provision of the consideration may secure more
     favorable treatment for the landlord in the award of the Lease or that landlord’s
     failure to provide such consideration may negatively affect the County’s
     consideration of the landlord's offer to lease.” It further provides that “[a] landlord
     shall not offer or give, either directly or through an intermediary, consideration in
     any form to a County officer, employee or agent for the purpose of securing favorable
     treatment with respect to the award of the Lease.”
           490. Neither Amendment No. 1 nor Amendment No. 2 altered or invalidated
     Hanes’s express acknowledgment in section 31(b), which was reaffirmed by Hanes
     through his execution of both amendments.
           491. The lease and both amendments were signed during the period when the
     Hanes Defendants were participating in Shepos’s bribery scheme—storing and
     laundering money for Shepos in exchange, Hanes for lucrative County contracts, as
     set forth above.
           492. As alleged in detail above, Shepos negotiated the lease and its
     amendments, authored the Board letters recommending approval of the five-year
     lease and its amendments, oversaw the tenant improvements, and authored numerous
     memoranda directing the County’s Rent/Budget Administration Section to make rent
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     and reimbursement payments under this lease.
           493. In their County lease, Hanes and 300 K-6 made the false representation
     that they had not and would not engage in bribery, and in turn, obtained lucrative
     County leases, including but not limited to government contracts based on those
     misrepresentations.
           494. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the Hanes Defendants would comply with
     California law, which forbids County employees from receiving bribes or having a
     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Hanes Defendants knowingly included a false implied certification
     that the Hanes Defendants had complied with these legal requirements.
           495. Had the County known that Hanes was storing and laundering cash for
     Shepos in exchange for Shepos’s help in negotiating and securing the lease and
     amendments, Shepos’s recommendations for Board approval, and other preferential
     treatment of the Hanes Defendants, the County would not have entered the lease,
     Amendment No. 1, or Amendment No. 2, nor would it have made payments
     thereunder.
                      ii.     43917 North Division Street.
           496. After successfully orchestrating the lease for DCFS at 300 East Avenue
     K-6, Shepos then offered for lease by the County another property Hanes owned,
     through his entity 43917 Division.
           d.497. On or about June 16, 2015, the County and 43917 Division entered into
     a lease agreement for 43917 North Division Street in Lancaster, California (Lease
     No. 78386) and 300 East Avenue K-6 in Lancaster, California (Lease No. 77260).).
     The County used thisthe space to house the County’s Probation Department of
     Children and Family Services.
           498. For example, in 2010Under this lease, the County entered into a five-
     year lease with Hanes for 300 E. Avenue K-6. The lease provided agreed to pay a
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     base monthly rent of $21,890 per month, 27,125—totaling in excess of $2.6 million
     over its eight-year term. The base monthly rent payments were also subject to annual
     CPI adjustments of up to 4%. Additionally, the lease provided for tenant
     improvementimprovements in the amount of $1,085,000, with a change order
     allowance of $770,000, and a furniture allowance of $27577,500, as well as
     $475,000. The lease was paid for with a mix of Federal, State, and telephone, data,
     and low voltage systems, all reimbursable by the County.
           228.499.     At all times, the County made monthly rent payments—in part
     with federal funds—as they were due under the lease terms Shepos negotiated,
     including increased rent payments pursuant to the provision requiring annual CPI
     adjustments. Specifically, pursuant to Section 5 of the lease, the County’s rent
     payments increased to: (i) $27,840.03 on September 1, 2017; (ii) $28,916.38 on
     September 1, 2018; (iii) $29,774.55 on September 1, 2019; (iv) $30,374.97 on
     September 1, 2020; (v) $31,459.97 on September 1, 2021; and (vi) $32,544.97 on
     September 1, 2022.
           500. On information and beliefThe County also made numerous
     reimbursement payments to 43917 Division pursuant to the terms of the lease and
     memoranda authored or approved by Shepos directing such payments.
           501. For example, on February 9, 2016, Shepos directed another CEO-RED
     employee, Scott Garrett, to author a memorandum directing the County’s
     Rent/Budget Administration Section to make a lump sum progress payment of
     $171,098.48 as reimbursement for low voltage costs pursuant to the lease.
           502. On April 29, 2016, Shepos approved another memorandum directing the
     County’s Rent/Budget Administration Section to make a lump sum progress payment
     of $260,943.84 as reimbursement for additional tenant improvements pursuant to the
     lease. Over the next few months, the County made additional lump sum progress
     payments of $241,524.35 (on June 2, 2016) and $485,500.82 (on July 7, 2016) as
     reimbursement for further tenant improvements. On July 6, 2016, the County also
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     made a payment of $193,020.85 as reimbursement for low voltage costs pursuant to
     the lease.
           503. Similarly, on September 22, 2016, Shepos approved a memorandum
     directing the County’s Rent/Budget Administration Section to make a lump sum
     progress payment of $174,449.74 to reimburse additional tenant improvements
     pursuant to the lease.
           504. On July 18, 2017, Shepos also authored a memorandum directing the
     County’s Rent/Budget Administration Section to make a payment of $5,576.52 as
     reimbursement for low voltage costs pursuant to the lease.
           505. Section 31(b) of the lease contains an express acknowledgment by
     43917 Division that County officers and employees may not solicit consideration “in
     any form” from a landlord to secure favorable treatment for the landlord. Under the
     same provision, 43917 Division agreed that it “shall not offer or give [] consideration
     in any form to a County officer, employee or agent for the purpose of securing
     favorable treatment with respect to the award of the Lease.
           506. Shepos negotiated the lease on behalf of the County, and he directed or
     approved hundreds of thousands of dollars in reimbursement payments under the
     lease, all during the period when the Hanes Defendants were participating in
     Shepos’s bribery scheme, as set forth above.
           507. In their County lease, Hanes and 43917 Division made the false
     representation that they had not and would not engage in bribery, and in turn,
     obtained lucrative government contracts based on those misrepresentations.
           508. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the Hanes Defendants would comply with
     California law, which forbids County employees from receiving bribes or having a
     financial interest in any such contract. See Cal. Gov. Code § 1090. Every invoice
     submitted by the Hanes Defendants knowingly included a false implied certification
     that the Hanes Defendants had complied with these legal requirements.
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            509. Had the County known that Hanes was storing and laundering cash for
     Shepos in exchange for Shepos’s help in negotiating and securing the lease and other
     preferential treatment of the Hanes Defendants, the County would not have entered
     the lease, nor would it have made payments thereunder.
                   3.      Hanes and Shepos Concealed Their Bribery and Money-
                           Laundering Scheme.
            510. As alleged above, Hanes is referred to as “Individual A” in Shepos’s
     plea agreement. Shepos and the Hanes Defendants mutually agreed to take steps (and
     did take steps) to conceal the bribery scheme and their money laundering. Shepos
     never disclosed to the County that he had a personal financial relationship with
     Hanes, or that Hanes was assisting him by funneling bribe payments to him from
     other County contractors.
            511. In their leases with the County, as outlined above, the Hanes Defendants
     also represented and affirmed their understanding that County employees like Shepos
     are prohibited from having any financial interest in County leases, and that landlords
     are prohibited from giving County employees like Shepos any consideration in
     exchange for favorable treatment. The County relied on these representations and
     confirmations from the Hanes Defendants.
                   4.      The Hanes Defendants’ Agency and Alter-Ego Relationships.
            229.512.       Based on Hanes’s ownership and management role within the
     other Hanes Defendants, 300 K-6 and 43917 Division, and the actions those entities
     took at Hanes’s direction, all detailed above, Hanes owns, controls, and/or directs the
     actions of the other Hanes Defendants who, in doing the acts alleged herein, acted at
     their direction and/or with their permission, knowledge, consent or ratification.
                   In the alternative,—based on information Hanes’s ownership and belief,

     management role within the other Hanes Defendants, 300 K-6 and 43917 Division, and the actions

     those entities took at Hanes’s direction, all detailed above—Hanes was the alter ego of the other

     Hanes Defendants; Hanes dominated and controlled the other Hanes Defendants; a unity of interest
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     and ownership existed between Hanes and the other Hanes Defendants; the other Hanes Defendants

     were mere shells and conduits for Hanes’s affairs; the other Hanes Defendants were inadequately

     capitalized; Hanes and the other Hanes Defendants failed to abide by the formalities of corporate

     existence; and Hanes used the other Hanes Defendants’ assets as their own and, in doing

     the things alleged herein, acted with such a unity of interest that the separate
     personalities of these corporate entities do not in reality exist and honoring their
     separate identities would bring about an inequitable result. The Hanes Defendants
     did not respect corporate formalities because they used their companies as mere shells
     to carry out their bribery scheme. As one example, Shepos stored hundreds of
     thousands of dollars from his bribery schemes in bank accounts under the Hanes
     Defendants’ names, which (on information and belief) Hanes permitted in order to
     induce Shepos to provide illicit benefits to the any of the Hanes Defendants or other
     entities associated with Hanes.
                   On information and belief, Hanes also conspired with the Visco
     Defendants. On information and belief, Hanes was the alter ego of the Visco
     Defendants, dominated and controlled such Defendants, shared a unity of interest and
     ownership with such Defendants, and used those other Defendants’ assets as his own
     (and vice versa).
                           The Harvey/Tatum Defendants
                   The Harvey/Tatum Defendants own and operate multiple commercial
     buildings within Los Angeles County and participated in and profited from a similar
     bribery scheme with Shepos.
                   On or about August 20, 2013, the County and Ball & East—of which
     Harvey, Tatum, and Harvey Capital are general partners—entered into a lease
     agreement for 11151 Missouri Avenue, Los Angeles, California (Lease No. 78019,
     incorporated by reference herein) to house the County’s Probation Department.
                   Under the lease, the County agreed to pay a monthly rent of $31,359.60
     for a period of eight years, which totaled to approximately $3,000,000.
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                  Section 28(a) of the lease agreement states County employees are
     forbidden from soliciting consideration “in any form” from landlords and that
     landlords “shall not offer or give, either directly or through an intermediary,
     consideration in any form to a County officer, employee or agent for the purpose of
     securing favorable treatment with respect to the award of the Lease.”
                  Shepos illegally helped the Harvey/Tatum Defendants secure the lease
     in part by writing a letter to the Board, recommending approval of the lease.
                  In return, the Harvey/Tatum Defendants paid Shepos $35,000.
                  On information and belief, Harvey and Tatum own, control, and/or
     direct the actions of the other Harvey/Tatum Defendants who, in doing the acts
     alleged herein, acted at their direction and/or with their permission, knowledge,
     consent or ratification.
           239.513.      In the alternative, on information and belief, Harvey and Tatum
     were the alter egos of the other Harvey/Tatum Defendants; Harvey and Tatum
     dominated and controlled the other Harvey/Tatum Defendants; a unity of interest and
     ownership existed between Harvey and Tatum and the other Harvey/Tatum
     Defendants; the other Harvey/Tatum Defendants were mere shells and conduits for
     Harvey’s and Tatum’s affairs; the other Harvey/Tatum Defendants were inadequately
     capitalized; Harvey and Tatum and the other Harvey/Tatum Defendants failed to
     abide by the formalities of corporate existence; and Harvey and Tatum used the other
     Harvey/Tatum Defendants’ assets as their own and, in doing the things alleged
     herein, acted with such a unity of interest that the separate personalities of these
     corporate entities do not in reality exist and honoring their separate identities would
     bring about an inequitable result. The Harvey/TatumHanes Defendants did not
     respect corporate formalities because they used their companies as mere shells to
     carry out their bribery scheme. As one example, the Harvey/Tatum Defendants
     paidHanes stored hundreds of thousands of dollars for Shepos $35,000, which (on
     information, derived from Shepos’s bribery schemes with other developers and
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     belief) was intendedbusinesspersons, and laundered bribery proceeds for Shepos by
     cashing checks made out to Hanes’s entities—all to induce Shepos to provide illicit
     benefits to the any of the Harvey/Tatum Defendants or other entities associated with
     Harvey and TatumHanes and his entities, 300 K-6 and 43917 Division.
                                            *       *      *
                   In addition to procuring contracts through fraudulent conduct and
     bribery, each Defendant made false statements in connection with the execution of
     each lease. On information and belief, each lease executed by Defendants contained
     the following—or substantially similar—representation: “Landlord acknowledges
     that it is aware of the following provisions: [...] A landlord shall not offer or give,
     either directly or through an intermediary, consideration in any form to a County
     officer, employee or agent for the purpose of securing favorable treatment with
     respect to the award of the Lease.” Each Defendant made the false representation that
     he had not and would not engage in bribery, and in turn, obtained lucrative
     government contracts based in part on those false misrepresentations.
            514. Moreover, each invoice submitted pursuant to County leases or other
     agreements impliedly certified that the contractorOn information and belief—based
     on Hanes’s longtime association with Visco, and Visco’s introduction of Hanes to
     Shepos, seemingly for the purpose of facilitating an improper relationship between
     Hanes and Shepos resembling the improper relationship between Visco and
     Shepos—the Hanes Defendants also conspired with the Visco Defendants.
                    would comply with California law, which forbids County employees from

     receiving bribes or having a financial interest in any such contract. See Cal. Gov. Code § 1090.

     Every invoice submitted by Defendants knowingly included a false implied
     certification that Defendants had complied with these legal requirements.
    IV.     Ms. Gluck Is the Original Source of Multiple Federal Indictments and the
            County’s Far-Reaching Investigation.
            242.515.      As noteddescribed above, Ms. Gluck cooperated with the federal
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     government, disclosing documents and electronic devices and meeting with FBI
     agents on numerous occasions. Ms. Gluck’s cooperation directly led to the
     indictments of, and guilty pleas from, at least Shepos and Arman Gabaee.
           243.516.        Ms. Gluck also cooperated with the County and its investigators,
     meeting with agent Bell on many occasions and disclosing evidence to assist him in
     his investigation. Ms. Gluck’s assistance triggered the County’s investigation
     revealing that Shepos tainted hundreds of millions of dollars of County contracts with
     his fraud and corruption.
           244.517.        Ms. Gluck also cooperated with—and was the original source of
     information about Shepos’s bribery schemes provided to—State investigators Pollie
     Pent and Randy Hudson, who visited Ms. Gluck along with County investigator Bell.
           245.518.        Ms. Gluck’s Original Complaint, filed on March 11, 2019,
     exposed Shepos’s bribery scheme and revealed that he was at the center of a multi-
     pronged conspiracy involving numerous government contractors, a shared modus
     operandi, and coordination of the scheme with Frank Visco and his associates.
           246.519.        Ms. Gluck alleged that Shepos provided those who bribed him
     with broad-ranging benefits, including contracts; “non-public information” as to the
     County’s future plans; “above market rents, phantom improvement charges, and
     inflated management costs and utilities”; payments “on fraudulent invoices to the
     County for inflated utility costs and improvements that were never made”; and more.
     Dkt. 1 ¶¶ 2, 9, 17.
           247.520.        Ms. Gluck’s Original Complaint outlined the ways in which she
     had cooperated with the FBI in 2015 and 2016 and County and State investigators
     beginning in 2017, naming specific individuals she met with from each agency. Dkt.
     1 ¶¶ 27-30. Ms. Gluck also explained that the information she provided to the FBI
     (and subsequently to County and State investigators) is what “resulted in the
     indictment of Arman Gabaee, the initiation of a County investigation into Tom
     Shepos’s deals for the County, and the guilty plea of Tom Shepos . . . .” Id. ¶ 32.
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           248.521.     Ms. Gluck’s Original Complaint also made clear that while the
     facts underlying her complaint included those in Shepos’s guilty plea, her complaint
     was not so limited. Instead, Ms. Gluck alleged that Shepos’s bribery scheme included
     numerous Defendants other than those named in federal indictments and also
     included DOE Defendants who “advance[d] fraudulent acts” carried out by Shepos
     but whose identities were not yet known. Id. ¶ 6.
           249.522.     Ms. Gluck described Shepos’s modus operandi in connection
     with his bribery scheme in great detail: that he received bribes in numerous forms
     ranging from “cash and bank deposits,” to “hundreds of thousands of dollars in free
     home construction,” to “tickets to concerts and sporting events,” and more. Id. ¶ 2.
     Ms. Gluck also explained how Shepos went to great lengths to conceal such bribes,
     including by hiding them in the names of other individuals. Id. ¶ 19 (noting one
     example in which he hid a bribe under the name of his “roommates”).
           250.523.     Ms. Gluck satisfied her obligation as a relator to provide material
     evidence to the government after filing her qui tam action.
           251.524.     Based on the foregoing, Ms. Gluck is an original source of the
     information underlying this Complaint because, at the very least, she (a) voluntarily
     disclosed to Los Angeles County, the federal government, and the State the
     information on which the allegations are based and (b) has knowledge that is
     independent of, and materially adds to, any previous public disclosure relating to
     these allegations and provided those facts to Los Angeles County before filing this
     action.
                               FIRST CLAIM FOR RELIEF
     (on behalf of the United States of America against Shepos, the Gabaee Defendants,
        the Abbey Defendants, the Visco Defendants, the Neman Defendants, and the
                                     Hanes Defendants)
                Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A)
                (on behalf of Los Angeles County and the State of California)
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          Violation of the California False Claims Act, California Government Code
                                         § 12651(a)(1)
            252.525.      The allegations contained in paragraphs 1 through 251524 are
    incorporated in full as if set forth herein.
            253.526.      The allegations contained in the County of Los Angeles’
    Amended Complaint in Intervention are incorporated in full as if set forth herein.
            527. Through the acts described above, the Defendants, their agents, and
    employees, knowingly presented and caused to be presented materially false and
    fraudulent claims to the County, State, and federal governments, and knowingly failed
    to disclose material facts, in order to obtain payment and approval from the
    Plaintiffs.County, State, and federal governments. Defendants presented false and
    fraudulent claims in not only obtaining leases and related contracts from the County,
    but also each time Defendants submitted invoices pursuant to an existing lease or
    contract.
            528. The County, State, and federal governments, unaware of the falsity of
    the claims made and submitted by the Defendants, their agents, and employees, and
    as a result thereof paid money that they otherwise would not have paid.
            529. By reason of the payments made by the County, State, and federal
    governments as a result of the Defendants’ fraud, the County, State, and federal
    governments each suffered millions of dollars in damages.
            530. Wherefore, Qui Tam Plaintiff prays for relief as set forth below.
                                SECOND CLAIM FOR RELIEF
     (on behalf of the United States of America against Shepos, the Gabaee Defendants,
        the Abbey Defendants, the Visco Defendants, the Neman Defendants, and the
                                           Hanes Defendants)
                 Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(B)
            531. The allegations contained in paragraphs 1 through 524 are incorporated
    in full as if set forth herein.
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            532. The allegations contained in the County of Los Angeles’ Amended
    Complaint in Intervention are incorporated in full as if set forth herein.
            254.533.    Through the acts described above, the Defendants, their agents,
    and employees, knowingly made, used, and caused to be made and used materially
    false records and statements, which also omitted material facts, in order to induce the
    County, State, and federal governments to approve and pay false and fraudulent
    claims. agreementDefendants made and used false and fraudulent records and
    statements in not only obtaining leases and related contracts from the County, but also
    each time Defendants submitted invoices pursuant to an existing lease or contract.
            255.534.    The County, State, and federal governments, unaware of the
    falsity of the claims made and submitted by the Defendants, their agents, and
    employees, and as a result thereof paid money that they otherwise would not have
    paid.
            256.535.    By reason of the payments made by the County, State, and federal
    governments as a result of the Defendants’ fraud, the County, State, and federal
    governments each suffered millions of dollars in damages and continue to be
    damaged.
                   Under California Government Code § 1090(a), the County and State
     may void the contracts with the Defendants, and the County and State are entitled to
     recover one hundred percent of the consideration they have paid without restoring
     any benefits received under the contracts.
            258.536.    Wherefore, Plaintiffs prayQui Tam Plaintiff prays for relief as set
    forth below.




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                              SECONDTHIRD CLAIM FOR RELIEF
     (on behalf of the United States of America against Shepos, the Gabaee Defendants,
          the Abbey Defendants, the Visco Defendants, the Neman Defendants, and the
                                           Hanes Defendants)
                  Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(C)
                (on behalf of Los Angeles County and the State of California)
          Violation of the California False Claims Act, California Government Code
                                         § 12651(a)(2)
            259.537.      The allegations contained in paragraphs 1 through 251524 are
    incorporated in full as if set forth herein.
            538. The allegations contained in the County of Los Angeles’ Amended
    Complaint in Intervention are incorporated in full as if set forth herein.
                   Through the acts described above, the Defendants, their agents, and employees,

     conspired to knowingly make, use, and cause to be made and used materially false records and

     statements, which also omitted material facts, in order to induce the County, State, and federal

     governments to approve and pay false and fraudulent claims. Complaint in Intervention are

     incorporated in full as if set forth herein.
            261.539.      Through the acts described above, the Defendants, their agents,
    and employees, knowingly made, used, and caused to be made and used materially
    false records and statements, which also omitted material facts, in order to induce the
    County, State, and federal governments to approve and pay false and fraudulent
    claims. Defendants made and usedDefendants conspired to make false and fraudulent
    records and statements in not only obtaining leases and related contracts from the
    County, but also each time Defendants submitted invoices pursuant to an existing
    lease agreementor contract.
            262.540.      The County, State, and federal governments, unaware of the
    falsity of the records, statements, and claims made and submitted by the Defendants,
    their agents, and employees, and as a result thereof paid money that they otherwise
    would not have paid.
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            263.541.      By reason of the payments made by the County, State, and federal
    governments as a result of the Defendants’ fraud, the County, State, and federal
    governments have each suffered millions of dollars in damages and continue to be
    damaged.
                   Under California Government Code § 1090(a), the County and State
     may void the contracts with the Defendants, and the County and State are entitled to
     recover one-hundred percent of the consideration they have paid without restoring
     any benefits received under the contracts.
            265.542.      Wherefore, Plaintiffs prayQui Tam Plaintiff prays for relief as set
    forth below.
                               THIRD CLAIM FOR RELIEF
                (on behalf of Los Angeles County and the State of California)
          Violation of the California False Claims Act, California Government Code
                                         § 12651(a)(3)
                   The allegations contained in paragraphs 1 through 251 are incorporated
     in full as if set forth herein.
            267.1.The allegations contained in the County of Los Angeles’ Complaint in
    Intervention are incorporated in full as if set forth herein.
                   Through the acts described above, the Defendants, their agents, and employees,

     conspired to knowingly make, use, and cause to be made and used materially false records and

     statements, which also omitted material facts, in order to induce the County, State, and federal

     governments to approve and pay false and fraudulent claims. Defendants conspired to make

     false and fraudulent records and statements in not only obtaining leases from the
     County, but also each time Defendants submitted invoices pursuant to an existing
     lease agreement.
                   The County, State, and federal governments, unaware of the falsity of
     the records, statements, and claims made and submitted by the Defendants, their
     agents, and employees, and as a result thereof paid money that they otherwise would
     not have paid.
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                   By reason of the payments made by the County, State, and federal
     governments as a result of the Defendants’ fraud, the County, State, and federal
     governments have suffered millions of dollars in damages and continue to be
     damaged.
                   Under California Government Code § 1090(a), the County and State
     may void the contracts with the Defendants, and the County and State are entitled to
     recover one-hundred percent of the consideration they have paid without restoring
     any benefits received under the contracts.
                   Wherefore, Plaintiffs pray for relief as set forth below.
                                FOURTH CLAIM FOR RELIEF
                          (on behalf of the United States of America)
                 Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A)
                   The allegations contained in paragraphs 1 through 251 are incorporated
     in full as if set forth herein.
                   The allegations contained in the County of Los Angeles’ Complaint in
     Intervention are incorporated in full as if set forth herein.
                   Through the acts described above, the Defendants, their agents, and
     employees, knowingly presented and caused to be presented materially false and
     fraudulent claims to the County, State, and federal governments, and knowingly
     failed to disclose material facts, in order to obtain payment and approval from the
     Plaintiffs. Defendants presented false and fraudulent claims in not only obtaining
     leases from the County, but also each time Defendants submitted invoices pursuant
     to an existing lease agreement.
            276.1.The County, State, and federal governments, unaware of the falsity of
    the claims made and submitted by the Defendants, their agents, and employees, and
    as a result thereof paid money that they otherwise would not have paid.



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                    By reason of the payments made by the County, State, and federal governments as

     a result of the Defendants’ fraud, the County, State, and federal governments suffered millions

     of dollars in damages and continue to be damaged.
                    Wherefore, Plaintiffs pray for relief as set forth below.
                                 FIFTH CLAIM FOR RELIEF
                            (on behalf of the United States of America)
                  Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(B)
                    The allegations contained in paragraphs 1 through 251 are incorporated
     in full as if set forth herein.
            280.1.The allegations contained in the County of Los Angeles’ Complaint in
    Intervention are incorporated in full as if set forth herein.
                    Through the acts described above, the Defendants, their agents, and employees,

     knowingly made, used, and caused to be made and used materially false records and statements,

     which also omitted material facts, in order to induce the County, State, and federal governments to

     approve and pay false and fraudulent claims. Defendants made and used false and

     fraudulent records and statements in not only obtaining leases from the County, but
     also each time Defendants submitted invoices pursuant to an existing lease
     agreement.
                    The County, State, and federal governments, unaware of the falsity of
     the claims made and submitted by the Defendants, their agents, and employees, and
     as a result thereof paid money that they otherwise would not have paid.
                    By reason of the payments made by the County, State, and federal
     governments as a result of the Defendants’ fraud, the County, State, and federal
     governments suffered millions of dollars in damages and continue to be damaged.
                    Wherefore, Plaintiffs pray for relief as set forth below.




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                                  SIXTH CLAIM FOR RELIEF
                          (on behalf of the United States of America)
                   Violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(C)
                   The allegations contained in paragraphs 1 through 251 are incorporated
     in full as if set forth herein.
                   The allegations contained in the County of Los Angeles’ Complaint in
     Intervention are incorporated in full as if set forth herein.
                   Through the acts described above, the Defendants, their agents, and
     employees, conspired to knowingly make, use, and cause to be made and used
     materially false records and statements, which also omitted material facts, in order to
     induce the County, State, and federal governments to approve and pay false and
     fraudulent claims. Defendants conspired to make false and fraudulent records and
     statements in not only obtaining leases from the County, but also each time
     Defendants submitted invoices pursuant to an existing lease agreement.
                   The County, State, and federal governments, unaware of the falsity of
     the records, statements, and claims made and submitted by the Defendants, their
     agents, and employees, and as a result thereof paid money that they otherwise would
     not have paid.
                   By reason of the payments made by the County, State, and federal
     governments as a result of the Defendants’ fraud, the County, State, and federal
     governments have suffered millions of dollars in damages and continue to be
     damaged.
                   Wherefore, Plaintiffs pray for relief as set forth below.
                                       PRAYER FOR RELIEF
            292.543.      Qui Tam Plaintiff prays for judgment against the Defendants, and
    each of them, as follows:
                   a.a)   For damages in an amount equal to three times the amount of
                          damages the County, State, and federal governmentsgovernment
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                       sustained as a result of the Defendants’ unlawful conduct (which
                       damages may include money recoverable under California
                       Government Code § 1090(a));;
                b.b) For civil monetary penalties for each false and fraudulent claim
                       submitted to the County, State, and federal governments;
                c.c)   For attorneys’ fees and costs, including the Qui Tam Plaintiffs’
                       attorneys’ fees and costs;
                d.d) For an order awarding the Qui Tam Plaintiff the maximum
                       awards allowed by the California False Claims Act and federal
                       False Claims Act; and
                e.e)   For such other further relief as the Court may deem just and
                       proper.
                                       JURY DEMAND
          293.544.     Qui Tam Plaintiff Karen Gluck demands a trial by jury.




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     Dated: August 19November 22, 2024 SUSMAN GODFREY L.L.P.
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